USCA Case #23-1175   Document #2046821                 Filed: 03/26/2024   Page 1 of 108



       ORAL ARGUMENT SCHEDULED FOR MAY 17, 2024

             In the United States Court of Appeals
              for the District of Columbia Circuit
                Nos. 23-1175 and 23-1222 (consolidated)
                              __________
                    CITY OF PORT ISABEL, ET AL.,
                            Petitioners,
                                 v.
              FEDERAL ENERGY REGULATORY COMMISSION,
                            Respondent.
                               _____________________


              ON PETITIONS FOR REVIEW OF ORDERS OF THE
              FEDERAL ENERGY REGULATORY COMMISSION
                             __________

                 BRIEF OF RESPONDENT
        FEDERAL ENERGY REGULATORY COMMISSION
                        __________

                                                 Matthew R. Christiansen
                                                  General Counsel

                                                 Robert H. Solomon
                                                  Solicitor

                                                 Robert M. Kennedy
                                                  Senior Attorney

                                                 Jason T. Perkins
                                                  Attorney
                                                  jason.perkins@ferc.gov

                                                 For Respondent
                                                 Federal Energy Regulatory
                                                  Commission
                                                 Washington, D.C. 20426
FINAL BRIEF: March 26, 2024
USCA Case #23-1175    Document #2046821           Filed: 03/26/2024   Page 2 of 108



              CIRCUIT RULE 28(A)(1) CERTIFICATE

      A.   Parties and Amici

      The parties who have appeared before the Court are listed in

Petitioners’ Circuit Rule 28(a)(1) certificate.

      B.   Rulings Under Review

      1.   Texas LNG Brownsville LLC, Order on Remand, 183 FERC

¶ 61,047 (April 21, 2023), R. 1564, JA 001; and

      2.   Texas LNG Brownsville LLC, Order Addressing Arguments

Raised on Rehearing, 185 FERC ¶ 61,079 (October 27, 2023), R. 1583,

JA 137.

      C.   Related Cases

      The Commission orders challenged in this case concern the Texas

LNG Project and were issued in response to this Court’s remand in

Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th

1321 (D.C. Cir. 2021).

      The Vecinos court also remanded Commission orders authorizing

the Rio Grande LNG terminal and Rio Bravo pipeline (Rio Grande

Project), which are proposed to be constructed in the same geographic

region as the Texas LNG Project. Petitioners have challenged the

Commission’s remand orders regarding the Rio Grande Project in City
USCA Case #23-1175   Document #2046821        Filed: 03/26/2024   Page 3 of 108



of Port Isabel, et al. v. FERC, Nos. 23-1174, et al. The Court has

ordered that this case (No. 23-1175, et al.) and No. 23-1174, et al. be

scheduled for oral argument on the same day and before the same

panel. See Nov. 16, 2023 Order, ECF No. 2027350.


                                              /s/ Jason T. Perkins
                                              Jason T. Perkins
                                              Attorney
USCA Case #23-1175             Document #2046821                  Filed: 03/26/2024         Page 4 of 108



                                   TABLE OF CONTENTS

Introduction .......................................................................................... 1

Statement Of The Issues ...................................................................... 5

Statutory And Regulatory Provisions .................................................. 6

Statement Of Facts…. .......................................................................... 6

I.      Statutory And Regulatory Background ...................................... 6

        A.      Natural Gas Act ................................................................. 6

        B.      National Environmental Policy Act ................................... 8

        C.      Environmental Justice ....................................................... 9

II.     The Commission’s Review ......................................................... 10

        A.      An Overview Of Liquefied Natural Gas .......................... 10

        B.      The Texas LNG Project .................................................... 10

        C.      The Commission’s Environmental Review ...................... 13

        D.      Project Approval ............................................................... 14

                1.       The Department of Energy ..................................... 14

                2.       The Commission ...................................................... 15

III.    The Vecinos Decisions ............................................................... 16

        A.      Vecinos I ........................................................................... 16

        B.      Vecinos II .......................................................................... 17


                                                      i
USCA Case #23-1175          Document #2046821                Filed: 03/26/2024        Page 5 of 108



IV.    The Remand Orders .................................................................. 18

       A.      Environmental Justice ………………………………………19

               1.     Geographic scope ..................................................... 19

                      a.      Updated analysis ........................................... 19

                      b.      Conclusions .................................................... 21

               2.     Social cost of carbon protocol .................................. 23

               3.     Natural Gas Act analysis ........................................ 24

Summary of Argument ....................................................................... 24

Argument………………....................................................................... 26

I.     Standard Of Review .................................................................. 26

II.    The Commission Reasonably Responded To
       The Court’s Remand.................................................................. 28

       A.      The Commission Reasonably Analyzed
               Environmental Justice Impacts ....................................... 29

               1.     The Commission reasonably expanded the
                      geographic scope of its analysis .............................. 29

               2.     The Commission reasonably explained
                      its conclusions ......................................................... 31

               3.     Sierra Club’s objections lack merit ......................... 33

                      a.      Air pollution impacts ..................................... 33




                                                 ii
USCA Case #23-1175      Document #2046821                  Filed: 03/26/2024          Page 6 of 108



                          i.      Project site construction emissions would
                                  not adversely impact air quality at nearest
                                  residences .............................................. 33

                          ii.     No air standard violations from operations
                                  ............................................................... 34

                          iii.    Reliance on air standards ..................... 35

                  b.      Geographic scope............................................ 37

                  c.      The Isla Blanca air monitor ........................... 39

                  d.      Ozone .............................................................. 40

      B.   The Commission Reasonably Addressed
           40 C.F.R. § 1502.21(c) ...................................................... 42

           1.     Section 1502.21(c) does not compel use of
                  the social cost of carbon protocol ............................ 42

                  a.      Project-level review ........................................ 43

                  b.      Significance threshold.................................... 46

           2.     The Commission addressed the significance
                  of the Project’s potential climate impacts............... 49

      C.   The Commission Reasonably Reassessed
           Its Public Interest Determination ................................... 51

           1.     The Commission reaffirmed its
                  Natural Gas Act findings ........................................ 51

           2.     Sierra Club’s complaint lacks merit ....................... 53




                                             iii
USCA Case #23-1175            Document #2046821                   Filed: 03/26/2024         Page 7 of 108



III.    The Commission Reasonably Prepared Its Updated
        Environmental Justice Analysis ............................................... 55

        A.      A Supplemental EIS Was Not Required
                By 40 C.F.R. § 1502.9(d)(1) .............................................. 56

        B.      The Commission Reasonably Presented
                Its Analysis In The Remand Order.................................. 59

        C.      The Commission’s Process Fostered
                Public Participation ......................................................... 62

Conclusion .......................................................................................... 68




                                                     iv
USCA Case #23-1175          Document #2046821                Filed: 03/26/2024       Page 8 of 108



                             TABLE OF AUTHORITIES

COURT CASES:

Appalachian Voices v. FERC,
    No. 17-1271, 2019 WL 847199
     (D.C. Cir. Feb. 19, 2019) ........................................................... 47

Balt. Gas & Elec. Co. v. Nat. Res. Def. Council, Inc.,
      462 U.S. 87 (1983) .............................................................. 8-9, 27

Chamber of Commerce v. SEC,
    443 F.3d 890 (D.C. Cir. 2006).................................................... 67

City of Boston Delegation v. FERC,
      897 F.3d 241 (D.C. Cir. 2018)............................................... 27-28

City of Columbia v. Omni Outdoor Advert., Inc.,
      499 U.S. 365 (1991) ................................................................... 53

Cmtys. Against Runway Expansion, Inc. v. FAA,
    355 F.3d 678 (D.C. Cir. 2004)........................ 29-30, 31, 36, 37-38

Constellation Energy Commodities Grp. v. FERC,
     457 F.3d 14 (D.C. Cir. 2006) ................................................49, 60

Center for Biological Diversity v. FERC,
     67 F.4th 1176 (D.C. Cir. 2023) .......... 27-28, 40, 44, 45, 47, 51, 55

Del. Riverkeeper Network v. FERC,
      45 F.4th 104 (D.C. Cir. 2022) .................................................... 45

Dep’t of Transp. v. Pub. Citizen,
      541 U.S. 752 (2004) ..................................................................... 8

EarthReports, Inc. v. FERC,
     828 F.3d 949 (D.C. Cir. 2016)...............................................45, 47


                                                 v
USCA Case #23-1175          Document #2046821               Filed: 03/26/2024        Page 9 of 108



FCC v. Prometheus Radio Project,
    592 U.S. 414 (2021) .............................................................. 26-27

FERC v. Elec. Power Supply Ass’n,
    577 U.S. 260 (2016) ................................................................... 26

Food & Water Watch v. FERC,
     28 F.4th 277 (D.C. Cir. 2022) .................................................... 37

FPC v. Transcon. Gas Pipe Line Corp.,
    365 U.S. 1 (1961) ....................................................................... 53

FPC v. Transcon. Gas Pipe Line Corp.,
    423 U.S. 326 (1976) ................................................................... 67

Friends of Cap. Crescent Trail v. Fed. Transit Admin.,
     877 F.3d 1051 (D.C. Cir. 2017).............................................28, 57

Friends of the River v. FERC,
     720 F.2d 93 (D.C. Cir. 1983) ..................................................... 61

Hawkins v. Haaland,
    991 F.3d 216 (D.C. Cir. 2021).................................................... 66

Idaho Sporting Cong. v. Alexander,
     222 F.3d 562 (9th Cir. 2000) ..................................................... 60

Johnston v. SEC,
     49 F.4th 578 (D.C. Cir. 2022) .................................................... 67

Laguna Greenbelt, Inc. v. Dep’t of Transp.,
    42 F.3d 517 (9th Cir. 1994) ....................................................... 57

Marsh v. Oregon Nat. Res. Council,
    490 U.S. 360 (1989) ........................................................ 28, 57, 61

Minisink Residents for Env’t Pres. & Safety v. FERC,
     762 F.3d 97 (D.C. Cir. 2014) ..................................................... 65

                                                vi
USCA Case #23-1175          Document #2046821                Filed: 03/26/2024       Page 10 of 108



 Murray Energy Corp. v. EPA,
     936 F.3d 597 (D.C. Cir. 2019).................................................... 35

 Myersville Citizens for a Rural Cmty., Inc. v. FERC,
      783 F.3d 1301 (D.C. Cir. 2015)...................................... 52-53, 65

 NAACP v. FPC,
    425 U.S. 662 (1976) ..................................................................... 6

 Nat’l Comm. for the New River, Inc. v. FERC,
       373 F.3d 1323 (D.C. Cir. 2004).............................................27, 59

 Nat. Res. Def. Council v. NRC,
      879 F.3d 1202 (D.C. Cir. 2018).................................................. 61

 Nevada v. Dep’t of Energy,
     457 F.3d 78 (D.C. Cir. 2006) ..................................................... 27

 Oglala Sioux Tribe v. NRC,
      45 F.4th 291 (D.C. Cir. 2022) .................................................... 61

 Process Gas Consumers Grp. v. FERC,
      292 F.2d 831 (D.C. Cir. 2002).................................................... 28

 Pub. Serv. Comm’n of W. Va. v. FERC,
      777 F.2d 31 (D.C. Cir. 1985) .......................................... 27, 52-53

 Robertson v. Methow Valley Citizens Council,
      490 U.S. 332 (1989) ..................................................................... 8

 Shrimpers & Fishermen of the RGV v. U.S. Army Corps of Eng’rs,
      56 F.4th 992 (5th Cir. 2023) ................................................. 10-11

 Sierra Club v. FERC,
      672 F. App’x 38 (D.C. Cir. 2016) ............................................... 47

 Sierra Club v. FERC,
      867 F.3d 1357 (D.C. Cir. 2017).............................................32, 36

                                                 vii
USCA Case #23-1175          Document #2046821              Filed: 03/26/2024      Page 11 of 108



 Stand Up for California! v. Dep’t of Interior,
      994 F.3d 616 (D.C. Cir. 2021).................................................... 57

 Summers v. Earth Island Inst.,
    555 U.S. 488 (2009) ................................................................... 66

 Vecinos para el Bienestar de la Comunidad Costera v. FERC,
      6 F.4th 1321 (D.C. Cir. 2021) ......................... 1, 2, 2-3, 3, 7-8, 16,
                          16-17, 17, 29, 29-30, 30, 31, 37, 41, 42-43, 51.

 Vecinos para el Bienestar de la Comunidad Costera v. FERC,
      No. 20-1045, 2021 WL 3716769
      (D.C. Cir. Aug. 3, 2021) ............. 2, 17-18, 18, 35-36, 42, 56-57, 57

 W. Va. Pub. Servs. Comm’n v. Dep’t of Energy,
      681 F.2d 847 (D.C. Cir. 1982)...................................................... 8

 Williams Nat. Gas Co. v. FERC,
       872 F.2d 438 (D.C. Cir. 1989).................................................... 64

 WildEarth Guardians v. Jewell,
      738 F.3d 298 (D.C. Cir. 2013).................................................... 51


 ADMINISTRATIVE CASES:

 Driftwood Pipeline LLC,
      183 FERC ¶ 61,049 (2023) ................................................... 48-49

 Fla. Se. Connection, LLC,
       162 FERC ¶ 61,233 (2018) ................................................... 44-45

 Fla. Se. Connection, LLC,
       164 FERC ¶ 61,099 (2018) ....................................... 43-44, 44, 45

 LA Storage, LLC,
      182 FERC ¶ 61,026 (2023) ........................................................ 46


                                               viii
USCA Case #23-1175        Document #2046821             Filed: 03/26/2024      Page 12 of 108



 N. Nat. Gas Co.,
      174 FERC ¶ 61,189 (2021) ........................................................ 48

 Rio Grande LNG, LLC,
      170 FERC ¶ 61,046 (2020) ...................................................52, 54

 Rio Grande LNG, LLC,
      174 FERC ¶ 61,048 (2021) ................................................... 40-41

 Rio Grande LNG, LLC,
      183 FERC ¶ 61,046 (2023) ............................................. 30-31, 64

 Texas LNG Brownsville LLC,
      169 FERC ¶ 61,130 (2019) (Authorization Order)
               ............................. 13, 14, 15-16, 16, 50, 51, 52, 54, 59

 Texas LNG Brownsville LLC,
      170 FERC ¶ 61,139 (2020) (Authorization Rehearing Order)
               ................................................... 11, 16, 36, 40, 58, 59,

 Texas LNG Brownsville LLC,
      183 FERC ¶ 61,047 (2023) (Remand Order)............. 9, 10-11, 11,
               18, 19, 19-20, 20-21, 21, 22, 23, 24, 30, 31, 31-32, 32
               33, 34, 35, 36, 38, 39, 41, 42, 43, 46, 47, 48, 50, 50-51,
               51, 54, 55, 56, 57-58, 58, 59, 60, 63-64, 64.

 Texas LNG Brownsville LLC,
      185 FERC ¶ 61,079 (2023) (Remand Rehearing Order)
               .................................. 22, 24, 32, 33, 35-36, 36, 38, 39,
               40, 42, 44, 45, 46, 47, 48-49, 49, 52, 54, 55, 57, 57-58,
               59, 62, 63, 65, 66, 67.

 Texas LNG Brownsville LLC,
      Order No. 3716, DOE/FE Docket No. 15-62-LNG
      (Sept. 24, 2015)……………………………………………………….... 14




                                              ix
USCA Case #23-1175         Document #2046821                 Filed: 03/26/2024        Page 13 of 108



 Texas LNG Brownsville LLC,
      Order No. 4489, DOE/FE Docket No. 15-62-LNG
      (Feb. 10, 2020)……………………………………………..14, 15, 52, 54


 STATUTES:
 Administrative Procedure Act
      5 U.S.C. § 706(2)(A) ................................................................... 26

 Natural Gas Act
      15 U.S.C. § 717 ..................................................................... 6, 6-7

      15 U.S.C. § 717b ........................................ 1-2, 7, 8, 15, 24, 27, 55

      15 U.S.C. § 717f ......................................................................... 27

      15 U.S.C. § 717r.............................................................. 37, 49, 59

 National Environmental Policy Act
      42 U.S.C. § 4321 .......................................................................... 5

 Department of Energy Organization Act
      42 U.S.C. § 7151(b) ...................................................................... 7


 REGULATIONS:
      18 C.F.R. § 380.7(a) ................................................................... 50

      40 C.F.R. § 1502.9(d) ............................................................56, 59

      40 C.F.R. § 1502.16(a) ............................................................... 50

      40 C.F.R. § 1502.21(c) ............................. 17, 25, 28, 42-43, 43, 47

      40 C.F.R. § 1502.22 ................................................................... 44

                                                 x
USCA Case #23-1175      Document #2046821           Filed: 03/26/2024     Page 14 of 108



 OTHER AUTHORITIES:

      Executive Order 12,898,
           59 Fed. Reg. 7,629 (Feb. 11, 1994) ..................................... 9

      NEPA Guidance on Consideration of
      Greenhouse Gas Emissions and Climate Change,
           88 Fed. Reg. 1196 (Jan. 9, 2023) ...................................... 46




                                          xi
USCA Case #23-1175   Document #2046821     Filed: 03/26/2024   Page 15 of 108



                              GLOSSARY
  Authorization Order        Texas LNG Brownsville LLC, 169 FERC
                             ¶ 61,130 (2019) (R. 1391), JA 301

  Authorization Rehearing    Texas LNG Brownsville LLC, 170 FERC
  Order                      ¶ 61,139 (2020) (R. 1403), JA 374

  Br.                        Petitioners’ Opening Brief

  Commission or FERC         Federal Energy Regulatory Commission

  EIS or Final EIS           In text, environmental impact statement;
                             in citations, Final Environmental Impact
                             Statement, Texas LNG Project (Mar. 15,
                             2019) (R. 1374), JA 195

  Laguna Atascosa            Laguna Atascosa National Wildlife Refuge

  LNG                        Liquefied natural gas

  NAAQS                      National Ambient Air Quality Standards

  NEPA                       National Environmental Policy Act,
                             42 U.S.C. § 4321, et seq.

  Project                    Texas LNG’s proposed liquefied natural
                             gas terminal

  Remand Order               Texas LNG Brownsville LLC, Order on
                             Remand, 183 FERC ¶ 61,047 (2023),
                             (R. 1564), JA 001.

  Remand Rehearing Order     Texas LNG Brownsville LLC, Order
                             Addressing Arguments Raised on
                             Rehearing, 185 FERC ¶ 61,079 (2023)
                             (R. 1583), JA 137.

  Rio Bravo                  Rio Bravo Pipeline Company, LLC

  Rio Grande                 Rio Grande LNG, LLC


                                   xii
USCA Case #23-1175   Document #2046821     Filed: 03/26/2024   Page 16 of 108



  Sierra Club                Collectively, petitioners City of Port
                             Isabel, Sierra Club, and Vecinos para el
                             Bienestar de la Comunidad Costera

  Terminal                   A liquefied natural gas (LNG) export
                             terminal and associated facilities,
                             specifically here those capable of
                             exporting approximately 4 million metric
                             tons per annum of natural gas as LNG

  Texas LNG                  Texas LNG Brownsville LLC




                                   xiii
USCA Case #23-1175   Document #2046821      Filed: 03/26/2024   Page 17 of 108




              In the United States Court of Appeals
               for the District of Columbia Circuit
                Nos. 23-1175 and 23-1222 (consolidated)
                               __________
                       CITY OF PORT ISABEL, ET AL.,
                               Petitioners,
                                    v.
               FEDERAL ENERGY REGULATORY COMMISSION,
                            Respondent.
                            __________

               ON PETITIONS FOR REVIEW OF ORDERS OF THE
               FEDERAL ENERGY REGULATORY COMMISSION
                              __________

                 BRIEF OF RESPONDENT
        FEDERAL ENERGY REGULATORY COMMISSION
                        __________

                           INTRODUCTION

      This case returns to the Court after a 2021 remand to the Federal

 Energy Regulatory Commission. See Vecinos para el Bienestar de la

 Comunidad Costera v. FERC, 6 F.4th 1321 (D.C. Cir. 2021) (Vecinos I).

 The Court directed the Commission to address three discrete issues in

 connection with its authorization of Texas LNG Brownsville LLC

 (Texas LNG) to construct and operate a liquefied natural gas (LNG)




                                    1
USCA Case #23-1175    Document #2046821        Filed: 03/26/2024   Page 18 of 108



 export terminal (Project or Terminal) pursuant to section 3 of the

 Natural Gas Act, 15 U.S.C. § 717b.

      (The Court did not vacate the Commission’s prior authorization,

 finding it “reasonably likely that on remand the Commission can

 redress its failure of explanation.” 6 F.4th at 1332. And in a companion

 unpublished opinion, the Court denied all other challenges to the

 Commission’s authorization. See Vecinos para el Bienestar de la

 Comunidad Costera v. FERC, No. 20-1045, 2021 WL 3716769 (D.C. Cir.

 Aug. 3, 2021) (per curiam) (Vecinos II).)

      In Vecinos I, the Court asked the Commission to reconsider the

 geographic scope of its environmental justice analysis. The Court

 questioned why the Commission “chose to analyze the projects’ impacts

 only on [environmental justice] communities . . . within two miles” of

 the Project, given that air quality impacts could affect a broader radius

 of communities. Vecinos I, 6 F.4th at 1331.

      Second, the Court directed the Commission to address whether

 40 C.F.R. § 1502.21(c) – which concerns the use of generally accepted

 scientific methodologies – requires the use of the social cost of carbon




                                      2
USCA Case #23-1175    Document #2046821        Filed: 03/26/2024   Page 19 of 108



 protocol or some other method to evaluate the Project’s contribution to

 climate change. See 6 F.4th at 1329-30.

      Third, the Court instructed the Commission to consider whether

 its response to either issue necessitated any change to the Commission’s

 public interest conclusion that the Project is properly authorized under

 the Natural Gas Act. Id. at 1331.

      The Commission addressed each issue on remand. The

 Commission expanded the geographic scope of its environmental justice

 analysis to include those communities within a 50-kilometer radius of

 the Terminal site – boundaries that are coextensive with the farthest

 possible extent of air quality impacts. The Commission concluded that

 Project impacts would be disproportionately borne by environmental

 justice communities. But apart from visual impacts near the Terminal

 site, none would be substantial.

      The Commission also explained that 40 C.F.R. § 1502.21(c) does

 not require use of the social cost of carbon protocol as it is not generally

 accepted as a scientific method to estimate environmental impacts for a

 specific project. Nor is there agreement on a threshold for declaring

 impacts “significant.” Nonetheless, the Commission estimated the



                                      3
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 20 of 108



 social cost of Project-related greenhouse gas emissions for informational

 purposes. The Commission further recognized that the Project would

 contribute to future climate change, without characterizing that impact

 as significant or insignificant, but concluding that the Project (with

 appropriate mitigation conditions) would be environmentally

 acceptable.

      Finally, the Commission found that nothing in its updated

 environmental analysis called into question its earlier conclusion that

 the Project should be authorized under the Natural Gas Act.

      Petitioners Sierra Club, City of Port Isabel, and Vecinos para el

 Bienestar de la Comunidad Costera (collectively, Sierra Club) take issue

 with certain substantive aspects of the Commission’s updated analysis.

 None of their criticisms has merit.

      The same is true of Sierra Club’s claim that the Project’s

 environmental review – which began more than 8 years ago – must be

 drawn out further with the preparation of a supplemental

 environmental impact statement (EIS) to address environmental justice

 matters already studied by the Commission.




                                       4
USCA Case #23-1175    Document #2046821        Filed: 03/26/2024   Page 21 of 108



      The remand proceeding was appropriately limited to the discrete

 issues identified by the Court – i.e., use of the social cost of carbon

 protocol and the scope of the environmental justice analysis. All

 information pertaining to those issues was available to interested

 parties. Indeed, Sierra Club and others submitted extensive comments

 on that information. And the Commission responded to those comments

 in its order on remand, which was subject to rehearing. Neither the

 National Environmental Policy Act, 42 U.S.C. §§ 4321, et seq. (NEPA),

 nor any other authority requires anything more.

                     STATEMENT OF THE ISSUES

      The issues presented for review are:

      1.    Did the Commission reasonably respond to the Court’s

 remand when it expanded the geographic scope of its environmental

 justice analysis to include all communities that could potentially

 experience direct impacts from the Project?

      2.    Did the Commission, which calculated and disclosed the

 social cost of the Project’s emissions, reasonably respond to the Court’s

 remand by explaining that neither the social cost of carbon, nor any

 other methodology, is generally accepted in the scientific community for



                                       5
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 22 of 108



 assessing whether a particular project will have a “significant” impact

 on climate change?

      3.    Did the Commission reasonably explain that its updated

 environmental analysis did not undermine its previous public interest

 authorization of the Project under the Natural Gas Act?

      4.    Did the Commission reasonably conclude that it was not

 required to prepare a supplemental EIS where there was no significant

 new information bearing on the Project’s environmental impacts?

           STATUTORY AND REGULATORY PROVISIONS

      The pertinent statutes and regulations are contained in the

 Addendum to this brief.

                        STATEMENT OF FACTS

 I.   STATUTORY AND REGULATORY BACKGROUND

      A.    Natural Gas Act

      The “principal purpose” of the Natural Gas Act is to “encourage

 the orderly development of plentiful supplies of . . . natural gas at

 reasonable prices.” NAACP v. FPC, 425 U.S. 662, 669-70 (1976). The

 Act declares that “the business of transporting and selling natural gas

 for ultimate distribution to the public” and in “foreign commerce” is

 affected with the public interest. 15 U.S.C. § 717(a). To meet these


                                      6
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 23 of 108



 aims, Congress vested the Commission with jurisdiction over the

 transportation and wholesale sale of natural gas in interstate

 commerce. Id. §§ 717(b), (c).

      Section 3 of the Act, 15 U.S.C. § 717b, prohibits natural gas

 exports without “first having secured an order of the Commission

 authorizing” such transactions. The Act deems exports to a country

 with which the United States has a free trade agreement “to be

 consistent with the public interest.” Id. § 717b(c). Applications for such

 “exportation shall be granted without modification or delay.” Id.

      The Commission and the Department of Energy share regulatory

 responsibility under Natural Gas Act section 3. The Department has

 sole authority over the export of LNG as a commodity. See 42 U.S.C.

 § 7151(b). The Commission has delegated authority under Natural Gas

 Act section 3(e), 15 U.S.C. § 717b(e), to approve the siting, construction,

 or operation of LNG terminal facilities used for export. See DOE

 Delegation Order No. S1-DEL-FERC-2006 (effective May 16, 2006)

 (renewing delegation to the Commission of authority over the

 construction and operation of liquefied natural gas facilities); see also




                                      7
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 24 of 108



 Vecinos I, 6 F.4th at 1325 (explaining division of statutory

 responsibilities).

       With respect to the Commission’s review, the Natural Gas Act

 provides that the Commission “shall” authorize a proposed LNG

 terminal unless it finds that construction and operation “will not be

 consistent with the public interest.” 15 U.S.C. § 717b(a). Section 3 thus

 “sets out a general presumption favoring such authorization.” W. Va.

 Pub. Servs. Comm’n v. Dep’t of Energy, 681 F.2d 847, 856 (D.C. Cir.

 1982).

       B.    National Environmental Policy Act

       Before authorizing a new LNG terminal, the Commission must

 conduct an environmental review under NEPA. That statute sets out

 procedures to be followed by federal agencies to ensure that the

 environmental effects of proposed actions are “adequately identified and

 evaluated.” Robertson v. Methow Valley Citizens Council, 490 U.S. 332,

 350 (1989). “NEPA imposes only procedural requirements . . . with a

 particular focus on requiring agencies to undertake analyses of the

 environmental impact of their proposals and actions.” Dep’t of Transp.

 v. Pub. Citizen, 541 U.S. 752, 756-57 (2004). Accordingly, an agency



                                     8
USCA Case #23-1175    Document #2046821        Filed: 03/26/2024   Page 25 of 108



 must “take a ‘hard look’ at the environmental consequences before

 taking a major action.” Balt. Gas & Elec. Co. v. Nat. Res. Def. Council,

 Inc., 462 U.S. 87, 97 (1983).

      C.    Environmental Justice

      Executive Order 12,898, 59 Fed. Reg. 7,629 (Feb. 11, 1994),

 requires federal agencies to “identify[] and address[], as appropriate,

 disproportionately high and adverse human health or environmental

 effects of [their] programs, policies, and activities on minority

 populations and low-income populations.” Id. § 1-101. The Order

 directs federal agencies to conduct “environmental justice” analyses by

 considering “information on the race, national origin, [and] income

 level” of “areas surrounding facilities or sites expected to have a

 substantial environmental, human health, or economic effect on the

 surrounding populations.” See id. §§ 1-103, 3-302(a)-(b).

      While the Commission is not one of the federal agencies specified

 in the Order, the Commission addresses environmental justice issues in

 its NEPA reviews. See, e.g., Texas LNG Brownsville LLC, 183 FERC

 ¶ 61,047, P 27 (2023) (R. 1564) (Remand Order), JA 014.




                                      9
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 26 of 108



 II.   THE COMMISSION’S REVIEW

       A.   An Overview of Liquefied Natural Gas

       Natural gas liquefies when cooled to minus 260 degrees

 Fahrenheit. This permits the liquefied gas to be transported by ship to

 terminals around the world. At those receiving terminals, the LNG

 may be warmed to return it to a gaseous state before being sent into a

 pipeline network for delivery. See FERC, Energy Primer: A Handbook

 of Energy Market Basics 14-15 (Dec. 2023), https://perma.cc/Q4ZZ-

 7WR7.

       Historically, the United States has been an LNG importer.

 Starting in 2010, however, increased domestic production led to

 numerous proposals to export LNG. Id. 15-16. As of January 2024,

 there are eight domestic export terminals in operation, seven under

 construction, and ten that have been approved but have not started

 construction. See FERC, LNG Export Terminals,

 https://perma.cc/K5HB-B6A8.

       B.   The Texas LNG Project

       The Project consists of two liquefaction trains – equipment

 systems that cool and liquify natural gas – each with a nominal output

 capacity of two million metric tons per year, for a total nominal capacity

                                    10
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 27 of 108



 of four million metric tons annually. See Remand Order P 4, JA 002-

 003; see also Shrimpers & Fishermen of the RGV v. U.S. Army Corps of

 Eng’rs, 56 F.4th 992, 995 (5th Cir. 2023) (explaining LNG liquefaction

 trains and terminals at a high level). Additional facilities include two

 storage tanks, a single LNG carrier berth, and associated

 infrastructure. See Remand Order P 4, JA 002-003. An estimated six

 LNG carriers per month may dock at the Terminal via the adjacent,

 man-made Brownsville Ship Channel. See Remand Order P 53, JA 025-

 026; Texas LNG Brownsville LLC, 170 FERC ¶ 61,139, P 41 (2020)

 (R. 1403) (Authorization Rehearing Order), JA 396.




                                     11
USCA Case #23-1175    Document #2046821        Filed: 03/26/2024   Page 28 of 108




 See Final Environmental Impact Statement, Texas LNG Project at 1-2

 (Mar. 15, 2019) (R. 1374) (EIS), JA 218; see also id. at 2-2, 2-4, 2-13

 (depicting intended on-site facilities), JA 224, 225, 226.

                                     12
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 29 of 108



      C.    The Commission’s Environmental Review

      In April 2015, the Commission approved the Project sponsor’s

 request to utilize the agency’s pre-filing process. That process afforded

 an opportunity for resource agencies, affected communities, and other

 stakeholders to learn about the Project and identify environmental

 issues for detailed review. See id. ES-2 to ES-3, JA 202-203. In October

 2018, Commission staff issued a draft EIS, which addressed the issues

 raised during the scoping period. See id. ES-3, JA 203. Subsequently,

 Commission staff held a public comment session, and received over 900

 comment submissions from federal and state agencies, Native American

 Tribes, and other interested parties. Id.

      The final EIS, issued in March 2019, spanned hundreds of pages

 and analyzed the Project along several dimensions, including potential

 impacts on wetlands, vegetation, fish and wildlife, land use, recreation,

 visual resources, socioeconomics, air quality, and noise. Id. i-v, ES-4 to

 ES-15, JA 196-200, 204-215; Texas LNG Brownsville LLC, 169 FERC

 ¶ 61,130, P 24 (2019) (R. 1391) (Authorization Order), JA 310.

      The EIS evaluated alternatives to the Project and analyzed

 mitigation measures that could help reduce certain environmental



                                     13
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 30 of 108



 impacts. The EIS concluded that the Project would result in some

 adverse environmental impacts that could be mitigated. Authorization

 Order P 25, JA 310. The Project would, however, result in significant

 cumulative impacts to certain resources, including on surface water

 quality in the Brownsville Ship Channel during operational vessel

 transits, on the federally-listed ocelot, jaguarundi, and aplomado falcon,

 and on nearby noise-sensitive areas during nighttime construction. Id.

 P 26, JA 310.

      D.    Project Approval

            1.    The Department of Energy

      In September 2015, the Department of Energy authorized Texas

 LNG to export up to 204.4 billion cubic feet of natural gas per year –

 which is roughly equivalent to the Project’s annual capacity – to

 countries with which the Unites States has a free trade agreement.

 Texas LNG Brownsville LNG, DOE/FE Docket No. 15-62-LNG, Order

 No. 3716 (Sept. 24, 2015), https://perma.cc/LQR8-4BPF. In February

 2020, the Department extended that authorization to non-free trade

 agreement countries. See Texas LNG Brownsville LNG, DOE/FE

 Docket No. 15-62-LNG, Order No. 4489 (Feb. 10, 2020),

 https://perma.cc/92EZ-4DTV.

                                    14
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 31 of 108



       The Department concluded that exports would provide the United

 States with net economic benefits, without affecting the ability to meet

 projected domestic demand. Id. 34-38. Exports would also improve

 energy security for the United States’ allies and trading partners, which

 in turn would provide domestic economic and strategic benefits. Id. 38-

 39.

            2.   The Commission

       On November 22, 2019, the Commission approved the Terminal

 under section 3 of the Natural Gas Act, 15 U.S.C. § 717b(a). See

 Authorization Order PP 1-2, JA 301.

       The Commission explained that the Terminal would be sited in an

 area zoned for heavy industrial use along the Brownsville Shipping

 Channel and had been designed to comply with all federal safety

 standards. Id. PP 18-19, JA 307-308. Most of the Project’s direct

 environmental impacts from construction would be temporary. Id. P 18,

 JA 307-308. Except for certain visual impacts on nearby areas and

 some cumulative impacts, the Project’s impacts would be reduced to

 less-than-significant levels by the implementation of required

 mitigation measures. Id. PP 18, 74-80, JA 307-308, 327-330.



                                    15
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 32 of 108



 The Commission thus found that the Project, as modified by

 Commission staff’s recommended mitigation measures, would be an

 environmentally acceptable action and consistent with the public

 interest. Id. PP 80, 85-86, JA 330, 332.

      The Commission denied Sierra Club’s request for rehearing of the

 Authorization Order. See Authorization Rehearing Order P 1, JA 374.

 III. THE VECINOS DECISIONS

      In August 2021, the Court addressed challenges to the

 Commission’s Texas LNG Authorization Orders in two companion

 opinions. (Those opinions also addressed contemporaneous Commission

 orders authorizing Rio Grande LNG, LLC’s LNG terminal and Rio

 Bravo Pipeline Company, LLC’s pipeline (collectively, the Rio Grande

 LNG Project), to be constructed in the same geographic region as the

 Texas LNG Project.)

      A.    Vecinos I

      In the first – a published opinion referred to here as Vecinos I –

 the Court found that the Commission failed to adequately justify its

 choice to examine environmental justice impacts within a two-mile

 radius of the Project, when some impacts, such as those on air quality,

 would extend beyond that area. See 6 F.4th at 1330-31. The Court

                                    16
USCA Case #23-1175     Document #2046821       Filed: 03/26/2024   Page 33 of 108



 instructed the Commission to better explain its choice of a two-mile

 scope or analyze the Project’s impacts within a different radius. Id. at

 1331.

         The Court also found that the Commission failed to adequately

 respond to the contention that the Council on Environmental Quality’s

 regulations (at 40 C.F.R. § 1502.21(c)) required the Commission to use

 the social cost of carbon protocol or some other generally accepted

 methodology to assess the climate impact of the Project’s emissions.

 See 6 F.4th at 1328-30. The Court directed the Commission to “explain

 whether 40 C.F.R. § 1502.21(c) calls for it to apply the social cost of

 carbon protocol” or some other scientifically accepted tool, “and if not,

 why not.” Id. at 1329-30.

         The Court further directed the Commission to reconsider its public

 interest determinations under the Natural Gas Act after addressing

 these two deficiencies. Id. at 1331. The Court did not vacate the

 Authorization Orders, finding it likely the Commission could remedy

 the deficiencies on remand. Id. at 1332.

         B.   Vecinos II

         In the second opinion – an unpublished decision referred to here



                                      17
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 34 of 108



 as Vecinos II – the Court “denied in all respects” all other challenges to

 the Authorization Orders. 2021 WL 3716769 at *1. Those rejected

 challenges included the contention that the Commission should have

 prepared a supplemental EIS to assess Rio Grande project design

 changes, id. at *1-3, and that the agency failed to adequately consider

 cumulative ozone impacts, id. at *3-4.

 IV.   THE REMAND ORDERS

       In the orders on review, the Commission addressed the issues

 remanded by the Court. Beginning in February 2022, Commission staff

 issued a series of information requests to Texas LNG regarding

 environmental justice communities, visual impacts, air quality

 modeling, and emergency planning, to be used to respond to the issues

 identified in the Court’s remand. See Remand Order P 10, JA 006.

       In September 2022, the Commission issued a notice seeking public

 comment on Texas LNG’s responses. See id. P 11, JA 006; Notice

 Seeking Public Comment (R. 1468), JA 462-464, published 87 Fed. Reg.

 60,679 (Oct. 6, 2022). Pertinent comments filed in response to that

 notice were addressed in the Remand Order. See, e.g., Remand Order

 PP 76-78, JA 036-037.



                                     18
USCA Case #23-1175    Document #2046821      Filed: 03/26/2024   Page 35 of 108



        A.   Environmental Justice

                1. Geographic scope

                     a. Updated analysis

        The Commission updated its environmental justice analysis using

 fresh census information and an expanded area of review, consistent

 with Council on Environmental Quality and EPA guidance. See id.

 PP 26, 35, JA 014, 018. Specifically, the Commission looked to 2020

 census data to identify minority and low-income communities within a

 geographic area that corresponded with the farthest, conservatively

 estimated impact associated with the Project site. Id. PP 28-34, JA 015-

 018.

        The Commission’s analysis (1) identified the environmental

 impact with the broadest geographic scope, (2) conservatively estimated

 the possible range of that impact, (3) identified environmental justice

 communities within that radius, (4) verified that impacts would not

 exceed the estimated range, and then (5) evaluated whether and how

 those communities would be affected by each of the expected impacts

 arising from that site. See id. PP 32-35, JA 017-018. (The community

 data for areas affected by the Project, along with maps detailing the

 affected block groups, were included in Appendix B to the Remand

                                    19
USCA Case #23-1175     Document #2046821      Filed: 03/26/2024   Page 36 of 108



 Order, JA 045-103.)

      Thus, the Commission examined impacts on environmental justice

 communities within a 50-kilometer (31-mile) radius of the Terminal

 site. That figure reflects “a conservative estimate” of possible air

 quality impacts, which are the farthest-reaching impacts associated

 with the construction and operation of the Terminal. Id. PP 32-33,

 JA 017-018. Fifty kilometers is also the distance used by the EPA for

 Clean Air Act permitting. Id. P 33 n.80, JA 017. The geographic scope

 of the Commission’s analysis of Terminal-related environmental justice

 impacts is illustrated below:




                                     20
USCA Case #23-1175     Document #2046821      Filed: 03/26/2024   Page 37 of 108



 Texas LNG Brownsville LLC, February 23, 2023 Informational

 Response at Figure 5-1 (R. 1558), reproduced in Remand Order, App. B-

 28, JA 072.

                  b.     Conclusions

      The Commission next identified which of those potentially affected

 communities were environmental justice communities. See, e.g.,

 Remand Order PP 34 & App. B-2-B-26, JA 018, 046-070. The

 Commission then went on to analyze each impact expected to arise from

 Project construction and operation – i.e., on wetlands, recreational and

 subsistence fishing, tourism, socioeconomics, road and marine traffic,

 noise, safety, air quality, and visual resources – regarding the identified

 communities. See id. PP 35-82, JA 018-039.

      The Commission found that the impacts arising from the Terminal

 “would be predominately borne by environmental justice communities,”

 and thus the Project would have a “disproportionately high and

 adverse” impact on such communities. Id. PP 82-83, JA 039. But many

 project impacts “would be less than significant.” Id. PP 82-83, JA 039.1


      1 Beyond impacts on environmental resources, the updated

 analysis also considered potential safety impacts on environmental
 justice communities, using conservative, worst-case assumptions. As a


                                     21
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 38 of 108



      The one exception was the Terminal’s impact on the local visual

 landscape. Id. PP 81-83, JA 038-039. The Commission found that in

 part due to the size and scale of the proposed facility, “the project would

 result in a significant impact on visual resources when viewed from the

 Laguna Atascosa National Wildlife Refuge, which is within an

 environmental justice community.” Id. P 79, JA 037-038; Texas LNG

 Brownsville LLC, 185 FERC ¶ 61,079, P 36 (2023) (R. 1583) (Remand

 Rehearing Order), JA 155-156; see also EIS 4-132 to 4-134 (presenting

 visual renderings), JA 231-233. Texas LNG would follow a facility

 lighting plan to help reduce impacts from lighting. Remand Order,

 P 80, JA 038.

      In sum, given the mitigation conditions imposed by the

 Authorization Order, the Commission continued to find that the project

 is an environmentally acceptable action. Id. PP 84-86, JA 039-040;

 Remand Rehearing Order PP 1-2, 35-37, JA 137, 155-157.




 result, the Commission required Texas LNG’s Emergency Response
 Plan to take the needs of environmental justice communities into
 account, including dissemination of public education materials in
 English and Spanish. Remand Order PP 63-64, JA 030-031.


                                     22
USCA Case #23-1175     Document #2046821      Filed: 03/26/2024   Page 39 of 108



            2.      Social cost of carbon protocol

      In the Remand Order, the Commission also addressed whether

 section 1502.21(c) of the Council on Environmental Quality’s

 regulations requires the use of the social cost of carbon protocol to

 assess the Project’s climate change impacts. See Remand Order PP 18-

 25, JA 009-013.2

      The Commission explained that the regulation did not require the

 protocol’s use, because the protocol was “not developed for project level

 review” and “does not enable the Commission to credibly determine

 whether the [greenhouse gas emissions] are significant.” Id. P 20,

 JA 010-011. Nonetheless, for informational purposes, the Commission

 used the protocol to estimate the social cost of the Project’s greenhouse

 gas emissions. Id. PP 21-24, JA 011-013. Using a variety of discount

 rates, those calculations resulted in values ranging between $215

 million and $1.01 billion for the Project. Id. PP 22-24, JA 012-013.




      2 In 2016, the protocol was updated to include the social costs of

 additional greenhouse gases, leading to the “social cost of GHG[s]”
 nomenclature. See Remand Order P 20 n.48, JA 010. This brief uses
 the “social cost of carbon” for consistency with the terminology in
 Vecinos I.


                                     23
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 40 of 108



            3.    Natural Gas Act analysis

      The Commission found that nothing in its updated environmental

 analysis altered its prior determination that the Project is not

 inconsistent with the public interest. See, e.g., Remand Order PP 2, 85,

 JA 002, 039; see also 15 U.S.C. § 717b(a), supra p. 8 (explaining section

 3’s general presumption favoring LNG terminal authorization, unless

 such proposals “will not be consistent” with the public interest), infra

 p. 27 (noting the flexibility of Commission discretion under section 3).

      The Commission affirmed its findings on rehearing. See Remand

 Rehearing Order PP 1-2 & n.5, 35-37, JA 137, 155-157.

 One Commissioner dissented from both orders. In its opening brief,

 Sierra Club does not reference the dissent. See infra p. 67 n.6 (any

 argument based on dissent now waived).

                      SUMMARY OF ARGUMENT

      Environmental Justice: The Commission reasonably responded

 to the Court’s remand by expanding the geographic scope of its

 environmental justice analysis to coincide with the farthest-reaching

 impact from the Project site. The Commission’s updated analysis

 appropriately concluded that the Project would have a disproportionate

 and adverse impact on environmental justice communities since they

                                     24
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 41 of 108



 would predominately bear its impacts. But, with the exception of visual

 impacts near the Terminal, those impacts would not be substantial.

      Social Cost of Carbon: The Commission reasonably responded

 to the Court’s remand by explaining that 40 C.F.R. § 1502.21(c) does not

 require use of the social cost of carbon protocol because it was not

 developed for project-level reviews and there is no generally accepted

 threshold for assessing whether a particular amount of emissions is

 significant. Nonetheless, the Commission calculated the social cost of

 the Project’s emissions, explained that the Project would have an

 incremental impact on climate change, and discussed potential climate

 change impacts to the Project region.

      Natural Gas Act: The Commission reasonably addressed the

 Court’s remand by explaining that nothing in its updated analysis in

 response to the two deficiencies identified by the Court altered its prior

 conclusion that the Project is an environmentally acceptable action and

 should continue to be authorized under the Natural Gas Act.

      Supplemental EIS: The Commission reasonably found that it

 was not required to prepare a supplemental EIS in connection with its

 updated environmental justice analysis. That analysis did not reveal a



                                     25
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 42 of 108



 “seriously different picture” of the Project’s impacts. The Commission’s

 conclusion – that environmental justice communities will bear the brunt

 of the Project’s impact, but those impacts, for the most part, will not be

 substantial – is the same as that reached previously. Moreover, the

 Commission’s procedures on remand ensured that interested parties

 were able to participate in, and comment on, the Commission’s review.

                               ARGUMENT

 I.   STANDARD OF REVIEW

      This Court reviews Commission actions under the Administrative

 Procedure Act’s narrow arbitrary and capricious standard. 5 U.S.C.

 § 706(2)(A). Under that standard, the question is not “whether a

 regulatory decision is the best one possible or even whether it is better

 than the alternatives.” FERC v. Elec. Power Supply Ass’n, 577 U.S.

 260, 292 (2016). Rather, the reviewing court must uphold the

 Commission’s determination “if the agency has examined the relevant

 considerations and articulated a satisfactory explanation for its action,

 including a rational connection between the facts found and the choice

 made.” Id. (cleaned up); see also FCC v. Prometheus Radio Project, 592

 U.S. 414, 423 (2021) (“deferential” arbitrary-and-capricious standard




                                     26
USCA Case #23-1175     Document #2046821        Filed: 03/26/2024   Page 43 of 108



 requires only that agency action “be reasonable and reasonably

 explained”).

       The grant or denial of an authorization under section 3 of the

 Natural Gas Act, 15 U.S.C. § 717b, is within the Commission’s

 discretion, and the Court does not substitute its judgment for that of the

 agency. See Pub. Serv. Comm’n of W. Va. v. Dep’t of Energy, 777 F.2d

 31, 35 (D.C. Cir. 1985) (agency’s section 3 discretion is “elastic,” i.e.,

 “even more flexible than the discretion afforded” under NGA section 7,

 15 U.S.C. § 717f).

       The arbitrary and capricious standard also applies to NEPA

 challenges. Nevada v. Dep’t of Energy, 457 F.3d 78, 87 (D.C. Cir. 2006).

 The statute is purely procedural and thus “the court’s role is ‘simply to

 ensure that the agency has adequately considered and disclosed the

 environmental impact of its actions and that its decision is not arbitrary

 or capricious.’” Nat’l Comm. for the New River, Inc. v. FERC, 373 F.3d

 1323, 1327 (D.C. Cir. 2004) (quoting Balt. Gas, 462 U.S. at 97-98). The

 Commission’s environmental analysis is subject to a “rule of reason”

 standard, and the Court has “consistently decline[d] to flyspeck” that

 analysis. Ctr. for Biological Diversity v. FERC, 67 F.4th 1176, 1182



                                       27
USCA Case #23-1175   Document #2046821        Filed: 03/26/2024   Page 44 of 108



 (D.C. Cir. 2023) (quotations omitted); see also City of Boston Delegation

 v. FERC, 897 F.3d 241, 251 (D.C. Cir. 2018) (same).

       This narrow standard also applies to an agency’s decision not to

 supplement its environmental analysis. See Marsh v. Oregon Nat. Res.

 Council, 490 U.S. 360, 375-76 (1989). The question is simply “whether

 [the Commission’s] ‘decision was based on a consideration of the

 relevant factors and whether there has been a clear error of judgment.’”

 Friends of Capital Crescent Trail v. Fed. Transit Admin., 877 F.3d 1051,

 1059 (D.C. Cir. 2017) (quoting Marsh, 490 U.S. at 378).

 II.   THE COMMISSION REASONABLY RESPONDED TO
       THE COURT’S REMAND

       The Court gave the Commission three discrete tasks on remand:

 (1) reconsider the geographic scope of its environmental justice analysis,

 (2) explain whether 40 C.F.R. § 1502.21(c) requires the use of the social

 cost of carbon protocol, and (3) assess whether the response to either

 task altered its previous conclusion that the Project is consistent with

 the public interest under the Natural Gas Act. The Commission

 reasonably responded to each issue. See Process Gas Consumers Grp. v.

 FERC, 292 F.3d 831, 840 (D.C. Cir. 2002) (question on review is

 whether agency determinations are responsive to the Court’s mandate).


                                     28
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 45 of 108



      A.    The Commission Reasonably Analyzed
            Environmental Justice Impacts

            1.    The Commission reasonably expanded the
                  geographic scope of its analysis

      The Vecinos court held that the Commission arbitrarily limited

 the geographic scope of its environmental justice analysis to

 communities within a two-mile radius of the Project when certain

 impacts could extend beyond that radius. See Vecinos I, 6 F.4th at

 1330-31. The Court instructed the Commission to better justify its two-

 mile limitation, “or else analyze the projects’ impacts on communities

 within a different radius.” Id. at 1331.

      The Commission chose the latter course. It took another look at

 the Project’s associated environmental impacts and identified which

 impact had the broadest geographical scope. The Commission then

 estimated a geographic radius that would capture that impact. Within

 that radius, the Commission identified environmental justice

 communities and then analyzed whether and how the impacts

 associated with the Project would affect them. See supra pp. 21-22.

      The Commission’s expanded delineation of the areas potentially

 affected by the Project was “reasonable and adequately explained.”

 Vecinos I, 6 F.4th at 1330 (quoting Cmtys. Against Runway Expansion,

                                     29
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 46 of 108



 Inc. v. FAA, 355 F.3d 678, 689 (D.C. Cir. 2004)). The geographic scope

 was reasonable because it was broad enough to encompass all possible

 impacts from the Project site. See Remand Order PP 32-33, JA 017-018;

 EIS 4-270, 4-271 (identifying potential scope of impacts), JA 266, 267.

 For example, the air quality impacts of Terminal operations were

 modeled using a 50-kilometer radius, the same distance the Vecinos

 Court highlighted. Compare Remand Order PP 9, 32-33, 74, JA 006,

 017-018, 034-035, with 6 F.4th at 1330. But the Commission also

 identified instances where impacts would be more localized, as in the

 case of construction emissions and impacts on visual resources. See,

 e.g., Remand Order PP 67, 79, JA 031-032, 037-038.

      The Commission’s conclusions regarding geographic scope were

 also reasonably explained. For instance, the Commission found that a

 50-kilometer radius was appropriate for analyzing the air quality

 impacts of the Terminal’s operating emissions, as that is consistent

 with the EPA’s Clean Air Act permitting practices. Id. P 33 & nn.80-82

 (citing 40 C.F.R. pt. 51, app. W (Guideline on Air Quality Models)),

 JA 017-018; see also Rio Grande LNG, LLC, 183 FERC ¶ 61,046, P 118

 n.268 (2023) (explaining that 50 kilometers is the maximum distance



                                    30
USCA Case #23-1175    Document #2046821      Filed: 03/26/2024   Page 47 of 108



 that can be reasonably forecasted in air modeling applications). And by

 identifying environmental justice communities based on the measured

 distance of the farthest estimated direct impact, the Commission’s

 analysis thus also included the study of impacts whose effects dissipate

 over shorter distances. Compare Remand Order PP 32-35 (explaining

 geographic scope and community identification), JA 017-018, with id.

 PP 55-60 (analyzing noise impacts from Project construction and

 operation), JA 026-029.

        Having chosen a reasonable geographic scope for its analysis and

 adequately explained that choice, the Commission’s methodology “is

 entitled to deference.” Cmtys. Against Runway Expansion, 355 F.3d at

 689.

             2.   The Commission reasonably explained its
                  conclusions

        The Court also directed the Commission to address whether its

 prior conclusion – that the Project would not have a “disproportionate”

 effect, since all affected communities were minority or low-income – still

 held. Vecinos I, 6 F.4th at 1331.

        Based on its updated analysis, the Commission found that the

 impacts associated with construction and operation of the Terminal


                                     31
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 48 of 108



 would “be disproportionately high and adverse because they would be

 predominately borne by the environmental justice communities

 identified.” Remand Order PP 82-83, JA 039; see also id. PP 35-81

 (discussing specific impacts), JA 018-038. But apart from visual

 impacts near the Terminal, the Commission’s conclusions regarding

 which Sierra Club does not challenge here (see Br. 37), the Project’s

 impacts would not be substantial. See Remand Order P 82 (“impacts

 associated with wetlands, surface water, recreational and subsistence

 fishing, tourism, socioeconomics, traffic, noise, and air quality would be

 less than significant”), JA 039; see also id. P 35 (explaining that

 “[e]nvironmental justice concerns are not present for other resource

 areas such as” geology and groundwater, given minimal impacts),

 JA 018; Rehearing Remand Order P 25 n.66 (noting the exception of

 visual impacts), JA 148.

      That explanation appropriately responds to the Court’s remand

 and satisfies the “goal of an environmental-justice analysis” by

 “recogniz[ing] and discuss[ing]” the Project’s “impacts on

 predominately-minority communities.” Sierra Club v. FERC, 867 F.3d

 1357, 1370 (D.C. Cir. 2017).



                                     32
USCA Case #23-1175     Document #2046821     Filed: 03/26/2024   Page 49 of 108



            3.    Sierra Club’s objections lack merit

      Sierra Club raises a series of substantive objections to the

 Commission’s analysis. All are without merit.

                  a.     Air pollution impacts

      First, Sierra Club claims that “FERC did not even purport to state

 whether air emissions would have a disproportionate adverse effect on

 environmental justice communities.” Br. 35. Not so. The Commission

 determined that certain impacts on environmental justice communities

 from the construction and operation of the Terminal – including air

 quality impacts – “would be disproportionately high and adverse,” as

 they “would be predominately borne” by such communities. Remand

 Order P 82, JA 039.

                         i.    Project site construction emissions
                               would not adversely impact air quality
                               at nearest residences

      The Commission explained, however, that Terminal construction

 emissions would “have the largest impact within a short radius around

 the construction footprint” of the Terminal, and “should not result in

 adverse impacts on air quality” at “the nearest residences

 (approximately 1.6 miles away).” Id. P 67, JA 031-032; see also Remand

 Rehearing Order P 25, JA 148-149.

                                     33
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 50 of 108



      The Commission also addressed the possibility of cumulative

 construction emission impacts. These temporary cumulative impacts

 from Rio Grande LNG and Texas LNG construction activities would be

 “in the immediate vicinity of the LNG terminal sites” and would not

 affect any residences. Remand Order P 72, JA 033-034; see also id. P 82

 (identifying the three census block groups closest to the Terminal),

 JA 039. The Commission explained, however, that they could impact

 “individuals from environmental justice communities fishing or

 otherwise recreating near the terminal.” Id. P 72, JA 033-034; see also

 id. P 69 (identifying Laguna Atascosa as a nearby area that could

 experience short-term elevated air pollution levels), JA 032-033.

 The Commission imposed monitoring and mitigation measures to help

 ensure that emission levels would remain below the National Ambient

 Air Quality Standards (NAAQS) during construction and start up.

 Id. PP 66-72, JA 031-034.

                       ii.   No air standard violations from
                             operations

      As for operational emissions – both direct and cumulative – the

 Commission explained that they could potentially impact air quality up

 to 50 kilometers from the Terminal. See id. PP 32-34, 73-75, JA 017-


                                    34
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 51 of 108



 018, 034-036. But communities within that radius would not face

 significant air quality impacts because operation of the Terminal would

 not cause air pollutant concentrations to exceed the NAAQS, which are

 designed “to protect sensitive populations.” Id. PP 74-75 & nn.174-75,

 JA 034-036.

                        iii.   Reliance on air standards

      Pointing to a passage from the EPA’s Promising Practices, Sierra

 Club contends that a finding of no significant impacts to the general

 population cannot, standing alone, establish that there are no

 disproportionately high and adverse impacts to environmental justice

 communities. Br. 36. Sierra Club charges that “FERC offers no

 explanation” for failing to apply this principle when analyzing the

 Project’s “air impacts.” Id. 36-37. Not true.

      The Commission explained that it compared expected emissions to

 the NAAQS thresholds, which are meant to “protect sensitive

 populations.” Remand Order PP 74-75, JA 034-036; see also Murray

 Energy Corp. v. EPA, 936 F.3d 597, 604 (D.C. Cir. 2019) (NAAQS

 “protect the public health,” including that of “sensitive populations”).

 And the Court has already held in this litigation that the Commission



                                     35
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024    Page 52 of 108



 may rely on those standards to “appropriately capture potential health

 risks.” Vecinos II, 2021 WL 3716769 at *4; see also Remand Rehearing

 Order PP 22-23, JA 147-148; Sierra Club, 867 F.3d at 1370 n.7 (“FERC

 appropriately relied on EPA’s national ambient air quality standards”

 (citing Cmtys. Against Runway Expansion, 355 F.3d at 689)).

      Moreover, Sierra Club ignores that the Commission previously

 considered whether any Project impacts would disproportionately affect

 environmental justice communities in the area due to “factors unique to

 [those] population[s],” including “health factors.” See Authorization

 Rehearing Order P 45, JA 397-398. Sierra Club does not offer any

 reason to expect that the relevant communities may be vulnerable to air

 quality impacts in a manner not already accounted for in the NAAQS.

 See id. PP 44-45, 49, JA 397-398, 400-401; see also Br. 36-38.

 Ultimately, the Commission concluded that the demographic

 characteristics of these communities would not cause emissions to have

 a disproportionately adverse impact on them as compared to the

 broader population. See Authorization Rehearing Order P 49, JA 400-

 401; Remand Order P 75, JA 035-036; see also Remand Rehearing

 Order PP 24-25, JA 148-149.



                                    36
USCA Case #23-1175       Document #2046821    Filed: 03/26/2024   Page 53 of 108



                    b.     Geographic scope

       Having previously claimed that the geographic scope of the

 Commission’s analysis was too narrow, see Vecinos I, 6 F.4th at 1330,

 Sierra Club now complains that the analysis is “over-inclusiv[e]” and

 “untethered from FERC’s estimates of impacts,” Br. 38-39. This issue

 was not presented to the Commission on rehearing and the Court

 therefore lacks jurisdiction to consider it. See Reh’g Req. 18-19

 (R.1569), JA 529-530; see also 15 U.S.C. § 717r(b) (“No objection to the

 order of the Commission shall be considered by the court unless such

 objection shall have been urged before the Commission in the

 application for rehearing unless there is reasonable ground for failure

 so to do.”); Food & Water Watch v. FERC, 28 F.4th 277, 284 (D.C. Cir.

 2022) (holding the NGA’s issue exhaustion requirement is

 jurisdictional).

       In any event, Sierra Club does not dispute that air quality impacts

 could occur as far as 50-kilometers away from a project. Br. 38. That

 alone establishes that the Commission reasonably established the

 geographic scope of its analysis. See Cmtys. Against Runway




                                       37
USCA Case #23-1175    Document #2046821        Filed: 03/26/2024   Page 54 of 108



 Expansion, 355 F.3d at 689 (agency’s choice “among reasonable

 analytical methodologies is entitled to deference from this court”).

      Sierra Club seizes upon the Commission’s statement that, beyond

 24 kilometers (approximately 15 miles), there are no Clean Air Act

 criteria pollutants above the “significant impact level.” Br. 38 (quoting

 Remand Order P 33, JA 017-018). But that is a distraction.

      First, the refence was simply “to give context for Commission

 staff’s determination that a more conservative radius of 50 kilometers”

 was an “appropriate unit of geographic analysis.” Remand Rehearing

 Order P 21, JA 146-147.

      Second, “significant impact levels” are established by the EPA

 under the Clean Air Act. If modeled emissions are below the pertinent

 level, the source is not considered to cause or contribute to a violation of

 the applicable air quality standard. See Remand Order P 33 n.81,

 JA 017-018. If the level is exceeded, then further analysis is required.

 See Remand Rehearing Order P 20 n.50, JA 145-146. Here, the

 Commission required cumulative air modeling extending to a radius of

 50 kilometers, in part due to Sierra Club’s comments on Texas LNG’s

 initial submissions. Id. P 21, JA 146-147; Remand Order P 76, JA 036.



                                      38
USCA Case #23-1175     Document #2046821     Filed: 03/26/2024   Page 55 of 108



 Once revised and completed, the final modeling established that, even

 under a worst-case scenario, Project emissions “would not cause or

 contribute to a potential exceedance of the NAAQS on a regional or

 localized basis.” Remand Rehearing Order PP 21, 23, JA 146-148;

 see also Remand Order P 76, JA 036 (describing Commission staff’s

 efforts to obtain “a full cumulative model” using “consistent

 methodology” to “analyze the impacts properly”).

                  c.     The Isla Blanca air monitor

      Baseline data for the Commission’s air quality analysis was

 gathered from a particulate matter monitor located in Brownsville,

 28 kilometers from the Terminal. See Remand Rehearing Order PP 16-

 17, JA 143-144. Sierra Club charges that the Commission “arbitrarily

 refused to consider” data from the Isla Blanca monitor, located roughly

 13 kilometers from the Terminal. Br. 41.

      But as the Commission explained, EPA regulations and modeling

 guidance state that three years-worth of data should be used. Remand

 Rehearing Order P 17 & n.40, JA 143-144. The background data

 underlying the air quality analysis covered 2018 through 2020.

 See Jan. 30, 2023 Texas LNG Resp. at Response 1 & Table 9-4



                                     39
USCA Case #23-1175     Document #2046821     Filed: 03/26/2024   Page 56 of 108



 (R. 1553), JA 500, 503. The Isla Blanca monitor, which began collecting

 reliable data in October 2019, did not have three years of data at the

 time the analysis was completed. See Remand Rehearing Order P 17,

 JA 143-144.

      Moreover, after examining mapping data, the Commission

 determined that the Brownsville monitor was close to environmental

 justice communities, and thus was “adequately representative to

 identify impacts to potentially affected population centers.” Id.

 The Commission’s use of data from the Brownsville monitor was thus

 reasonable. See Center for Biological Diversity, 67 F.4th at 1182 (court

 “consistently decline[s] to flyspeck an agency’s environmental

 analysis”).

                  d.     Ozone

      In the pre-remand Authorization Orders, the Commission found

 that the cumulative emissions of ozone precursors from the three

 anticipated LNG projects could result in ozone air quality standard

 exceedances. See Authorization Rehearing Order P 50, JA 401. Since

 then, the Rio Grande LNG terminal was redesigned, and plans to build

 the third proposed nearby LNG terminal were abandoned. See Rio



                                     40
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 57 of 108



 Grande LNG, LLC, 174 FERC ¶ 61,048, P 12 n.40 (2021) (noting

 reduction in ozone precursors would “reduce the cumulative Ozone

 levels”); Vecinos I, 6 F.4th at 1327 (noting abandonment of Annova LNG

 project).

       On remand, the Commission asked Texas LNG to provide an

 updated cumulative emissions analysis. See Remand Order P 73,

 JA 034. That analysis showed that, even with “worst-case

 concentration scenarios” from estimated Project emissions, predicted

 criteria pollutant concentrations would be below the NAAQS at all

 locations within 50 kilometers of the Terminal. See id. PP 73-74,

 JA 034-035 (citing, in part, id. App. B, Table 2, JA 071). Given its

 smaller size, the Terminal would be expected to emit only one-tenth the

 amount of ozone precursors as the larger, nearby Rio Grande LNG

 facility. See id. Thus, even when considered in combination with the

 Rio Grande facility, cumulative impacts would remain below the 8-hour

 ozone NAAQS. Id. (citing, in part, EIS 4-339, JA 279), JA 035.

       Sierra Club contends that the Commission’s discussion of the

 updated ozone analysis is subject to challenge for failure to comply with

 NEPA. Br. 42-44. But the Court already determined that the



                                     41
USCA Case #23-1175    Document #2046821        Filed: 03/26/2024   Page 58 of 108



 Commission’s initial analysis fulfilled its NEPA obligations: “FERC was

 aware of and adequately considered the cumulative ozone effects when

 it decided to approve the [Project]. The NEPA demands no more.”

 Vecinos II, 2021 WL 3716769 at *4; see also Remand Rehearing Order

 P 19 (discussing Vecinos II), JA 145. Questions regarding the

 Commission’s initial ozone analysis are thus beyond the scope of the

 remand proceeding.

      In any event, the Commission explained that the updated study by

 Texas LNG “estimated ozone concentrations following EPA’s Modeled

 Emissions Rates for Precursors” and state agency guidance;

 substantively, it found that there would not be a significant cumulative

 impact with respect to 8-hour ozone during operation of the Terminal.

 Remand Rehearing Order P 19 & nn.48-49, JA 145 (citing R. 1455 and

 Remand Order P 74, JA 034-035). The Commission thus had no basis

 to doubt the completeness or accuracy of those calculations. Id.

      B.    The Commission Reasonably Addressed 40 C.F.R.
            § 1502.21(c)

            1.    Section 1502.21(c) does not compel use of the
                  social cost of carbon protocol

      The Court directed the Commission to “explain whether 40 C.F.R.

 § 1502.21(c) calls for it to apply the social cost of carbon protocol or some

                                      42
USCA Case #23-1175       Document #2046821    Filed: 03/26/2024   Page 59 of 108



 other analytical framework” and “if not, why not.” Vecinos I, 6 F.4th at

 1329-30. Section 1502.21(c) requires agencies to evaluate impacts

 “based upon theoretical approaches or research methods generally

 accepted in the scientific community.” The Commission explained that

 the regulation does not require the use of the social cost of carbon

 protocol in this proceeding for two reasons. Remand Order P 20,

 JA 010.

                  a.       Project-level review

      First, the “tool was not developed for project level review.” Id.

 Sierra Club asserts both that this finding is “completely unsupported”

 (Br. 49) and that the Commission has “conceded” the protocol is

 “generally accepted in the scientific community.” Br. 47, 49. Neither

 assertion is correct.

      In the Remand Order, the Commission pointed to its Florida

 Southeast Connection proceeding to support its long-standing position

 that the protocol is not appropriate for assessing individual

 infrastructure projects. See Remand Order P 20 & n.49, JA 010.

 There, the Commission noted comments the EPA filed with the

 Commission explaining that the “tool was developed to aid the



                                       43
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 60 of 108



 monetary cost-benefit analysis of rulemakings.” Fla. Se. Connection,

 LLC, 164 FERC ¶ 61,099, P 35 n.103 (2018) (quoting EPA July 26, 2018

 Comments in FERC Docket No. PL18-1-000, available at

 https://perma.cc/9KVT-9DNA). By contrast, when analyzing a specific

 project under NEPA (a context for which the social cost of carbon was

 not designed for), the Commission does not – and often cannot –

 quantitively capture all project benefits. See id. PP 28, 32, 36, 35 n.103.

 Qualitative assessments are required. Id. P 36. Using the social cost of

 emissions on one side of the equation would thus result in a “distorted

 cost-benefit analysis,” since it would “not make sense to only quantify

 one side of the equation.” Id. PP 28, 32; see also 40 C.F.R. § 1502.22

 (monetary cost-benefit analysis should not be used “when there are

 important qualitative considerations”).

      Moreover, “it remains the case that there is a ‘lack of consensus

 about how to apply the social cost of carbon on a long time horizon.’”

 Remand Rehearing Order P 44 n.142 (citing Center for Biological

 Diversity, 67 F.4th at 1184), JA 162;3 see also Fla. Se. Connection, LLC,



      3 Sierra Club falsely asserts that the Commission has “abandoned”

 this historic concern about the lack of consensus regarding an


                                     44
USCA Case #23-1175    Document #2046821        Filed: 03/26/2024   Page 61 of 108



 162 FERC ¶ 61,233, P 49 (2018). This can result in “significant

 variation in output” that “belies the[] contention that the Commission

 acted unreasonably in finding the tool inadequately accurate to warrant

 inclusion under NEPA.” EarthReports Inc. v. FERC, 828 F.3d 949, 956

 (D.C. Cir. 2016); see also Center for Biological Diversity, 67 F.4th at

 1184 (claim that the “generally accepted in the scientific community”

 regulation “mandates a social cost of carbon analysis” is “in tension

 with EarthReports” and other cases finding a “lack of scientific

 consensus”).

      Thus, while the protocol may be generally accepted in the

 scientific community for “rulemaking proceedings” (Fla. Se. Connection,

 164 FERC ¶ 61,099 at P 35), the Commission reiterated here that such

 a consensus does not exist for project-level reviews. See Remand

 Rehearing Order PP 41-42, JA160-61; see also Del. Riverkeeper Network

 v. FERC, 45 F.4th 104, 111 (D.C. Cir. 2022) (upholding determination

 that protocol is not appropriate for project-specific review).



 appropriate discount rate. Br. 51. Equally untrue is the claim that the
 Commission “abandoned” its concern that the protocol does not measure
 environmental impacts. See Remand Rehearing Order P 44 n.142 (“it
 remains the case that . . . the [protocol] . . . does not measure
 environmental impacts as such”), JA 162.

                                      45
USCA Case #23-1175     Document #2046821       Filed: 03/26/2024   Page 62 of 108



      As Sierra Club notes, agencies whose responsibilities are more

 directly tied to fossil fuel production or consumption have chosen to use

 the protocol. Br. 48. But that does not establish that it is scientifically

 accepted for use in a project-specific infrastructure analysis under

 NEPA. And, in any event, the Commission used the protocol to

 generate a range of the Project’s social costs. See Remand Order PP 20-

 25, JA 010-013; supra p. 23.

                  b.     Significance threshold

      Separately, section 1502.21(c) does not mandate use of the

 protocol because it does not “enable the Commission to credibly

 determine” whether a project’s emissions “are significant or not

 significant in terms of their impact on global climate change.” Remand

 Order P 20, JA 010-011; see also Remand Rehearing Order P 42,

 JA 160-161. “There are currently no criteria to identify what monetized

 values are significant for NEPA purposes.” Remand Order P 20 n.52

 (quoting LA Storage, LLC, 182 FERC ¶ 61,026, P 14 (2023)), JA 011; see

 also NEPA Guidance on Consideration of Greenhouse Gas Emissions

 and Climate Change, 88 Fed. Reg. 1196, 1200 (Jan. 9, 2023) (“This

 guidance does not establish any particular quantity of GHG emissions



                                     46
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 63 of 108



 as ‘significantly’ affecting the quality of the human environment.”).

      Recognizing the lack of scientific consensus, the Court has

 repeatedly found that the Commission has “no obligation … to consider

 the social cost of carbon.” Center for Biological Diversity, 67 F.4th at

 1184; see also EarthReports, 828 F.3d at 956 (same); Sierra Club v.

 FERC, 672 F. App’x 38, 39 (D.C. Cir. 2016) (per curiam) (same);

 Appalachian Voices v. FERC, No. 17-1271, 2019 WL 847199, *2 (D.C.

 Cir. Feb. 19, 2019) (per curiam) (same).

      Sierra Club says the Commission should just make a “policy

 judgment” as to whether a particular level of emissions, or its

 monetized cost, constitutes a significant environmental impact. Br. 49-

 50. But the issue here is whether section 1502.21(c) requires, as a legal

 matter, use of the social cost of carbon protocol. And that regulation

 addresses “methods generally accepted in the scientific community,” not

 policy calls by regulators. 40 C.F.R. § 1502.21(c); see also Remand

 Rehearing Order P 44, JA 162.

      Sierra Club also asserts that the Commission “ignored” the

 Court’s “instruction to consider other analytic methods.” Br. 52; see also

 id. 46. Not true. See Remand Order P 20, JA 010-011 (“Nor are we



                                     47
USCA Case #23-1175   Document #2046821        Filed: 03/26/2024   Page 64 of 108



 aware of any other currently scientifically accepted method that would

 enable the Commission to determine the significance of reasonably

 foreseeable GHG emissions”); see also Remand Rehearing Order P 42

 (same), JA 160-161; EIS 4-344 (discussing review of other potential

 models and methodologies), JA 284.

      Sierra Club’s only contention is that the Commission could have

 just “made an ad-hoc determination.” Br. 52-53. Sierra Club points to

 the Commission’s case-specific significance determination in Northern

 Natural Gas Co., 174 FERC ¶ 61,189 (2021). But in that one case, the

 Commission did not use any generally accepted methodology. It simply

 concluded that the impact of a particular project that increased state

 emission levels by 0.000078 percent and 0.0002 percent, would, under

 any approach, be insignificant. Id. PP 33-36.

      Sierra Club also notes that the Commission at one time proposed

 a significance threshold of 100,000 tons per year of carbon dioxide

 equivalent. Br. 53. That threshold – since suspended – was set “as a

 matter of policy.” See Remand Order P 25 n.64, JA 013. Again, the

 legal question under § 1502.21(c) concerns the use of scientifically

 accepted methodologies. An eye-ball test or policy preference does not



                                     48
USCA Case #23-1175   Document #2046821        Filed: 03/26/2024   Page 65 of 108



 suffice. See Remand Rehearing Order P 41 (declining to use ad hoc

 emission level), JA 160; see also Driftwood Pipeline LLC, 183 FERC

 ¶ 61,049, P 61 (2023) (explaining limited value of monetizing social cost

 of pipeline emissions).

            2.    The Commission addressed the significance
                  of the Project’s potential climate impacts

      Sierra Club asserts that, notwithstanding the lack of any scientific

 consensus regarding the social cost of carbon protocol, other Council on

 Environmental Quality and FERC regulations require the Commission

 to make an up-or-down call as to whether potential climate change

 impacts cross a “significant” threshold. Br. 52 (citing 18 C.F.R.

 § 380.7(a), (d); 40 C.F.R. § 1502.16(a)(1)). But these regulations were

 not even cited in Sierra Club’s request for agency rehearing, much less

 argued. The Court thus lacks jurisdiction to consider this contention on

 review. See Reh’g Req. 29-34 (R. 1569), JA 540-545; see also 15 U.S.C.

 § 717r(b); Constellation Energy Commodities Grp. v. FERC, 457 F.3d 14,

 21 (D.C. Cir. 2006) (argument waived where rehearing request “never

 even cited the sections of the tariff upon which they now rely”).

 Moreover, the question of whether the Commission must make a binary

 significance determination is beyond the scope of the remand. See


                                     49
USCA Case #23-1175   Document #2046821        Filed: 03/26/2024   Page 66 of 108



 Remand Rehearing Order PP 38-39, JA 157-159.

      In any event, the now-cited CEQ regulation – 40 C.F.R.

 § 1502.16(a)(1) – requires the Commission to discuss the “significance of

 [a project’s] impacts.” Plainly the Commission did so here.4

      The Commission estimated the Project’s greenhouse gas

 emissions. See Remand Order PP 23-24, JA 012-013. The Commission

 determined that they would contribute incrementally to climate change.

 See id. P 25, JA 013. The Commission calculated an estimated social

 cost of those emissions (see id. P 24, JA 012-013), after having

 contextualized emissions from the Project pre-remand by comparing

 them to the national inventory. See Authorization Order PP 66-68,

 JA 324-325. The Commission discussed the environmental impacts in

 the region attributable to climate change, such as flooding and

 increased storm intensity. See EIS 4-342 to 4-344, JA 282-284. And the

 Commission ultimately concluded that the Project, with added




      4 Sierra Club also cites to 18 C.F.R. § 380.7(a), but that section

 does not say the Commission must definitively determine whether an
 impact crosses a “significant” threshold. It simply provides that the
 “staff conclusion section” in an EIS “will include summaries of [t]he
 significant environmental impacts of the proposed action.” Id.


                                     50
USCA Case #23-1175    Document #2046821        Filed: 03/26/2024   Page 67 of 108



 construction and operational conditions to mitigate adverse effects,

 would be “environmentally acceptable.” Remand Order P 84, JA 039.

 All this satisfies “the required ‘hard look.’” Id. P 25, JA 013; see also

 WildEarth Guardians v. Jewell, 738 F.3d 298, 309 (D.C. Cir. 2013)

 (quantifying emissions and comparing them to national and state

 inventory levels is a “reasonable proxy” for assessing climate impacts);

 Center for Biological Diversity, 67 F.4th at 1184 (comparing Project

 emissions with state and national inventories is “reasonable”).

      C.    The Commission Reasonably Reassessed Its
            Public Interest Determination

      The Court also directed the Commission to “revisit its

 determinations” under the Natural Gas Act, including its finding that

 “the LNG terminals were ‘not inconsistent with the public interest.’”

 Vecinos I, 6 F.4th at 1331 (quoting in part Authorization Order P 86,

 JA 332). The Commission did so.

            1.    The Commission reaffirmed its Natural Gas
                  Act findings

      The Commission “continue[d] to find” that the Project was

 “environmentally acceptable.” Remand Order P 84, JA 039. It also

 “continue[d] to find that, under section 3 of the NGA, the Texas LNG

 Project is not inconsistent with the public interest.” Id. P 85, JA 039;

                                      51
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 68 of 108



 see also supra pp. 7-8 (explaining “not inconsistent” statutory standard).

 The Commission revisited its environmental analysis as directed, noted

 its new findings, and determined that none of the information from its

 updated analysis on remand undermined its NGA conclusions. Remand

 Rehearing Order PP 36-37, JA 155-157. It took notice of the Terminal’s

 export authorization by the Department of Energy, which concluded

 that Terminal exports would provide the United States with economic

 benefits, without affecting the ability to meet projected domestic

 demand. See id. P 37, JA 156-157; Texas LNG Brownsville LNG, DOE

 Order No. 4489 at 34-39, https://perma.cc/92EZ-4DTV; Rio Grande

 LNG, LLC, 170 FERC ¶ 61,046, PP 15-18 (2020) (noting how exporting

 natural gas can yield benefits, including domestic public benefits).

 Constructing and operating the Terminal would allow for the

 realization of these economic benefits. See Authorization Order PP 16-

 18, 21, JA 306-308, 309.

      The Commission thus reaffirmed that the Terminal is “not

 inconsistent with the public interest” as conditioned in its orders.

 Remand Rehearing Order P 37, JA 156-157; supra pp. 7-8 (explaining

 statutory standard). This Natural Gas Act section 3 determination is



                                     52
USCA Case #23-1175   Document #2046821        Filed: 03/26/2024   Page 69 of 108



 well within the Commission’s discretion and its conclusion is afforded

 deference. See Myersville Citizens for a Rural Cmty., Inc. v. FERC, 783

 F.3d 1301, 1308 (D.C. Cir. 2015) (addressing the Commission’s NGA

 section 7 discretion); Pub. Serv. Comm’n of W. Va., 777 F.2d at 35

 (Natural Gas Act section 3 discretion is “even more flexible than the

 discretion afforded” under NGA section 7).

            2.    Sierra Club’s complaint lacks merit

      Sierra Club asserts that the Commission “failed to comply” with

 the Court’s mandate because it did not precisely lay out the steps of its

 public interest determination, in particular the weight given to one

 specific element (greenhouse gas emissions). Br. 54-55.

      Of course, a public interest finding is not susceptible to a

 mathematical equation. It “entails not merely economic and

 mathematical analysis but value judgment.” City of Columbia v. Omni

 Outdoor Advert., Inc., 499 U.S. 365, 377 (1991); see also FPC v.

 Transcon. Gas Pipe Line Corp., 365 U.S. 1, 29 (1961) (“a forecast of the

 direction in which future public interest lies necessarily involves

 deductions based on the expert knowledge of the agency”). In any

 event, the entirety of the record demonstrates that the Commission



                                     53
USCA Case #23-1175   Document #2046821        Filed: 03/26/2024   Page 70 of 108



 considered all factors bearing on the public interest – including

 environmental considerations – consistent with its responsibilities

 under the Natural Gas Act.

      The Commission explained that the Terminal would facilitate the

 exportation of natural gas, which Congress has declared to be in the

 national interest. See Remand Rehearing Order P 37, JA 156-157; see

 also DOE Order No. 4489 at 34-39 (describing benefits from authorizing

 exports); Rio Grande LNG, 170 FERC ¶ 61,046 at PP 15-18.

      As to environmental impacts, the Commission compared expected

 Project emissions to a national inventory and has since estimated the

 associated social costs. See Authorization Order P 67, JA 324; Remand

 Order P 24, JA 012-013. The Commission acknowledged and discussed

 various expected environmental impacts from the Project. See, e.g.,

 Remand Rehearing Order P 36, JA 155-156. That included climate

 change impacts in the Project region. Authorization Rehearing Order

 P 76, JA 416 (citing, in part, EIS 4-342 to 4-344, JA 282-284); see also

 Remand Order P 25 (same), JA 013.

      The Commission ultimately concluded that construction and

 operation of the Terminal as conditioned by the Commission, is an



                                     54
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 71 of 108



 “environmentally acceptable action.” Remand Order P 84, JA 039.

 Thus, the Natural Gas Act’s presumption in favor of authorization,

 see 15 U.S.C. § 717b(a), “was not overcome.” Remand Rehearing Order

 P 38, JA 157-159; see also supra p. 8 (discussing section 3 standards);

 Center for Biological Diversity, 67 F.4th at 1188 (rejected NEPA

 challenges “fare no better when framed as [Natural Gas Act]

 challenges”).

 III. THE COMMISSION REASONABLY PREPARED ITS
      UPDATED ENVIRONMENTAL JUSTICE ANALYSIS
      In connection with its updated environmental justice analysis, the

 Commission directed Texas LNG to provide updated emissions

 modeling to account for all operational emissions from the Project,

 taking into account expected emissions from the Rio Grande project and

 other sources. See, e.g., Remand Order P 73, JA 034. The modeling –

 like the modeling used in the EIS’s cumulative impact analysis –

 covered a 50-kilometer radius from the Terminal. See EIS 4-271, 4-337

 to 4-342, JA 267, 277-282; Remand Order PP 73-76, JA 034-036.

      The Commission’s requests for information and the Project

 sponsor’s responses were placed on the public docket. See Remand

 Rehearing Order PP 6-7, JA 139. And in September 2022, the


                                    55
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 72 of 108



 Commission requested public comment on those responses. See Notice

 (R. 1468), JA 462-464.5 In fact, Sierra Club itself commented on the air

 modeling data Texas LNG submitted, prompting further Commission

 staff requests and Texas LNG responses. See Remand Order P 76,

 JA 036. The Commission’s updated analysis, and its response to

 pertinent public comments, were set forth in the April 2023 Remand

 Order, which was subject to rehearing.

      In Sierra Club’s view, all that was not enough and a supplemental

 environmental impact statement was required. Sierra Club is incorrect.

      A.    A Supplemental EIS Was Not Required By 40
            C.F.R. § 1502.9(d)(1)

      Sierra Club contends that, because the Commission’s updated

 analysis employed a broader geographic scope, 40 C.F.R. § 1502.9(d)

 required the Commission to prepare a supplemental EIS. Br. 25-26.


      5 Additional requests for information primarily sought (1) further

 information about pollutant concentrations and dispersion in Texas
 LNG’s modeling, (2) an updated refined air quality model enabling
 cumulative impact analysis for both proposed LNG terminals,
 (3) greenhouse gas emissions rates, (4) maps and data reflecting the
 expanded geographic scope of the Commission’s analysis (like those
 included in Appendix B to the Remand Order) and (5) data regarding
 rocket launch sites. See Remand Rehearing Order P 7, JA 139
 (identifying dates of requests and responses); R. 1542, R. 1547, R. 1551,
 R. 1553, R. 1558, R. 1572, R. 1576.


                                    56
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 73 of 108



 But as this Court explained earlier, the obligation imposed by that

 regulation only attaches when “new information will affect the quality

 of the human environment in a significant manner or to a significant

 extent not already considered.” Vecinos II, 2021 WL 3716769 at *2

 (quoting Friends of Cap. Crescent Trail v. Fed. Transit. Admin., 877

 F.3d 1051, 1060 (D.C. Cir. 2017)). It does not attach “every time new

 information comes to light.” Id. (quoting Marsh v. Oregon Nat. Res.

 Council, 490 U.S. 360, 373 (1989)). Put another way, “a [supplemental

 EIS] must be prepared only where new information provides a seriously

 different picture of the environmental landscape.” Stand Up for

 California! v. Dep’t of Interior, 994 F.3d 616, 629 (D.C. Cir. 2021)

 (internal quotations omitted).

      Here, there were no “new significance determinations” resulting

 from the issues addressed on remand. Remand Rehearing Order P 31,

 JA 152-153 (citing, in part, Laguna Greenbelt, Inc. v. Dep’t of Transp.,

 42 F.3d 517, 529 (9th Cir. 1994) (upholding agency’s decision not to

 prepare a supplemental EIS where the agency concluded that new

 information did not result in any new significant impacts)). The

 Commission concluded that, given the updated emissions analysis, the



                                     57
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024    Page 74 of 108



 Project would not have a significant impact on air quality for

 communities within a 50-kilometer radius of the Terminal. Id.; see also

 Remand Order PP 73-74, JA 034-035. This was similar to the

 Commission’s prior conclusions as well – the EIS found that air quality

 impacts from criteria pollutants would not result in an exceedance of

 the NAAQS, except perhaps for one pollutant in the uninhabited area

 between the two fencelines of the Texas LNG and Rio Grande LNG

 projects. See, e.g., Authorization Order P 61 (citing EIS 5-368 to 5-369,

 JA 286-287), JA 322-323; EIS 4-337 to 4-339, JA 277-279; Authorization

 Rehearing Order PP 35, 38, JA 393-394.

      Given that air quality impacts within a 50-kilometer (31-mile)

 radius of the Terminal had been studied and not found significant

 before, the most novel information in the Commission’s updated

 analysis was the demographics of the communities beyond the

 previously analyzed two-mile radius. The Commission gathered that

 publicly available information and found, within that expanded radius,

 that Project impacts “would be predominately borne by environmental

 justice communities.” Remand Order PP 82-83, JA 039. But, apart




                                    58
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 75 of 108



 from cumulative visual impacts, those impacts would be “less than

 significant.” Id. PP 82-83, JA 039.

      This is not a “seriously different picture” than that generated by

 the Commission’s original analysis. Nat’l Comm. for the New River, 373

 F.3d at 1330. The Commission previously concluded that

 environmental justice communities would bear all the Project’s impacts

 (see Authorization Rehearing Order P 45, JA 397-398), but that the vast

 majority of those impacts would be less than significant. See id. PP 34-

 38 (air quality impacts would not exceed NAAQS, with minor

 exception), JA 393-394; see also Authorization Order P 78 (noting

 potential for significant cumulative visual impacts), JA 329; Remand

 Order PP 82-83 (reaching similar conclusions), JA 039. Accordingly, a

 supplemental EIS was not required under 40 C.F.R. § 1502.9(d).

 See Remand Rehearing Order PP 31-32, JA 152-154.

      B.    The Commission Reasonably Presented Its
            Analysis In The Remand Order

      Sierra Club argues that a supplemental EIS is separately required

 by case law purportedly establishing that “NEPA does not permit filling

 gaps . . . other than by using NEPA procedures.” Br. 19-20. The Court

 lacks jurisdiction to consider this argument on review because it was


                                       59
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 76 of 108



 not presented to the Commission on rehearing. See Reh’g Req. 23-25,

 JA 534-536; 15 U.S.C. § 717r(b). Indeed, Sierra Club’s principal case –

 Idaho Sporting Congress Inc. v. Alexander, 222 F.3d 562 (9th Cir. 2000)

 – is not even cited in its rehearing request. See Constellation Energy,

 457 F.3d at 21.

      In any event, Idaho Sporting Congress faulted the Forest Service

 for issuing a supplementary analysis without reopening its decision-

 making process. See 222 F.3d at 568. As a result, the new information

 could not “serve practically as an important contribution to the

 decisionmaking process.” Id. at 567 (citation omitted).

      Here, by contrast, the Commission expressly considered its

 updated environmental justice analysis – along with public comments

 on that analysis – when determining that the Project was an

 environmentally acceptable action and should be authorized under the

 Natural Gas Act. See Remand Order PP 82-85, JA 039. Indeed, unlike

 the “post-hoc” analysis at issue in Idaho Sporting Congress, the

 Commission imposed new mitigation measures based on the results of

 its updated analysis. Compare 222 F.3d at 568 with Remand Order




                                    60
USCA Case #23-1175    Document #2046821        Filed: 03/26/2024   Page 77 of 108



 PP 69-70 (requiring localized air quality monitoring during Terminal

 construction), JA 032-033.

      The Commission’s process here satisfied NEPA’s fundamental

 purpose of ensuring that environmental information was available to

 decisionmakers and the public before the Commission rendered its

 decision on remand. In such circumstances, as Sierra Club

 acknowledges (Br. 31-32), this Court has repeatedly declined to order

 further procedures. See, e.g., Oglala Sioux Tribe v. NRC, 45 F.4th 291,

 301 (D.C. Cir. 2022) (permissible for agency to “present[] the substance

 of its findings in publicly accessible decisions after on-the-record

 hearings”); Nat. Res. Def. Council v. NRC, 879 F.3d 1202, 1211 (D.C.

 Cir. 2018) (permissible for agency to evaluate information omitted from

 EIS during a subsequent hearing and present its findings in a publicly

 accessible order); see also Friends of the River v. FERC, 720 F.2d 93,

 106-08 (D.C. Cir. 1983) (permissible for agency to include the required

 analysis in a publicly accessible opinion “composed after due

 investigation and before the matter was brought to court”); cf. Marsh,

 490 U.S. at 380-83 (permitting agency reliance on non-NEPA document

 in assessing whether new information requires a supplemental EIS).



                                     61
USCA Case #23-1175   Document #2046821        Filed: 03/26/2024   Page 78 of 108



      C.    The Commission’s Process Fostered Public
            Participation

      Sierra Club raises a series of contentions to support its claim that

 the Commission’s process did not permit appropriate public

 participation. None has merit.

      Initially, it is important to recognize that members of the public,

 including those in environmental justice communities, have had ample

 opportunities to participate in the review process – a process which

 began more than 8 years ago. See EIS 1-10, JA 219. FERC and the

 project sponsor held multiple public scoping and comment meetings in

 the Project region. The draft EIS was circulated widely to state and

 local governments, community organizations, and individuals within

 and beyond the 50-kilometer radius used in the Commission’s updated

 environmental justice analysis. See, e.g., EIS 1-10 to 1-14, 4-333 to 4-

 334, App. A, JA 219-223, 273-274, 289-300; see also Remand Rehearing

 Order P 13 (discussing public participation), JA 289-300. And from the

 start, the Commission’s environmental analysis explained that some

 Project impacts could extend 50 kilometers. See EIS 4-271, 4-337 to

 4-339 (studying operational air quality impacts within a 31-mile radius

 of Terminal), JA 267, 277-279.


                                     62
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 79 of 108



      Nonetheless, Sierra Club contends that the information put out

 for public comment lacked “comprehensive context” and was too

 “technical” to permit meaningful comment. Br. 26. In fact, the

 materials are very similar to the type of information found in an EIS.

 Compare Jan. 30, 2023 Texas LNG Resp. at Tables 9-5, 9-6 (R. 1553),

 JA 504-505 with EIS 4-341, JA 281. Texas LNG’s submission further

 explains in plain language that “no modeled exceedances were

 identified in the analysis.” Jan. 30, 2023 Texas LNG Resp. at Resp. 2,

 JA 502. As for context, Sierra Club understood Texas LNG’s

 submissions to indicate that “all but three of the census block groups

 . . . included in the modeling” would be environmental justice

 communities. Sierra Club Oct. 19, 2022 Remand Comments at 8

 (R.1503), JA 473.

      The over 100 public comments submitted in response to the

 Commission’s solicitation – including Sierra Club’s detailed critique of

 the project sponsor’s submissions in October 2022 (plus an additional

 unsolicited comment in March 2023) – further demonstrate that the

 process fostered meaningful public participation. See Remand

 Rehearing Order P 15, JA 142-143. Indeed, Commission staff and



                                    63
USCA Case #23-1175   Document #2046821        Filed: 03/26/2024   Page 80 of 108



 Texas LNG undertook revisions to the air modeling analysis after

 Sierra Club’s comments were received. Remand Order P 76, JA 036.

 This shows that the Commission took commenters’ concerns seriously

 and that the public meaningfully participated on remand here. See

 Williams Nat. Gas Co. v. FERC, 872 F.2d 438, 446 (D.C. Cir. 1989)

 (observing that the “whole point of notice-and-comment” procedures are

 to inform the agency, and potentially induce it to modify its views).

      Sierra Club also complains that comment period was too short and

 that the Commission did not “provide notice that there would be no

 further comment opportunities.” Br. 26. But again, the Commission’s

 deadline was long enough for over 100 entities to submit comments.

 Nor did the Commission’s procedures prevent Sierra Club from filing

 post-deadline comments about consistency between the Rio Grande and

 Texas LNG air modeling data that were considered and addressed.

 See Remand Order P 76, JA 036; see also Rio Grande LNG, 183 FERC

 ¶ 61,046 at P 87 (describing Dec. 2, 2022 comments, R.2956 in Case No.

 23-1174).

      As for those filings after the Commission’s September 2022

 request for comments, such as the modeling update discussed in the



                                     64
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 81 of 108



 Remand Order (Br. 29-30), parties to the docket were aware of any

 subsequent filings “and could have provided comment on it at any

 time.” Remand Rehearing Order PP 15 n.35, 31, JA 143, 152-153.

 Indeed, Sierra Club did submit comments on other issues (e.g., safety

 and related transparency concerns) after that modeling update was

 made available. See Sierra Club March 17, 2023 Letter (R.1560),

 JA 507; see also Remand Rehearing Order P 13 & n.28, JA141; Remand

 Order PP 61-65 (discussing safety issues and directing that certain

 emergency response information be provided to the public), JA 029-031.

      And, of course, all parties had the 30 days afforded to them by the

 Natural Gas Act to seek rehearing and urge the Commission to “alter

 its decision” in the Remand Order. Br. 30; see also 15 U.S.C. § 717r(a)

 (specifying rehearing procedures); Reh’g Req. 8-9, JA 519-520; Minisink

 Residents for Env’t Pres. and Safety v. FERC, 762 F.3d 97, 115 (D.C.

 Cir. 2014) (commenter who had ample time to comment on evidence

 before rehearing deadline had meaningful opportunity to participate);

 Myersville, 783 F.3d at 1327 (same).

      Sierra Club contends that Minisink and Myersville are

 distinguishable as they principally address due process concerns.



                                    65
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 82 of 108



 Br. 32-33. But regardless of Sierra Club’s preferred source of law,

 Sierra Club had ample opportunity to participate – and did participate –

 in this Commission proceeding. Remand Rehearing Order P 31, JA

 152-153. No further procedures were required. Id. And given Sierra

 Club’s own participation, it is not clear whose alleged procedural injury

 Sierra Club would like this Court to redress. See id. P 33 (“Moreover,

 Sierra Club does not offer any example of an individual or group that

 sought to participate in the proceeding but was unable to do so.”), JA

 154; Br. 15 (“Vecinos, and many others, submitted timely comments.”);

 see also Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009)

 (requiring identification of “some concrete interest” of the complaining

 party); Hawkins v. Haaland, 991 F.3d 216, 225 (D.C. Cir. 2021)

 (jurisdiction cannot rest on mere speculation about third parties).

      Sierra Club also complains that the Commission’s process did not

 afford another opportunity for interested parties to intervene. But as

 the Commission explained, “any person may file comments on the




                                    66
USCA Case #23-1175    Document #2046821       Filed: 03/26/2024   Page 83 of 108



 docket, even if the person did not formally move to intervene” as a

 party. Remand Rehearing Order P 33, JA 154.6

      When acting on remand, the Commission possesses the

 “administrative discretion” to decide “how, in light of internal

 organizational considerations, it may best proceed to develop the

 needed evidence and how its prior decision should be modified in light of

 such evidence.” Fed. Power Comm’n v. Transcon. Gas Pipe Line Corp.,

 423 U.S. 326, 333 (1976). The Commission’s procedures here reflect an

 appropriate exercise of that discretion. See, e.g., Chamber of Commerce

 v. SEC, 443 F.3d 890, 900 (D.C. Cir. 2006) (noting, in rulemaking

 remand context, that “notice and comment are not required” when

 additional fact gathering “confirm[s] or corroborat[es] data” already in

 the record).




      6  Commissioner Clements’ dissent made additional arguments in
 support of her view that a supplemental EIS was appropriate here.
 See Remand Rehearing Order Dissent PP 3-8, JA 168-172. Sierra Club
 has not raised those arguments – or even cited the dissent – and it is
 too late to do so now. See Johnston v. SEC, 49 F.4th 569, 578 n.3 (D.C.
 Cir. 2022) (argument not raised in opening brief “is forfeit[ed]”).


                                     67
USCA Case #23-1175   Document #2046821       Filed: 03/26/2024   Page 84 of 108



                            CONCLUSION

      The petitions for review should be denied.

                                         Respectfully submitted,

                                         Matthew R. Christiansen
                                         General Counsel

                                         Robert H. Solomon
                                         Solicitor

                                         Robert M. Kennedy
                                         Senior Attorney

                                         /s/ Jason T. Perkins
                                         Jason T. Perkins
                                         Attorney

 Federal Energy Regulatory
   Commission
 Washington, D.C. 20426
 Tel.: (202) 502-6413
 Fax: (202) 273-0901
 Email: jason.perkins@ferc.gov

 March 26, 2024




                                   68
USCA Case #23-1175     Document #2046821       Filed: 03/26/2024   Page 85 of 108



                     CERTIFICATE OF COMPLIANCE

        Pursuant to Fed. R. App. P. 32(g) and Circuit Rule 32(e), I certify

 that this brief complies with the type-volume limitation of Fed. R. App.

 P. 32(a)(7)(B) because this brief contains 11,896 words, excluding the

 parts of the brief exempted by Fed. R. App. P. 32(f) and Circuit Rule

 32(e)(1).

        I further certify that this brief complies with the type-face

 requirements of Fed. R. App. P. 32(a)(5) and the type-style

 requirements of Fed. R. App. P. 32(a)(6) because this brief has been

 prepared in Century Schoolbook 14-point font using Microsoft Word

 365.

                                     /s/ Jason T. Perkins
                                     Jason T. Perkins
                                     Attorney



 Federal Energy Regulatory
   Commission
 Washington, D.C. 20426
 Tel.: (202) 502-6413
 Fax: (202) 273-0901
 Email: jason.perkins@ferc.gov

 March 26, 2024
USCA Case #23-1175   Document #2046821   Filed: 03/26/2024   Page 86 of 108




                       ADDENDUM

                             STATUTES
                                 AND

                          REGULATIONS
USCA Case #23-1175           Document #2046821                 Filed: 03/26/2024         Page 87 of 108



                                  TABLE OF CONTENTS

Administrative Procedure Act
   5 U.S.C. § 706(2)(A) .........................................................................A-1

Natural Gas Act
   15 U.S.C. § 717 ...............................................................................A-3

   15 U.S.C. § 717b .............................................................................A-4

   15 U.S.C. § 717f…...........................................................................A-7

   15 U.S.C. § 717r ..............................................................................A-9

Department of Energy Organization Act
   42 U.S.C. § 7151(b).........................................................................A-12

Regulations
   18 C.F.R. § 380.7 ..............................................................................A-15

   40 C.F.R. § 1502.9............................................................................A-16

   40 C.F.R. § 1502.16..........................................................................A-18

   40 C.F.R. § 1502.21..........................................................................A-20

   40 C.F.R. § 1502.22 ..........................................................................A-20
USCA Case #23-1175                           Document #2046821                                        Filed: 03/26/2024                Page 88 of 108
    § 704                           TITLE 5—GOVERNMENT ORGANIZATION AND EMPLOYEES                                                           Page 208

    to the subject matter in a court specified by                                viewing court, including the court to which a
    statute or, in the absence or inadequacy thereof,                            case may be taken on appeal from or on applica-
    any applicable form of legal action, including                               tion for certiorari or other writ to a reviewing
    actions for declaratory judgments or writs of                                court, may issue all necessary and appropriate
    prohibitory or mandatory injunction or habeas                                process to postpone the effective date of an
    corpus, in a court of competent jurisdiction. If                             agency action or to preserve status or rights
    no special statutory review proceeding is appli-                             pending conclusion of the review proceedings.
    cable, the action for judicial review may be
                                                                                 (Pub. L. 89–554, Sept. 6, 1966, 80 Stat. 393.)
    brought against the United States, the agency
    by its official title, or the appropriate officer.                                                HISTORICAL AND REVISION NOTES
    Except to the extent that prior, adequate, and
                                                                                                                              Revised Statutes and
    exclusive opportunity for judicial review is pro-                            Derivation                 U.S. Code          Statutes at Large
    vided by law, agency action is subject to judicial
    review in civil or criminal proceedings for judi-                            ..................   5 U.S.C. 1009(d).   June 11, 1946, ch. 324, § 10(d),
                                                                                                                           60 Stat. 243.
    cial enforcement.
    (Pub. L. 89–554, Sept. 6, 1966, 80 Stat. 392; Pub. L.                          Standard changes are made to conform with the defi-
    94–574, § 1, Oct. 21, 1976, 90 Stat. 2721.)                                  nitions applicable and the style of this title as outlined
                                                                                 in the preface of this report.
                         HISTORICAL AND REVISION NOTES
                                                                                 § 706. Scope of review
                                                  Revised Statutes and
    Derivation                 U.S. Code           Statutes at Large               To the extent necessary to decision and when
    ..................   5 U.S.C. 1009(b).    June 11, 1946, ch. 324, § 10(b),   presented, the reviewing court shall decide all
                                               60 Stat. 243.                     relevant questions of law, interpret constitu-
                                                                                 tional and statutory provisions, and determine
      Standard changes are made to conform with the defi-                        the meaning or applicability of the terms of an
    nitions applicable and the style of this title as outlined                   agency action. The reviewing court shall—
    in the preface to the report.                                                    (1) compel agency action unlawfully with-
                                                                                   held or unreasonably delayed; and
                                   Editorial Notes
                                                                                     (2) hold unlawful and set aside agency ac-
                                     AMENDMENTS                                    tion, findings, and conclusions found to be—
      1976—Pub. L. 94–574 provided that if no special statu-                           (A) arbitrary, capricious, an abuse of dis-
    tory review proceeding is applicable, the action for ju-                         cretion, or otherwise not in accordance with
    dicial review may be brought against the United                                  law;
    States, the agency by its official title, or the appro-                            (B) contrary to constitutional right,
    priate officer as defendant.                                                     power, privilege, or immunity;
    § 704. Actions reviewable                                                          (C) in excess of statutory jurisdiction, au-
                                                                                     thority, or limitations, or short of statutory
      Agency action made reviewable by statute and                                   right;
    final agency action for which there is no other                                    (D) without observance of procedure re-
    adequate remedy in a court are subject to judi-                                  quired by law;
    cial review. A preliminary, procedural, or inter-                                  (E) unsupported by substantial evidence in
    mediate agency action or ruling not directly re-                                 a case subject to sections 556 and 557 of this
    viewable is subject to review on the review of                                   title or otherwise reviewed on the record of
    the final agency action. Except as otherwise ex-                                 an agency hearing provided by statute; or
    pressly required by statute, agency action oth-                                    (F) unwarranted by the facts to the extent
    erwise final is final for the purposes of this sec-                              that the facts are subject to trial de novo by
    tion whether or not there has been presented or                                  the reviewing court.
    determined an application for a declaratory
    order, for any form of reconsideration, or, unless                           In making the foregoing determinations, the
    the agency otherwise requires by rule and pro-                               court shall review the whole record or those
    vides that the action meanwhile is inoperative,                              parts of it cited by a party, and due account
    for an appeal to superior agency authority.                                  shall be taken of the rule of prejudicial error.

    (Pub. L. 89–554, Sept. 6, 1966, 80 Stat. 392.)                               (Pub. L. 89–554, Sept. 6, 1966, 80 Stat. 393.)
                                                                                                      HISTORICAL AND REVISION NOTES
                         HISTORICAL AND REVISION NOTES
                                                                                                                              Revised Statutes and
                                                  Revised Statutes and           Derivation                 U.S. Code
    Derivation                 U.S. Code                                                                                       Statutes at Large
                                                   Statutes at Large
                                                                                 ..................   5 U.S.C. 1009(e).   June 11, 1946, ch. 324, § 10(e),
    ..................   5 U.S.C. 1009(c).    June 11, 1946, ch. 324, § 10(c),
                                                                                                                           60 Stat. 243.
                                               60 Stat. 243.

      Standard changes are made to conform with the defi-                          Standard changes are made to conform with the defi-
    nitions applicable and the style of this title as outlined                   nitions applicable and the style of this title as outlined
    in the preface of this report.                                               in the preface of this report.

    § 705. Relief pending review                                                            Statutory Notes and Related Subsidiaries
      When an agency finds that justice so requires,                                                     ABBREVIATION OF RECORD
    it may postpone the effective date of action                                   Pub. L. 85–791, Aug. 28, 1958, 72 Stat. 941, which au-
    taken by it, pending judicial review. On such                                thorized abbreviation of record on review or enforce-
    conditions as may be required and to the extent                              ment of orders of administrative agencies and review
    necessary to prevent irreparable injury, the re-                             on the original papers, provided, in section 35 thereof,




                                                                            A-1
USCA Case #23-1175                Document #2046821                        Filed: 03/26/2024           Page 89 of 108
    Page 209             TITLE 5—GOVERNMENT ORGANIZATION AND EMPLOYEES                                         § 801

    that: ‘‘This Act [see Tables for classification] shall not       (ii) the rule is published in the Federal
    be construed to repeal or modify any provision of the           Register, if so published;
    Administrative Procedure Act [see Short Title note set
    out preceding section 551 of this title].’’                     (B) if the Congress passes a joint resolution
                                                                  of disapproval described in section 802 relating
     CHAPTER 8—CONGRESSIONAL REVIEW OF                            to the rule, and the President signs a veto of
            AGENCY RULEMAKING                                     such resolution, the earlier date—
    Sec.
                                                                      (i) on which either House of Congress votes
    801.      Congressional review.                                 and fails to override the veto of the Presi-
    802.      Congressional disapproval procedure.                  dent; or
    803.      Special rule on statutory, regulatory, and ju-          (ii) occurring 30 session days after the date
                dicial deadlines.                                   on which the Congress received the veto and
    804.      Definitions.                                          objections of the President; or
    805.      Judicial review.
    806.      Applicability; severability.                          (C) the date the rule would have otherwise
    807.      Exemption for monetary policy.                      taken effect, if not for this section (unless a
    808.      Effective date of certain rules.                    joint resolution of disapproval under section
                                                                  802 is enacted).
    § 801. Congressional review
                                                                   (4) Except for a major rule, a rule shall take
      (a)(1)(A) Before a rule can take effect, the Fed-          effect as otherwise provided by law after submis-
    eral agency promulgating such rule shall submit              sion to Congress under paragraph (1).
    to each House of the Congress and to the Comp-                 (5) Notwithstanding paragraph (3), the effec-
    troller General a report containing—                         tive date of a rule shall not be delayed by oper-
        (i) a copy of the rule;                                  ation of this chapter beyond the date on which
        (ii) a concise general statement relating to             either House of Congress votes to reject a joint
      the rule, including whether it is a major rule;            resolution of disapproval under section 802.
      and                                                          (b)(1) A rule shall not take effect (or con-
        (iii) the proposed effective date of the rule.           tinue), if the Congress enacts a joint resolution
      (B) On the date of the submission of the report            of disapproval, described under section 802, of
    under subparagraph (A), the Federal agency pro-              the rule.
                                                                   (2) A rule that does not take effect (or does not
    mulgating the rule shall submit to the Comp-
                                                                 continue) under paragraph (1) may not be re-
    troller General and make available to each
                                                                 issued in substantially the same form, and a new
    House of Congress—
                                                                 rule that is substantially the same as such a
        (i) a complete copy of the cost-benefit anal-
                                                                 rule may not be issued, unless the reissued or
      ysis of the rule, if any;
                                                                 new rule is specifically authorized by a law en-
        (ii) the agency’s actions relevant to sections
                                                                 acted after the date of the joint resolution dis-
      603, 604, 605, 607, and 609;
                                                                 approving the original rule.
        (iii) the agency’s actions relevant to sec-                (c)(1) Notwithstanding any other provision of
      tions 202, 203, 204, and 205 of the Unfunded               this section (except subject to paragraph (3)), a
      Mandates Reform Act of 1995; and                           rule that would not take effect by reason of sub-
        (iv) any other relevant information or re-               section (a)(3) may take effect, if the President
      quirements under any other Act and any rel-                makes a determination under paragraph (2) and
      evant Executive orders.                                    submits written notice of such determination to
      (C) Upon receipt of a report submitted under               the Congress.
    subparagraph (A), each House shall provide cop-                (2) Paragraph (1) applies to a determination
    ies of the report to the chairman and ranking                made by the President by Executive order that
    member of each standing committee with juris-                the rule should take effect because such rule is—
    diction under the rules of the House of Rep-                     (A) necessary because of an imminent threat
    resentatives or the Senate to report a bill to                 to health or safety or other emergency;
    amend the provision of law under which the rule                  (B) necessary for the enforcement of crimi-
    is issued.                                                     nal laws;
      (2)(A) The Comptroller General shall provide a                 (C) necessary for national security; or
                                                                     (D) issued pursuant to any statute imple-
    report on each major rule to the committees of
                                                                   menting an international trade agreement.
    jurisdiction in each House of the Congress by
    the end of 15 calendar days after the submission               (3) An exercise by the President of the author-
    or publication date as provided in section                   ity under this subsection shall have no effect on
    802(b)(2). The report of the Comptroller General             the procedures under section 802 or the effect of
    shall include an assessment of the agency’s com-             a joint resolution of disapproval under this sec-
    pliance with procedural steps required by para-              tion.
    graph (1)(B).                                                  (d)(1) In addition to the opportunity for review
      (B) Federal agencies shall cooperate with the              otherwise provided under this chapter, in the
    Comptroller General by providing information                 case of any rule for which a report was sub-
    relevant to the Comptroller General’s report                 mitted in accordance with subsection (a)(1)(A)
    under subparagraph (A).                                      during the period beginning on the date occur-
      (3) A major rule relating to a report submitted            ring—
    under paragraph (1) shall take effect on the lat-                (A) in the case of the Senate, 60 session days,
    est of—                                                        or
         (A) the later of the date occurring 60 days                 (B) in the case of the House of Representa-
      after the date on which—                                     tives, 60 legislative days,
           (i) the Congress receives the report sub-             before the date the Congress adjourns a session
         mitted under paragraph (1); or                          of Congress through the date on which the same




                                                            A-2
USCA Case #23-1175   Document #2046821   Filed: 03/26/2024   Page 90 of 108




                                   A-3
USCA Case #23-1175                 Document #2046821                          Filed: 03/26/2024                Page 91 of 108
    § 717a                                TITLE 15—COMMERCE AND TRADE                                             Page 1182

             EMERGENCY NATURAL GAS ACT OF 1977                         (9) ‘‘Commission’’ and ‘‘Commissioner’’
      Pub. L. 95–2, Feb. 2, 1977, 91 Stat. 4, authorized Presi-      means the Federal Power Commission, and a
    dent to declare a natural gas emergency and to require           member thereof, respectively.
    emergency deliveries and transportation of natural gas             (10) ‘‘Vehicular natural gas’’ means natural
    until the earlier of Apr. 30, 1977, or termination of            gas that is ultimately used as a fuel in a self-
    emergency by President and provided for antitrust pro-           propelled vehicle.
    tection, emergency purchases, adjustment in charges                (11) ‘‘LNG terminal’’ includes all natural gas
    for local distribution companies, relationship to Nat-
    ural Gas Act, effect of certain contractual obligations,
                                                                     facilities located onshore or in State waters
    administrative procedure and judicial review, enforce-           that are used to receive, unload, load, store,
    ment, reporting to Congress, delegation of authorities,          transport, gasify, liquefy, or process natural
    and preemption of inconsistent State or local action.            gas that is imported to the United States from
                                                                     a foreign country, exported to a foreign coun-
                      Executive Documents                            try from the United States, or transported in
                   EXECUTIVE ORDER NO. 11969                         interstate commerce by waterborne vessel, but
                                                                     does not include—
      Ex. Ord. No. 11969, Feb. 2, 1977, 42 F.R. 6791, as amend-          (A) waterborne vessels used to deliver nat-
    ed by Ex. Ord. No. 12038, Feb. 3, 1978, 43 F.R. 4957, which
    delegated to the Secretary of Energy the authority
                                                                       ural gas to or from any such facility; or
    vested in the President by the Emergency Natural Gas                 (B) any pipeline or storage facility subject
    Act of 1977 except the authority to declare and termi-             to the jurisdiction of the Commission under
    nate a natural gas emergency, was revoked by Ex. Ord.              section 717f of this title.
    No. 12553, Feb. 25, 1986, 51 F.R. 7237.
                                                                   (June 21, 1938, ch. 556, § 2, 52 Stat. 821; Pub. L.
                     PROCLAMATION NO. 4485                         102–486, title IV, § 404(a)(2), Oct. 24, 1992, 106 Stat.
      Proc. No. 4485, Feb. 2, 1977, 42 F.R. 6789, declared that    2879; Pub. L. 109–58, title III, § 311(b), Aug. 8, 2005,
    a natural gas emergency existed within the meaning of          119 Stat. 685.)
    section 3 of the Emergency Natural Gas Act of 1977, set
    out as a note above, which emergency was terminated                                 Editorial Notes
    by Proc. No. 4495, Apr. 1, 1977, 42 F.R. 18053, formerly set
    out below.                                                                           AMENDMENTS
                     PROCLAMATION NO. 4495                          2005—Par. (11). Pub. L. 109–58 added par. (11).
                                                                    1992—Par. (10). Pub. L. 102–486 added par. (10).
      Proc. No. 4495, Apr. 1, 1977, 42 F.R. 18053, terminated
    the natural gas emergency declared to exist by Proc.
                                                                          Statutory Notes and Related Subsidiaries
    No. 4485, Feb. 2, 1977, 42 F.R. 6789, formerly set out
    above.                                                              TERMINATION OF FEDERAL POWER COMMISSION;
                                                                                 TRANSFER OF FUNCTIONS
    § 717a. Definitions
                                                                     The Federal Power Commission was terminated, and
      When used in this chapter, unless the context                its functions, personnel, property, funds, etc., were
    otherwise requires—                                            transferred to the Secretary of Energy (except for cer-
        (1) ‘‘Person’’ includes an individual or a cor-            tain functions which were transferred to the Federal
      poration.                                                    Energy Regulatory Commission) by sections 7151(b),
        (2) ‘‘Corporation’’ includes any corporation,              7171(a), 7172(a)(1), 7291, and 7293 of Title 42, The Public
      joint-stock company, partnership, association,               Health and Welfare.
      business trust, organized group of persons,                  § 717b. Exportation or importation of natural gas;
      whether incorporated or not, receiver or re-                     LNG terminals
      ceivers, trustee or trustees of any of the fore-
      going, but shall not include municipalities as               (a) Mandatory authorization order
      hereinafter defined.                                           After six months from June 21, 1938, no person
        (3) ‘‘Municipality’’ means a city, county, or              shall export any natural gas from the United
      other political subdivision or agency of a                   States to a foreign country or import any nat-
      State.                                                       ural gas from a foreign country without first
        (4) ‘‘State’’ means a State admitted to the                having secured an order of the Commission au-
      Union, the District of Columbia, and any orga-               thorizing it to do so. The Commission shall issue
      nized Territory of the United States.                        such order upon application, unless, after oppor-
        (5) ‘‘Natural gas’’ means either natural gas               tunity for hearing, it finds that the proposed ex-
      unmixed, or any mixture of natural and artifi-               portation or importation will not be consistent
      cial gas.                                                    with the public interest. The Commission may
        (6) ‘‘Natural-gas company’’ means a person                 by its order grant such application, in whole or
      engaged in the transportation of natural gas                 in part, with such modification and upon such
      in interstate commerce, or the sale in inter-                terms and conditions as the Commission may
      state commerce of such gas for resale.                       find necessary or appropriate, and may from
        (7) ‘‘Interstate commerce’’ means commerce                 time to time, after opportunity for hearing, and
      between any point in a State and any point                   for good cause shown, make such supplemental
      outside thereof, or between points within the                order in the premises as it may find necessary or
      same State but through any place outside                     appropriate.
      thereof, but only insofar as such commerce
      takes place within the United States.                        (b) Free trade agreements
        (8) ‘‘State commission’’ means the regu-                     With respect to natural gas which is imported
      latory body of the State or municipality hav-                into the United States from a nation with which
      ing jurisdiction to regulate rates and charges               there is in effect a free trade agreement requir-
      for the sale of natural gas to consumers within              ing national treatment for trade in natural gas,
      the State or municipality.                                   and with respect to liquefied natural gas—




                                                              A-4
USCA Case #23-1175                     Document #2046821                 Filed: 03/26/2024                     Page 92 of 108
    Page 1183                                  TITLE 15—COMMERCE AND TRADE                                              § 717b

         (1) the importation of such natural gas shall           plicant, or any affiliate of the applicant, se-
      be treated as a ‘‘first sale’’ within the meaning          curing the order;
      of section 3301(21) of this title; and                       (II) any regulation of the rates, charges,
         (2) the Commission shall not, on the basis of           terms, or conditions of service of the LNG
      national origin, treat any such imported nat-              terminal; or
      ural gas on an unjust, unreasonable, unduly                  (III) a requirement to file with the Com-
      discriminatory, or preferential basis.                     mission schedules or contracts related to the
    (c) Expedited application and approval process               rates, charges, terms, or conditions of serv-
                                                                 ice of the LNG terminal.
      For purposes of subsection (a), the importa-
    tion of the natural gas referred to in subsection           (C) Subparagraph (B) shall cease to have effect
    (b), or the exportation of natural gas to a nation       on January 1, 2030.
    with which there is in effect a free trade agree-           (4) An order issued for an LNG terminal that
    ment requiring national treatment for trade in           also offers service to customers on an open ac-
    natural gas, shall be deemed to be consistent            cess basis shall not result in subsidization of ex-
    with the public interest, and applications for           pansion capacity by existing customers, deg-
    such importation or exportation shall be grant-          radation of service to existing customers, or
    ed without modification or delay.                        undue discrimination against existing cus-
                                                             tomers as to their terms or conditions of service
    (d) Construction with other laws
                                                             at the facility, as all of those terms are defined
      Except as specifically provided in this chapter,       by the Commission.
    nothing in this chapter affects the rights of            (f) Military installations
    States under—
         (1) the Coastal Zone Management Act of 1972            (1) In this subsection, the term ‘‘military in-
      (16 U.S.C. 1451 et seq.);                              stallation’’—
         (2) the Clean Air Act (42 U.S.C. 7401 et seq.);          (A) means a base, camp, post, range, station,
      or                                                        yard, center, or homeport facility for any ship
         (3) the Federal Water Pollution Control Act            or other activity under the jurisdiction of the
      (33 U.S.C. 1251 et seq.).                                 Department of Defense, including any leased
                                                                facility, that is located within a State, the
    (e) LNG terminals                                           District of Columbia, or any territory of the
      (1) The Commission shall have the exclusive               United States; and
    authority to approve or deny an application for               (B) does not include any facility used pri-
    the siting, construction, expansion, or operation           marily for civil works, rivers and harbors
    of an LNG terminal. Except as specifically pro-             projects, or flood control projects, as deter-
    vided in this chapter, nothing in this chapter is           mined by the Secretary of Defense.
    intended to affect otherwise applicable law re-
                                                               (2) The Commission shall enter into a memo-
    lated to any Federal agency’s authorities or re-
                                                             randum of understanding with the Secretary of
    sponsibilities related to LNG terminals.
                                                             Defense for the purpose of ensuring that the
      (2) Upon the filing of any application to site,
                                                             Commission coordinate and consult 2 with the
    construct, expand, or operate an LNG terminal,
                                                             Secretary of Defense on the siting, construction,
    the Commission shall—
                                                             expansion, or operation of liquefied natural gas
         (A) set the matter for hearing;
                                                             facilities that may affect an active military in-
         (B) give reasonable notice of the hearing to
                                                             stallation.
      all interested persons, including the State
                                                               (3) The Commission shall obtain the concur-
      commission of the State in which the LNG ter-
                                                             rence of the Secretary of Defense before author-
      minal is located and, if not the same, the Gov-
                                                             izing the siting, construction, expansion, or op-
      ernor-appointed State agency described in sec-
                                                             eration of liquefied natural gas facilities affect-
      tion 717b–1 of this title;
                                                             ing the training or activities of an active mili-
         (C) decide the matter in accordance with
                                                             tary installation.
      this subsection; and
         (D) issue or deny the appropriate order ac-         (June 21, 1938, ch. 556, § 3, 52 Stat. 822; Pub. L.
      cordingly.                                             102–486, title II, § 201, Oct. 24, 1992, 106 Stat. 2866;
                                                             Pub. L. 109–58, title III, § 311(c), Aug. 8, 2005, 119
      (3)(A) Except as provided in subparagraph (B),
                                                             Stat. 685.)
    the Commission may approve an application de-
    scribed in paragraph (2), in whole or part, with                                 Editorial Notes
    such modifications and upon such terms and
    conditions as the Commission find 1 necessary or                               REFERENCES IN TEXT
    appropriate.                                               The Coastal Zone Management Act of 1972, referred to
      (B) Before January 1, 2015, the Commission             in subsec. (d)(1), is title III of Pub. L. 89–454 as added by
    shall not—                                               Pub. L. 92–583, Oct. 27, 1972, 86 Stat. 1280, which is clas-
        (i) deny an application solely on the basis          sified generally to chapter 33 (§ 1451 et seq.) of Title 16,
      that the applicant proposes to use the LNG             Conservation. For complete classification of this Act to
      terminal exclusively or partially for gas that         the Code, see Short Title note set out under section
      the applicant or an affiliate of the applicant         1451 of Title 16 and Tables.
                                                               The Clean Air Act, referred to in subsec. (d)(2), is act
      will supply to the facility; or                        July 14, 1955, ch. 360, 69 Stat. 322, which is classified
        (ii) condition an order on—                          generally to chapter 85 (§ 7401 et seq.) of Title 42, The
           (I) a requirement that the LNG terminal           Public Health and Welfare. For complete classification
        offer service to customers other than the ap-
                                                               2 So in original.    Probably   should   be   ‘‘coordinates   and
     1 So in original. Probably should be ‘‘finds’’.         consults’’.




                                                          A-5
USCA Case #23-1175                  Document #2046821                           Filed: 03/26/2024             Page 93 of 108
    § 717b–1                               TITLE 15—COMMERCE AND TRADE                                           Page 1184

    of this Act to the Code, see Short Title note set out            the applicant, as appropriate, a permit for such con-
    under section 7401 of Title 42 and Tables.                       struction, operation, maintenance, or connection. The
      The Federal Water Pollution Control Act, referred to           Secretary of Energy shall have the power to attach to
    in subsec. (d)(3), is act June 30, 1948, ch. 758, as amended     the issuance of the permit and to the exercise of the
    generally by Pub. L. 92–500, § 2, Oct. 18, 1972, 86 Stat. 816,   rights granted thereunder such conditions as the public
    which is classified generally to chapter 26 (§ 1251 et seq.)     interest may in its judgment require.
    of Title 33, Navigation and Navigable Waters. For com-             (b) In any case wherein the Secretary of Energy, the
    plete classification of this Act to the Code, see Short          Secretary of State, and the Secretary of Defense can-
    Title note set out under section 1251 of Title 33 and Ta-        not agree as to whether or not a permit should be
    bles.                                                            issued, the Secretary of Energy shall submit to the
                                                                     President for approval or disapproval the application
                           AMENDMENTS                                for a permit with the respective views of the Secretary
      2005—Pub. L. 109–58, § 311(c)(1), inserted ‘‘; LNG termi-      of Energy, the Secretary of State and the Secretary of
    nals’’ after ‘‘natural gas’’ in section catchline.               Defense.
      Subsecs. (d) to (f). Pub. L. 109–58, § 311(c)(2), added          SEC. 2. [Deleted.]
    subsecs. (d) to (f).                                               SEC. 3. The Secretary of Energy is authorized to issue
      1992—Pub. L. 102–486 designated existing provisions as         such rules and regulations, and to prescribe such proce-
    subsec. (a) and added subsecs. (b) and (c).                      dures, as it may from time to time deem necessary or
                                                                     desirable for the exercise of the authority delegated to
                      Executive Documents                            it by this order.
                                                                       SEC. 4. All Presidential Permits heretofore issued
                     TRANSFER OF FUNCTIONS                           pursuant to Executive Order No. 8202 of July 13, 1939,
      Enforcement functions of Secretary or other official           and in force at the time of the issuance of this order,
    in Department of Energy and Commission, Commis-                  and all permits issued hereunder, shall remain in full
    sioners, or other official in Federal Energy Regulatory          force and effect until modified or revoked by the Presi-
    Commission related to compliance with authorizations             dent or by the Secretary of Energy.
    for importation of natural gas from Alberta as pre-de-             SEC. 5. Executive Order No. 8202 of July 13, 1939, is
    liveries of Alaskan gas issued under this section with           hereby revoked.
    respect to pre-construction, construction, and initial
    operation of transportation system for Canadian and              § 717b–1. State and local safety considerations
    Alaskan natural gas transferred to the Federal Inspec-           (a) Promulgation of regulations
    tor, Office of Federal Inspector for Alaska Natural Gas
    Transportation System, until first anniversary of date              The Commission shall promulgate regulations
    of initial operation of Alaska Natural Gas Transpor-             on the National Environmental Policy Act of
    tation System, see Reorg. Plan No. 1 of 1979, §§ 102(d),         1969 (42 U.S.C. 4321 et seq.) pre-filing process
    203(a), 44 F.R. 33663, 33666, 93 Stat. 1373, 1376, effective     within 60 days after August 8, 2005. An applicant
    July 1, 1979, set out under section 719e of this title. Of-      shall comply with pre-filing process required
    fice of Federal Inspector for the Alaska Natural Gas
                                                                     under the National Environmental Policy Act of
    Transportation System abolished and functions and au-
    thority vested in Inspector transferred to Secretary of          1969 prior to filing an application with the Com-
    Energy by section 3012(b) of Pub. L. 102–486, set out as         mission. The regulations shall require that the
    an Abolition of Office of Federal Inspector note under           pre-filing process commence at least 6 months
    section 719e of this title. Functions and authority vest-        prior to the filing of an application for author-
    ed in Secretary of Energy subsequently transferred to            ization to construct an LNG terminal and en-
    Federal Coordinator for Alaska Natural Gas Transpor-             courage applicants to cooperate with State and
    tation Projects by section 720d(f) of this title.                local officials.
                    DELEGATION OF FUNCTIONS                          (b) State consultation
      Functions of President respecting certain facilities              The Governor of a State in which an LNG ter-
    constructed and maintained on United States borders              minal is proposed to be located shall designate
    delegated to Secretary of State, see Ex. Ord. No. 11423,         the appropriate State agency for the purposes of
    Aug. 16, 1968, 33 F.R. 11741, set out as a note under sec-
    tion 301 of Title 3, The President.
                                                                     consulting with the Commission regarding an
                                                                     application under section 717b of this title. The
    EX. ORD. NO. 10485. PROVIDING FOR THE PERFORMANCE OF             Commission shall consult with such State agen-
     CERTAIN FUNCTIONS HERETOFORE PERFORMED BY THE                   cy regarding State and local safety consider-
     PRESIDENT WITH RESPECT TO ELECTRIC POWER AND
                                                                     ations prior to issuing an order pursuant to sec-
     NATURAL GAS FACILITIES LOCATED ON THE BORDERS OF
     THE UNITED STATES
                                                                     tion 717b of this title. For the purposes of this
                                                                     section, State and local safety considerations
      Ex. Ord. No. 10485. Sept. 3, 1953, 18 F.R. 5397, as            include—
    amended by Ex. Ord. No. 12038, Feb. 3, 1978, 43 F.R. 4957,
                                                                          (1) the kind and use of the facility;
    provided:
      SECTION 1. (a) The Secretary of Energy is hereby des-               (2) the existing and projected population and
    ignated and empowered to perform the following-de-                  demographic characteristics of the location;
    scribed functions:                                                    (3) the existing and proposed land use near
      (1) To receive all applications for permits for the con-          the location;
    struction, operation, maintenance, or connection, at                  (4) the natural and physical aspects of the
    the borders of the United States, of facilities for the             location;
    transmission of electric energy between the United                    (5) the emergency response capabilities near
    States and a foreign country.
                                                                        the facility location; and
      (2) To receive all applications for permits for the con-
    struction, operation, maintenance, or connection, at                  (6) the need to encourage remote siting.
    the borders of the United States, of facilities for the ex-      (c) Advisory report
    portation or importation of natural gas to or from a
                                                                        The State agency may furnish an advisory re-
    foreign country.
      (3) Upon finding the issuance of the permit to be con-         port on State and local safety considerations to
    sistent with the public interest, and, after obtaining           the Commission with respect to an application
    the favorable recommendations of the Secretary of                no later than 30 days after the application was
    State and the Secretary of Defense thereon, to issue to          filed with the Commission. Before issuing an




                                                                A-6
USCA Case #23-1175                Document #2046821                 Filed: 03/26/2024           Page 94 of 108
    Page 1187                           TITLE 15—COMMERCE AND TRADE                                    § 717f

    (b) Costs of production and transportation            of natural gas is depleted to the extent that the
      The Commission upon its own motion, or upon         continuance of service is unwarranted, or that
    the request of any State commission, whenever         the present or future public convenience or ne-
    it can do so without prejudice to the efficient       cessity permit such abandonment.
    and proper conduct of its affairs, may inves-         (c) Certificate of public convenience and neces-
    tigate and determine the cost of the production           sity
    or transportation of natural gas by a natural-
                                                            (1)(A) No natural-gas company or person
    gas company in cases where the Commission has
                                                          which will be a natural-gas company upon com-
    no authority to establish a rate governing the
                                                          pletion of any proposed construction or exten-
    transportation or sale of such natural gas.
                                                          sion shall engage in the transportation or sale of
    (June 21, 1938, ch. 556, § 5, 52 Stat. 823.)          natural gas, subject to the jurisdiction of the
                                                          Commission, or undertake the construction or
    § 717e. Ascertainment of cost of property             extension of any facilities therefor, or acquire or
    (a) Cost of property                                  operate any such facilities or extensions thereof,
                                                          unless there is in force with respect to such nat-
       The Commission may investigate and ascer-
                                                          ural-gas company a certificate of public conven-
    tain the actual legitimate cost of the property
                                                          ience and necessity issued by the Commission
    of every natural-gas company, the depreciation
                                                          authorizing such acts or operations: Provided,
    therein, and, when found necessary for rate-
                                                          however, That if any such natural-gas company
    making purposes, other facts which bear on the
                                                          or predecessor in interest was bona fide engaged
    determination of such cost or depreciation and
                                                          in transportation or sale of natural gas, subject
    the fair value of such property.
                                                          to the jurisdiction of the Commission, on Feb-
    (b) Inventory of property; statements of costs        ruary 7, 1942, over the route or routes or within
       Every natural-gas company upon request shall       the area for which application is made and has
    file with the Commission an inventory of all or       so operated since that time, the Commission
    any part of its property and a statement of the       shall issue such certificate without requiring
    original cost thereof, and shall keep the Com-        further proof that public convenience and neces-
    mission informed regarding the cost of all addi-      sity will be served by such operation, and with-
    tions, betterments, extensions, and new con-          out further proceedings, if application for such
    struction.                                            certificate is made to the Commission within
                                                          ninety days after February 7, 1942. Pending the
    (June 21, 1938, ch. 556, § 6, 52 Stat. 824.)          determination of any such application, the con-
    § 717f. Construction, extension, or abandonment       tinuance of such operation shall be lawful.
        of facilities                                       (B) In all other cases the Commission shall set
                                                          the matter for hearing and shall give such rea-
    (a) Extension or improvement of facilities on         sonable notice of the hearing thereon to all in-
         order of court; notice and hearing               terested persons as in its judgment may be nec-
      Whenever the Commission, after notice and           essary under rules and regulations to be pre-
    opportunity for hearing, finds such action nec-       scribed by the Commission; and the application
    essary or desirable in the public interest, it may    shall be decided in accordance with the proce-
    by order direct a natural-gas company to extend       dure provided in subsection (e) of this section
    or improve its transportation facilities, to es-      and such certificate shall be issued or denied ac-
    tablish physical connection of its transportation     cordingly: Provided, however, That the Commis-
    facilities with the facilities of, and sell natural   sion may issue a temporary certificate in cases
    gas to, any person or municipality engaged or         of emergency, to assure maintenance of ade-
    legally authorized to engage in the local dis-        quate service or to serve particular customers,
    tribution of natural or artificial gas to the pub-    without notice or hearing, pending the deter-
    lic, and for such purpose to extend its transpor-     mination of an application for a certificate, and
    tation facilities to communities immediately          may by regulation exempt from the require-
    adjacent to such facilities or to territory served    ments of this section temporary acts or oper-
    by such natural-gas company, if the Commission        ations for which the issuance of a certificate
    finds that no undue burden will be placed upon        will not be required in the public interest.
    such natural-gas company thereby: Provided,             (2) The Commission may issue a certificate of
    That the Commission shall have no authority to        public convenience and necessity to a natural-
    compel the enlargement of transportation facili-      gas company for the transportation in interstate
    ties for such purposes, or to compel such nat-        commerce of natural gas used by any person for
    ural-gas company to establish physical connec-        one or more high-priority uses, as defined, by
    tion or sell natural gas when to do so would im-      rule, by the Commission, in the case of—
    pair its ability to render adequate service to its        (A) natural gas sold by the producer to such
    customers.                                              person; and
    (b) Abandonment of facilities or services; ap-            (B) natural gas produced by such person.
         proval of Commission                             (d) Application for certificate of public conven-
      No natural-gas company shall abandon all or             ience and necessity
    any portion of its facilities subject to the juris-     Application for certificates shall be made in
    diction of the Commission, or any service ren-        writing to the Commission, be verified under
    dered by means of such facilities, without the        oath, and shall be in such form, contain such in-
    permission and approval of the Commission first       formation, and notice thereof shall be served
    had and obtained, after due hearing, and a find-      upon such interested parties and in such manner
    ing by the Commission that the available supply       as the Commission shall, by regulation, require.




                                                     A-7
USCA Case #23-1175            Document #2046821                        Filed: 03/26/2024                  Page 95 of 108
    § 717g                          TITLE 15—COMMERCE AND TRADE                                               Page 1188

    (e) Granting of certificate of public convenience     or in the State courts. The practice and proce-
         and necessity                                    dure in any action or proceeding for that pur-
       Except in the cases governed by the provisos       pose in the district court of the United States
    contained in subsection (c)(1) of this section, a     shall conform as nearly as may be with the prac-
    certificate shall be issued to any qualified appli-   tice and procedure in similar action or pro-
    cant therefor, authorizing the whole or any part      ceeding in the courts of the State where the
    of the operation, sale, service, construction, ex-    property is situated: Provided, That the United
    tension, or acquisition covered by the applica-       States district courts shall only have jurisdic-
    tion, if it is found that the applicant is able and   tion of cases when the amount claimed by the
    willing properly to do the acts and to perform        owner of the property to be condemned exceeds
    the service proposed and to conform to the pro-       $3,000.
    visions of this chapter and the requirements,         (June 21, 1938, ch. 556, § 7, 52 Stat. 824; Feb. 7,
    rules, and regulations of the Commission there-       1942, ch. 49, 56 Stat. 83; July 25, 1947, ch. 333, 61
    under, and that the proposed service, sale, oper-     Stat. 459; Pub. L. 95–617, title VI, § 608, Nov. 9,
    ation, construction, extension, or acquisition, to    1978, 92 Stat. 3173; Pub. L. 100–474, § 2, Oct. 6, 1988,
    the extent authorized by the certificate, is or       102 Stat. 2302.)
    will be required by the present or future public
    convenience and necessity; otherwise such appli-                             Editorial Notes
    cation shall be denied. The Commission shall
    have the power to attach to the issuance of the                               AMENDMENTS
    certificate and to the exercise of the rights            1988—Subsec. (f). Pub. L. 100–474 designated existing
    granted thereunder such reasonable terms and          provisions as par. (1) and added par. (2).
    conditions as the public convenience and neces-          1978—Subsec. (c). Pub. L. 95–617, § 608(a), (b)(1), des-
    sity may require.                                     ignated existing first paragraph as par. (1)(A) and exist-
                                                          ing second paragraph as par. (1)(B) and added par. (2).
    (f) Determination of service area; jurisdiction of       Subsec. (e). Pub. L. 95–617, § 608(b)(2), substituted
         transportation to ultimate consumers             ‘‘subsection (c)(1)’’ for ‘‘subsection (c)’’.
       (1) The Commission, after a hearing had upon          1947—Subsec. (h). Act July 25, 1947, added subsec. (h).
    its own motion or upon application, may deter-           1942—Subsecs. (c) to (g). Act Feb. 7, 1942, struck out
                                                          subsec. (c), and added new subsecs. (c) to (g).
    mine the service area to which each authoriza-
    tion under this section is to be limited. Within
                                                                 Statutory Notes and Related Subsidiaries
    such service area as determined by the Commis-
    sion a natural-gas company may enlarge or ex-                   EFFECTIVE DATE OF 1988 AMENDMENT
    tend its facilities for the purpose of supplying        Pub. L. 100–474, § 3, Oct. 6, 1988, 102 Stat. 2302, provided
    increased market demands in such service area         that: ‘‘The provisions of this Act [amending this sec-
    without further authorization; and                    tion and enacting provisions set out as a note under
       (2) If the Commission has determined a service     section 717w of this title] shall become effective one
    area pursuant to this subsection, transportation      hundred and twenty days after the date of enactment
    to ultimate consumers in such service area by         [Oct. 6, 1988].’’
    the holder of such service area determination,
    even if across State lines, shall be subject to the                      Executive Documents
    exclusive jurisdiction of the State commission
                                                                            TRANSFER OF FUNCTIONS
    in the State in which the gas is consumed. This
    section shall not apply to the transportation of         Enforcement functions of Secretary or other official
    natural gas to another natural gas company.           in Department of Energy and Commission, Commis-
                                                          sioners, or other official in Federal Energy Regulatory
    (g) Certificate of public convenience and neces-      Commission related to compliance with certificates of
         sity for service of area already being served    public convenience and necessity issued under this sec-
       Nothing contained in this section shall be con-    tion with respect to pre-construction, construction,
    strued as a limitation upon the power of the          and initial operation of transportation system for Ca-
                                                          nadian and Alaskan natural gas transferred to Federal
    Commission to grant certificates of public con-
                                                          Inspector, Office of Federal Inspector for Alaska Nat-
    venience and necessity for service of an area al-     ural Gas Transportation System, until first anniver-
    ready being served by another natural-gas com-        sary of date of initial operation of Alaska Natural Gas
    pany.                                                 Transportation System, see Reorg. Plan No. 1 of 1979,
    (h) Right of eminent domain for construction of       §§ 102(d), 203(a), 44 F.R. 33663, 33666, 93 Stat. 1373, 1376, ef-
         pipelines, etc.                                  fective July 1, 1979, set out under section 719e of this
                                                          title. Office of Federal Inspector for the Alaska Natural
       When any holder of a certificate of public con-    Gas Transportation System abolished and functions
    venience and necessity cannot acquire by con-         and authority vested in Inspector transferred to Sec-
    tract, or is unable to agree with the owner of        retary of Energy by section 3012(b) of Pub. L. 102–486,
    property to the compensation to be paid for, the      set out as an Abolition of Office of Federal Inspector
    necessary right-of-way to construct, operate,         note under section 719e of this title. Functions and au-
    and maintain a pipe line or pipe lines for the        thority vested in Secretary of Energy subsequently
                                                          transferred to Federal Coordinator for Alaska Natural
    transportation of natural gas, and the necessary
                                                          Gas Transportation Projects by section 720d(f) of this
    land or other property, in addition to right-of-      title.
    way, for the location of compressor stations,
    pressure apparatus, or other stations or equip-       § 717g. Accounts; records; memoranda
    ment necessary to the proper operation of such
    pipe line or pipe lines, it may acquire the same      (a) Rules and regulations for keeping and pre-
    by the exercise of the right of eminent domain            serving accounts, records, etc.
    in the district court of the United States for the      Every natural-gas company shall make, keep,
    district in which such property may be located,       and preserve for such periods, such accounts,




                                                     A-8
USCA Case #23-1175                Document #2046821                     Filed: 03/26/2024                Page 96 of 108
    Page 1193                           TITLE 15—COMMERCE AND TRADE                                               § 717r

    mission to hold any hearings. The action of such                              Editorial Notes
    board shall have such force and effect and its                                 CODIFICATION
    proceedings shall be conducted in such manner
                                                               Provisions that authorized the Commission to ap-
    as the Commission shall by regulations pre-             point and fix the compensation of such officers, attor-
    scribe. The Board shall be appointed by the             neys, examiners, and experts as may be necessary for
    Commission from persons nominated by the                carrying out its functions under this chapter ‘‘without
    State commission of each State affected, or by          regard to the provisions of other laws applicable to the
    the Governor of such State if there is no State         employment and compensation of officers and employ-
    commission. Each State affected shall be enti-          ees of the United States’’ are omitted as obsolete and
    tled to the same number of representatives on           superseded.
                                                               As to the compensation of such personnel, sections
    the board unless the nominating power of such           1202 and 1204 of the Classification Act of 1949, 63 Stat.
    State waives such right. The Commission shall           972, 973, repealed the Classification Act of 1923 and all
    have discretion to reject the nominee from any          other laws or parts of laws inconsistent with the 1949
    State, but shall thereupon invite a new nomina-         Act. The Classification Act of 1949 was repealed by Pub.
    tion from that State. The members of a board            L. 89–554, Sept. 6, 1966, § 8(a), 80 Stat. 632, and reenacted
    shall receive such allowances for expenses as the       as chapter 51 and subchapter III of chapter 53 of Title
    Commission shall provide. The Commission                5, Government Organization and Employees. Section
                                                            5102 of Title 5 contains the applicability provisions of
    may, when in its discretion sufficient reason ex-
                                                            the 1949 Act, and section 5103 of Title 5 authorizes the
    ists therefor, revoke any reference to such a           Office of Personnel Management to determine the ap-
    board.                                                  plicability to specific positions and employees.
                                                               Such appointments are now subject to the civil serv-
    (b) Conference with State commissions regard-           ice laws unless specifically excepted by those laws or
        ing rate structure, costs, etc.                     by laws enacted subsequent to Executive Order 8743,
      The Commission may confer with any State              Apr. 23, 1941, issued by the President pursuant to the
                                                            Act of Nov. 26, 1940, ch. 919, title I, § 1, 54 Stat. 1211,
    commission regarding rate structures, costs, ac-
                                                            which covered most excepted positions into the classi-
    counts, charges, practices, classifications, and        fied (competitive) civil service. The Order is set out as
    regulations of natural-gas companies; and the           a note under section 3301 of Title 5.
    Commission is authorized, under such rules and             ‘‘Chapter 51 and subchapter III of chapter 53 of title
    regulations as it shall prescribe, to hold joint        5’’ substituted in text for ‘‘the Classification Act of
    hearings with any State commission in connec-           1949, as amended’’ on authority of Pub. L. 89–554, § 7(b),
    tion with any matter with respect to which the          Sept. 6, 1966, 80 Stat. 631, the first section of which en-
                                                            acted Title 5.
    Commission is authorized to act. The Commis-
    sion is authorized in the administration of this                               AMENDMENTS
    chapter to avail itself of such cooperation, serv-        1949—Act Oct. 28, 1949, substituted ‘‘Classification Act
    ices, records, and facilities as may be afforded        of 1949’’ for ‘‘Classification Act of 1923’’.
    by any State commission.
                                                                   Statutory Notes and Related Subsidiaries
    (c) Information and reports available to State
        commissions                                                                  REPEALS
                                                              Act Oct. 28, 1949, ch. 782, cited as a credit to this sec-
      The Commission shall make available to the            tion, was repealed (subject to a savings clause) by Pub.
    several State commissions such information and          L. 89–554, Sept. 6, 1966, § 8, 80 Stat. 632, 655.
    reports as may be of assistance in State regula-
    tion of natural-gas companies. Whenever the             § 717r. Rehearing and review
    Commission can do so without prejudice to the           (a) Application for rehearing; time
    efficient and proper conduct of its affairs, it
                                                              Any person, State, municipality, or State
    may, upon request from a State commission,
                                                            commission aggrieved by an order issued by the
    make available to such State commission as
                                                            Commission in a proceeding under this chapter
    witnesses any of its trained rate, valuation, or
                                                            to which such person, State, municipality, or
    other experts, subject to reimbursement of the
                                                            State commission is a party may apply for a re-
    compensation and traveling expenses of such
                                                            hearing within thirty days after the issuance of
    witnesses. All sums collected hereunder shall be
                                                            such order. The application for rehearing shall
    credited to the appropriation from which the
                                                            set forth specifically the ground or grounds
    amounts were expended in carrying out the pro-
                                                            upon which such application is based. Upon such
    visions of this subsection.
                                                            application the Commission shall have power to
    (June 21, 1938, ch. 556, § 17, 52 Stat. 830.)           grant or deny rehearing or to abrogate or mod-
                                                            ify its order without further hearing. Unless the
    § 717q. Appointment of officers and employees           Commission acts upon the application for re-
                                                            hearing within thirty days after it is filed, such
      The Commission is authorized to appoint and           application may be deemed to have been denied.
    fix the compensation of such officers, attorneys,       No proceeding to review any order of the Com-
    examiners, and experts as may be necessary for          mission shall be brought by any person unless
    carrying out its functions under this chapter;          such person shall have made application to the
    and the Commission may, subject to civil-serv-          Commission for a rehearing thereon. Until the
    ice laws, appoint such other officers and employ-       record in a proceeding shall have been filed in a
    ees as are necessary for carrying out such func-        court of appeals, as provided in subsection (b),
    tions and fix their salaries in accordance with         the Commission may at any time, upon reason-
    chapter 51 and subchapter III of chapter 53 of          able notice and in such manner as it shall deem
    title 5.                                                proper, modify or set aside, in whole or in part,
    (June 21, 1938, ch. 556, § 18, 52 Stat. 831; Oct. 28,   any finding or order made or issued by it under
    1949, ch. 782, title XI, § 1106(a), 63 Stat. 972.)      the provisions of this chapter.




                                                       A-9
USCA Case #23-1175              Document #2046821                       Filed: 03/26/2024               Page 97 of 108
    § 717r                           TITLE 15—COMMERCE AND TRADE                                            Page 1194

    (b) Review of Commission order                            ated shall have original and exclusive jurisdic-
      Any party to a proceeding under this chapter            tion over any civil action for the review of an
    aggrieved by an order issued by the Commission            order or action of a Federal agency (other
    in such proceeding may obtain a review of such            than the Commission) or State administrative
    order in the court of appeals of the United               agency acting pursuant to Federal law to
    States for any circuit wherein the natural-gas            issue, condition, or deny any permit, license,
    company to which the order relates is located or          concurrence, or approval (hereinafter collec-
    has its principal place of business, or in the            tively referred to as ‘‘permit’’) required under
    United States Court of Appeals for the District           Federal law, other than the Coastal Zone Man-
    of Columbia, by filing in such court, within              agement Act of 1972 (16 U.S.C. 1451 et seq.).
    sixty days after the order of the Commission              (2) Agency delay
    upon the application for rehearing, a written pe-           The United States Court of Appeals for the
    tition praying that the order of the Commission           District of Columbia shall have original and
    be modified or set aside in whole or in part. A           exclusive jurisdiction over any civil action for
    copy of such petition shall forthwith be trans-           the review of an alleged failure to act by a
    mitted by the clerk of the court to any member            Federal agency (other than the Commission)
    of the Commission and thereupon the Commis-               or State administrative agency acting pursu-
    sion shall file with the court the record upon            ant to Federal law to issue, condition, or deny
    which the order complained of was entered, as             any permit required under Federal law, other
    provided in section 2112 of title 28. Upon the fil-       than the Coastal Zone Management Act of 1972
    ing of such petition such court shall have juris-         (16 U.S.C. 1451 et seq.), for a facility subject to
    diction, which upon the filing of the record with         section 717b of this title or section 717f of this
    it shall be exclusive, to affirm, modify, or set          title. The failure of an agency to take action
    aside such order in whole or in part. No objec-           on a permit required under Federal law, other
    tion to the order of the Commission shall be              than the Coastal Zone Management Act of
    considered by the court unless such objection             1972, in accordance with the Commission
    shall have been urged before the Commission in            schedule established pursuant to section
    the application for rehearing unless there is rea-        717n(c) of this title shall be considered incon-
    sonable ground for failure so to do. The finding          sistent with Federal law for the purposes of
    of the Commission as to the facts, if supported           paragraph (3).
    by substantial evidence, shall be conclusive. If
    any party shall apply to the court for leave to           (3) Court action
    adduce additional evidence, and shall show to               If the Court finds that such order or action
    the satisfaction of the court that such addi-             is inconsistent with the Federal law governing
    tional evidence is material and that there were           such permit and would prevent the construc-
    reasonable grounds for failure to adduce such             tion, expansion, or operation of the facility
    evidence in the proceedings before the Commis-            subject to section 717b of this title or section
    sion, the court may order such additional evi-            717f of this title, the Court shall remand the
    dence to be taken before the Commission and to            proceeding to the agency to take appropriate
    be adduced upon the hearing in such manner and            action consistent with the order of the Court.
    upon such terms and conditions as to the court            If the Court remands the order or action to the
    may seem proper. The Commission may modify                Federal or State agency, the Court shall set a
    its findings as to the facts by reason of the addi-       reasonable schedule and deadline for the agen-
    tional evidence so taken, and it shall file with          cy to act on remand.
    the court such modified or new findings, which
                                                              (4) Commission action
    is supported by substantial evidence, shall be
    conclusive, and its recommendation, if any, for             For any action described in this subsection,
    the modification or setting aside of the original         the Commission shall file with the Court the
    order. The judgment and decree of the court, af-          consolidated record of such order or action to
    firming, modifying, or setting aside, in whole or         which the appeal hereunder relates.
    in part, any such order of the Commission, shall          (5) Expedited review
    be final, subject to review by the Supreme Court
                                                                The Court shall set any action brought
    of the United States upon certiorari or certifi-
                                                              under this subsection for expedited consider-
    cation as provided in section 1254 of title 28.
                                                              ation.
    (c) Stay of Commission order
                                                            (June 21, 1938, ch. 556, § 19, 52 Stat. 831; June 25,
      The filing of an application for rehearing            1948, ch. 646, § 32(a), 62 Stat. 991; May 24, 1949, ch.
    under subsection (a) shall not, unless specifi-         139, § 127, 63 Stat. 107; Pub. L. 85–791, § 19, Aug. 28,
    cally ordered by the Commission, operate as a           1958, 72 Stat. 947; Pub. L. 109–58, title III, § 313(b),
    stay of the Commission’s order. The commence-           Aug. 8, 2005, 119 Stat. 689.)
    ment of proceedings under subsection (b) of this
    section shall not, unless specifically ordered by
                                                                                 Editorial Notes
    the court, operate as a stay of the Commission’s
    order.                                                                    REFERENCES IN TEXT
    (d) Judicial review                                       The Coastal Zone Management Act of 1972, referred to
      (1) In general                                        in subsec. (d)(1), (2), is title III of Pub. L. 89–454, as
                                                            added by Pub. L. 92–583, Oct. 27, 1972, 86 Stat. 1280,
         The United States Court of Appeals for the         which is classified generally to chapter 33 (§ 1451 et seq.)
      circuit in which a facility subject to section        of Title 16, Conservation. For complete classification of
      717b of this title or section 717f of this title is   this Act to the Code, see Short Title note set out under
      proposed to be constructed, expanded, or oper-        section 1451 of Title 16 and Tables.




                                                      A-10
USCA Case #23-1175                 Document #2046821                           Filed: 03/26/2024                  Page 98 of 108
    Page 1195                             TITLE 15—COMMERCE AND TRADE                                                      § 717t

                           CODIFICATION                            and the expenses of such employment shall be
      In subsec. (b), ‘‘section 1254 of title 28’’ substituted     paid out of the appropriation for the Commis-
    for ‘‘sections 239 and 240 of the Judicial Code, as amend-     sion.
    ed [28 U.S.C. 346, 347]’’ on authority of act June 25, 1948,   (d) Violation of market manipulation provisions
    ch. 646, 62 Stat. 869, the first section of which enacted
    Title 28, Judiciary and Judicial Procedure.                      In any proceedings under subsection (a), the
                                                                   court may prohibit, conditionally or uncondi-
                          AMENDMENTS                               tionally, and permanently or for such period of
       2005—Subsec. (d). Pub. L. 109–58 added subsec. (d).         time as the court determines, any individual
       1958—Subsec. (a). Pub. L. 85–791, § 19(a), inserted sen-    who is engaged or has engaged in practices con-
    tence providing that until record in a proceeding has          stituting a violation of section 717c–1 of this
    been filed in a court of appeals, Commission may mod-          title (including related rules and regulations)
    ify or set aside any finding or order issued by it.            from—
       Subsec. (b). Pub. L. 85–791, § 19(b), in second sentence,       (1) acting as an officer or director of a nat-
    substituted ‘‘transmitted by the clerk of the court to’’
    for ‘‘served upon’’, substituted ‘‘file with the court’’ for
                                                                     ural gas company; or
    ‘‘certify and file with the court a transcript of’’, and in-       (2) engaging in the business of—
    serted ‘‘as provided in section 2112 of title 28’’, and, in          (A) the purchasing or selling of natural
    third sentence, substituted ‘‘petition’’ for ‘‘transcript’’,       gas; or
    and ‘‘jurisdiction, which upon the filing of the record              (B) the purchasing or selling of trans-
    with it shall be exclusive’’ for ‘‘exclusive jurisdiction’’.       mission services subject to the jurisdiction
                                                                       of the Commission.
           Statutory Notes and Related Subsidiaries
                                                                   (June 21, 1938, ch. 556, § 20, 52 Stat. 832; June 25,
                         CHANGE OF NAME                            1948, ch. 646, § 1, 62 Stat. 875, 895; Pub. L. 109–58,
      Act June 25, 1948, eff. Sept. 1, 1948, as amended by act     title III, § 318, Aug. 8, 2005, 119 Stat. 693.)
    May 24, 1949, substituted ‘‘court of appeals’’ for ‘‘circuit
    court of appeals’’ wherever appearing.                                                Editorial Notes
                                                                                           CODIFICATION
    § 717s. Enforcement of chapter
                                                                      The words ‘‘the District Court of the United States
    (a) Action in district court for injunction                    for the District of Columbia’’ in subsec. (a) following
      Whenever it shall appear to the Commission                   ‘‘district court of the United States’’ and in subsec. (b)
                                                                   following ‘‘district courts of the United States’’ omit-
    that any person is engaged or about to engage in               ted as superfluous in view of section 132(a) of Title 28,
    any acts or practices which constitute or will                 Judiciary and Judicial Procedure, which states that
    constitute a violation of the provisions of this               ‘‘There shall be in each judicial district a district court
    chapter, or of any rule, regulation, or order                  which shall be a court of record known as the United
    thereunder, it may in its discretion bring an ac-              States District Court for the district’’, and section 88 of
    tion in the proper district court of the United                title 28 which states that ‘‘The District of Columbia
    States, or the United States courts of any Terri-              constitutes one judicial district’’.
    tory or other place subject to the jurisdiction of                                     AMENDMENTS
    the United States, to enjoin such acts or prac-                  2005—Subsec. (d). Pub. L. 109–58 added subsec. (d).
    tices and to enforce compliance with this chap-
    ter or any rule, regulation, or order thereunder,              § 717t. General penalties
    and upon a proper showing a permanent or tem-
    porary injunction or decree or restraining order                 (a) Any person who willfully and knowingly
    shall be granted without bond. The Commission                  does or causes or suffers to be done any act,
    may transmit such evidence as may be available                 matter, or thing in this chapter prohibited or
    concerning such acts or practices or concerning                declared to be unlawful, or who willfully and
    apparent violations of the Federal antitrust                   knowingly omits or fails to do any act, matter,
    laws to the Attorney General, who, in his discre-              or thing in this chapter required to be done, or
    tion, may institute the necessary criminal pro-                willfully and knowingly causes or suffers such
    ceedings.                                                      omission or failure, shall, upon conviction
                                                                   thereof, be punished by a fine of not more than
    (b) Mandamus                                                   $1,000,000 or by imprisonment for not more than
      Upon application of the Commission the dis-                  5 years, or both.
    trict courts of the United States and the United                 (b) Any person who willfully and knowingly
    States courts of any Territory or other place                  violates any rule, regulation, restriction, condi-
    subject to the jurisdiction of the United States               tion, or order made or imposed by the Commis-
    shall have jurisdiction to issue writs of man-                 sion under authority of this chapter, shall, in
    damus commanding any person to comply with                     addition to any other penalties provided by law,
    the provisions of this chapter or any rule, regu-              be punished upon conviction thereof by a fine of
    lation, or order of the Commission thereunder.                 not exceeding $50,000 for each and every day dur-
    (c) Employment of attorneys by Commission                      ing which such offense occurs.
      The Commission may employ such attorneys                     (June 21, 1938, ch. 556, § 21, 52 Stat. 833; Pub. L.
    as it finds necessary for proper legal aid and                 109–58, title III, § 314(a)(1), Aug. 8, 2005, 119 Stat.
    service of the Commission or its members in the                690.)
    conduct of their work, or for proper representa-
                                                                                          Editorial Notes
    tion of the public interest in investigations
    made by it, or cases or proceedings pending be-                                        AMENDMENTS
    fore it, whether at the Commission’s own in-                     2005—Subsec. (a). Pub. L. 109–58, § 314(a)(1)(A), sub-
    stance or upon complaint, or to appear for or                  stituted ‘‘$1,000,000’’ for ‘‘$5,000’’ and ‘‘5 years’’ for ‘‘two
    represent the Commission in any case in court;                 years’’.




                                                             A-11
USCA Case #23-1175                 Document #2046821                         Filed: 03/26/2024                Page 99 of 108
    § 7144e                     TITLE 42—THE PUBLIC HEALTH AND WELFARE                                           Page 6796

    (c) Location                                                  the functions vested by law in the officers and
      The Secretary shall locate such office at a uni-            components of either such Administration.
    versity with expertise and experience in the                    (b) Except as provided in subchapter IV, there
    matters specified in subsection (b).                          are transferred to, and vested in, the Secretary
                                                                  the function of the Federal Power Commission,
    (Pub. L. 106–398, § 1 [div. C, title XXXI, § 3197],           or of the members, officers, or components
    Oct. 30, 2000, 114 Stat. 1654, 1654A–482.)                    thereof. The Secretary may exercise any power
                                                                  described in section 7172(a)(2) of this title to the
                         Editorial Notes                          extent the Secretary determines such power to
                          CODIFICATION                            be necessary to the exercise of any function
                                                                  within his jurisdiction pursuant to the pre-
      Section was enacted as part of the Floyd D. Spence
    National Defense Authorization Act for Fiscal Year            ceding sentence.
    2001, and not as part of the Department of Energy Orga-       (Pub. L. 95–91, title III, § 301, Aug. 4, 1977, 91 Stat.
    nization Act which comprises this chapter.                    577.)
    § 7144e. Office of Indian Energy Policy and Pro-                                   Editorial Notes
        grams
                                                                                    REFERENCES IN TEXT
    (a) Establishment
                                                                    This chapter, referred to in subsec. (a), was in the
      There is established within the Department an               original ‘‘this Act’’, meaning Pub. L. 95–91, Aug. 4, 1977,
    Office of Indian Energy Policy and Programs                   91 Stat. 565, as amended, known as the Department of
    (referred to in this section as the ‘‘Office’’). The          Energy Organization Act, which is classified prin-
    Office shall be headed by a Director, who shall               cipally to this chapter. For complete classification of
    be appointed by the Secretary and compensated                 this Act to the Code, see Short Title note set out under
    at a rate equal to that of level IV of the Execu-             section 7101 of this title and Tables.
    tive Schedule under section 5315 of title 5.
                                                                                    Executive Documents
    (b) Duties of Director
                                                                           EMERGENCY PREPAREDNESS FUNCTIONS
      The Director, in accordance with Federal poli-
    cies promoting Indian self-determination and                    For assignment of certain emergency preparedness
                                                                  functions to the Secretary of Energy, see Parts 1, 2, and
    the purposes of this chapter, shall provide, di-              7 of Ex. Ord. No. 12656, Nov. 18, 1988, 53 F.R. 47491, set
    rect, foster, coordinate, and implement energy                out as a note under section 5195 of this title.
    planning, education, management, conservation,
    and delivery programs of the Department that—                 EX. ORD. NO. 12038. TRANSFER OF CERTAIN FUNCTIONS TO
                                                                                  SECRETARY OF ENERGY
        (1) promote Indian tribal energy develop-
      ment, efficiency, and use;                                    Ex. Ord. No. 12038, Feb. 3, 1978, 43 F.R. 4957, as amend-
        (2) reduce or stabilize energy costs;                     ed by Ex. Ord. No. 12156, Sept. 10, 1979, 44 F.R. 53073,
        (3) enhance and strengthen Indian tribal en-              provided:
                                                                    By virtue of the authority vested in me as President
      ergy and economic infrastructure relating to                of the United States of America, in order to reflect the
      natural resource development and electrifica-               responsibilities of the Secretary of Energy for the per-
      tion; and                                                   formance of certain functions previously vested in
        (4) bring electrical power and service to In-             other officers of the United States by direction of the
      dian land and the homes of tribal members lo-               President and subsequently transferred to the Sec-
      cated on Indian lands or acquired, con-                     retary of Energy pursuant to the Department of Energy
      structed, or improved (in whole or in part)                 Organization Act (91 Stat. 565; 42 U.S.C. 7101 et seq.) it
      with Federal funds.                                         is hereby ordered as follows:
                                                                    SECTION 1. Functions of the Federal Energy Administra-
    (Pub. L. 95–91, title II, § 217, as added Pub. L.             tion. In accordance with the transfer of all functions
    109–58, title V, § 502(a), Aug. 8, 2005, 119 Stat. 763.)      vested by law in the Federal Energy Administration, or
                                                                  the Administrator thereof, to the Secretary of Energy
                         Editorial Notes                          pursuant to Section 301(a) of the Department of Energy
                                                                  Organization Act [subsec. (a) of this section], herein-
                      REFERENCES IN TEXT                          after referred to as the Act, the Executive Orders and
      This chapter, referred to in subsec. (b), was in the        Proclamations referred to in this Section, which con-
    original ‘‘this Act’’, meaning Pub. L. 95–91, Aug. 4, 1977,   ferred authority or responsibility upon the Adminis-
    91 Stat. 565, as amended, known as the Department of          trator of the Federal Energy Administration, are
    Energy Organization Act, which is classified prin-            amended as follows:
    cipally to this chapter. For complete classification of         (a) Executive Order No. 11647, as amended [formerly
    this Act to the Code, see Short Title note set out under      set out as a note under 31 U.S.C. 501], relating to Fed-
    section 7101 of this title and Tables.                        eral Regional Councils, is further amended by deleting
                                                                  ‘‘The Federal Energy Administration’’ in Section
          SUBCHAPTER III—TRANSFERS OF                             1(a)(10) and substituting ‘‘The Department of Energy’’,
                                                                  and by deleting ‘‘The Deputy Administrator of the Fed-
                  FUNCTIONS
                                                                  eral Energy Administration’’ in Section 3(a)(10) and
    § 7151. General transfers                                     substituting ‘‘The Deputy Secretary of Energy’’.
                                                                    (b) Executive Order No. 11790 of June 25, 1974 [set out
      (a) Except as otherwise provided in this chap-              as a note under 15 U.S.C. 761], relating to the Federal
    ter, there are transferred to, and vested in, the             Energy Administration Act of 1974, is amended by de-
    Secretary all of the functions vested by law in               leting ‘‘Administrator of the Federal Energy Adminis-
                                                                  tration’’ and ‘‘Administrator’’ wherever they appear in
    the Administrator of the Federal Energy Admin-
                                                                  Sections 1 through 6 and substituting ‘‘Secretary of En-
    istration or the Federal Energy Administration,               ergy’’ and ‘‘Secretary’’, respectively, and by deleting
    the Administrator of the Energy Research and                  Section 7 through 10.
    Development Administration or the Energy Re-                    (c) Executive Order No. 11912, as amended [set out as
    search and Development Administration; and                    a note under 42 U.S.C. 6201], relating to energy policy




                                                            A-12
USCA Case #23-1175                 Document #2046821                           Filed: 03/26/2024               Page 100 of 108
    Page 6797                    TITLE 42—THE PUBLIC HEALTH AND WELFARE                                                  § 7151

    and conservation, and Proclamation No. 3279, as                    (1) All current Executive Orders which refer to func-
    amended [formerly set out as a note under 19 U.S.C.             tions of the Atomic Energy Commission, including Ex-
    1862], relating to imports of petroleum and petroleum           ecutive Order No. 10127, as amended; Executive Order
    products, are further amended by deleting ‘‘Adminis-            No. 10865, as amended [set out as a note under 50 U.S.C.
    trator of the Federal Energy Administration’’, ‘‘Fed-           3161]; Executive Order No. 10899 of December 9, 1960 [set
    eral Energy Administration’’, and ‘‘Administrator’’             out as a note under 42 U.S.C. 2162]; Executive Order No.
    (when used in reference to the Federal Energy Adminis-          11057 of December 18, 1962 [set out as a note under 42
    tration) wherever those terms appear and by sub-                U.S.C. 2162]; Executive Order No. 11477 of August 7, 1969
    stituting ‘‘Secretary of Energy’’, ‘‘Department of En-          [set out as a note under 42 U.S.C. 2187]; Executive Order
    ergy’’, and ‘‘Secretary’’, respectively, and by deleting        No. 11752 of December 17, 1973 [formerly set out as a
    ‘‘the Administrator of Energy Research and Develop-             note under 42 U.S.C. 4331]; and Executive Order No.
    ment’’ in Section 10(a)(1) of Executive Order No. 11912,        11761 of January 17, 1974 [formerly set out as a note
    as amended.                                                     under 20 U.S.C. 1221]; are modified to provide that all
       SEC. 2. Functions of the Federal Power Commission. In        such functions shall be exercised by (1) the Secretary of
    accordance with the transfer of functions vested in the         Energy to the extent consistent with the functions of
    Federal Power Commission to the Secretary of Energy             the Atomic Energy Commission that were transferred
    pursuant to Section 301(b) of the Act [subsec. (b) of this      to the Administrator of Energy Research and Develop-
    section], the Executive Orders referred to in this Sec-         ment pursuant to the Energy Organization Act of 1974
    tion, which conferred authority or responsibility upon          (Public Law 93–438; 88 Stat. 1233) [42 U.S.C. 5801 et seq.],
    the Federal Power Commission, or Chairman thereof,              and (2) the Nuclear Regulatory Commission to the ex-
    are amended or modified as follows:                             tent consistent with the functions of the Atomic En-
       (a) Executive Order No. 10485 of September 3, 1953,
                                                                    ergy Commission that were transferred to the Commis-
    [set out as a note under 15 U.S.C. 717b], relating to cer-
                                                                    sion by the Energy Reorganization Act of 1974 [42
    tain facilities at the borders of the United States is
                                                                    U.S.C. 5801 et seq.].
    amended by deleting Section 2 thereof, and by deleting             (2) [Former] Executive Order No. 11652, as amended,
    ‘‘Federal Power Commission’’ and ‘‘Commission’’ wher-
                                                                    relating to the classification of national security mat-
    ever those terms appear in Sections 1, 3 and 4 of such
                                                                    ters, is further amended by substituting ‘‘Department
    Order and substituting for each ‘‘Secretary of Energy’’.
       (b) Executive Order No. 11969 of February 2, 1977 [for-      of Energy’’ for ‘‘Energy Research and Development Ad-
    merly set out as a note under 15 U.S.C. 717], relating to       ministration’’ in Sections 2(A), 7(A) and 8 and by delet-
    the administration of the Emergency Natural Gas Act             ing ‘‘Federal Power Commission’’ in Section 2(B)(3).
                                                                       (3) Executive Order No. 11902 of February 2, 1976 [for-
    of 1977 [formerly set out as a note under 15 U.S.C. 717],
                                                                    merly set out as a note under 42 U.S.C. 5841], relating
    is hereby amended by deleting the second sentence in
    Section 1, by deleting ‘‘the Secretary of the Interior,         to export licensing policy for nuclear materials and
    the Administrator of the Federal Energy Administra-             equipment, is amended by substituting ‘‘the Secretary
    tion, other members of the Federal Power Commission             of Energy’’ for ‘‘the Administrator of the United States
    and in Section 2, and by deleting ‘‘Chairman of the Fed-        Energy Research and Development Administration,
    eral Power Commission’’ and ‘‘Chairman’’ wherever               hereinafter referred to as the Administrator’’ in Sec-
    those terms appear and substituting therefor ‘‘Sec-             tion 1(b) and for the ‘‘Administrator’’ in Sections 2 and
    retary of Energy’’ and ‘‘Secretary’’, respectively.             3.
       (c) Paragraph (2) of Section 3 of Executive Order No.           (4) [Former] Executive Order No. 11905, as amended,
    11331, as amended [formerly set out as a note under 42          relating to foreign intelligence activities, is further
    U.S.C. 1962b], relating to the Pacific Northwest River          amended by deleting ‘‘Energy Research and Develop-
    Basins Commission, is hereby amended by deleting                ment Administration’’, ‘‘Administrator or the Energy
    ‘‘from each of the following Federal departments and            Research and Development Administration’’, and
    agencies’’ and substituting therefor ‘‘to be appointed          ‘‘ERDA’’ wherever those terms appear and substituting
    by the head of each of the following Executive agen-            ‘‘Department of Energy’’, ‘‘Secretary of Energy’’, and
    cies’’, by deleting ‘‘Federal Power Commission’’ and            ‘‘DOE’’ respectively.
    substituting therefor ‘‘Department of Energy’’, and by             (5) Section 3(2) of each of the following Executive Or-
    deleting ‘‘such member to be appointed by the head of           ders is amended by substituting ‘‘Department of En-
    each department or independent agency he rep-                   ergy’’ for ‘‘Energy Research and Development Adminis-
    resents,’’.                                                     tration’’:
       SEC. 3. Functions of the Secretary of the Interior. In ac-      (i) Executive Order No. 11345, as amended [formerly
    cordance with the transfer of certain functions vested          set out as a note under 42 U.S.C. 1962b], establishing the
    in the Secretary of the Interior to the Secretary of En-        Great Lakes River Basin Commission.
    ergy pursuant to Section 302 of the Act [42 U.S.C. 7152],          (ii) Executive Order No. 11371, as amended [formerly
    the Executive Orders referred to in this Section, which         set out as a note under 42 U.S.C. 1962b], establishing the
    conferred authority or responsibility on the Secretary          New England River Basin Commission.
    of the Interior, are amended or modified as follows:               (iii) Executive Order No. 11578, as amended [formerly
       (a) Sections 1 and 4 of Executive Order No. 8526 of Au-      set out as a note under 42 U.S.C. 1962b], establishing the
    gust 27, 1940, relating to functions of the Bonneville          Ohio River Basin Commission.
    Power Administration, are hereby amended by sub-                   (iv) Executive Order No. 11658, as amended [formerly
    stituting ‘‘Secretary of Energy’’ for ‘‘Secretary of the        set out as a note under 42 U.S.C. 1962b], establishing the
    Interior’’, by adding ‘‘of the Interior’’ after ‘‘Sec-          Missouri River Basin Commission.
    retary’’ in Sections 2 and 3, and by adding ‘‘and the              (v) Executive Order No. 11659, as amended [formerly
    Secretary of Energy,’’ after ‘‘the Secretary of the Inte-       set out as a note under 42 U.S.C. 1962b], establishing the
    rior’’ wherever the latter term appears in Section 5.           Mississippi River Basin Commission.
       (b) Executive Order No. 11177 of September 16, 1964,            SEC. 5. Special Provisions Relating to Emergency Pre-
    relating to the Columbia River Treaty, is amended by            paredness and Mobilization Functions.
    deleting ‘‘Secretary of the Interior’’ and ‘‘Department            (a) Executive Order No. 10480, as amended [formerly
    of the Interior’’ wherever those terms appear and sub-          set out as a note under former 50 U.S.C. App. 2153], is
    stituting therefor ‘‘Secretary of Energy’’ and ‘‘Depart-        further amended by adding thereto the following new
    ment of Energy’’, respectively.                                 Sections:
       SEC. 4. Functions of the Atomic Energy Commission and           ‘‘Sec. 609. Effective October 1, 1977, the Secretary of
    the Energy Research and Development Administration.             Energy shall exercise all authority and discharge all
       (a) In accordance with the transfer of all functions         responsibility herein delegated to or conferred upon (a)
    vested by law in the Administrator of Energy Research           the Atomic Energy Commission, and (b) with respect to
    and Development to the Secretary of Energy pursuant             petroleum, gas, solid fuels and electric power, upon the
    to Section 301(a) of the Act [subsec. (a) of this section]      Secretary of the Interior.
    the Executive Orders referred to in this Section are               ‘‘Sec. 610. Whenever the Administrator of General
    amended or modified as follows:                                 Services believes that the functions of an Executive




                                                              A-13
USCA Case #23-1175               Document #2046821                          Filed: 03/26/2024                 Page 101 of 108
    § 7151a                     TITLE 42—THE PUBLIC HEALTH AND WELFARE                                             Page 6798

    agency have been modified pursuant to law in such              struction, operation, and maintenance of
    manner as to require the amendment of any Executive            transmission lines and attendant facilities;
    order which relates to the assignment of emergency             and
    preparedness functions or the administration of mobili-
    zation programs, he shall promptly submit any pro-               (E) the transmission and disposition of the
    posals for the amendment of such Executive orders to           electric power and energy generated at Falcon
    the Director of the Office of Management and Budget in         Dam and Amistad Dam, international storage
    accordance with the provisions of Executive Order No.          reservoir projects on the Rio Grande, pursuant
    11030, as amended [set out as a note under 44 U.S.C.           to the Act of June 18, 1954, as amended by the
    1505].                                                         Act of December 23, 1963.
      (b) Executive Order No. 11490, as amended [formerly
    set out as a note under 50 U.S.C. App. 2251], is further       (2) The Southeastern Power Administration,
    amended by adding thereto the following new section:         the Southwestern Power Administration, and
      ‘‘Sec. 3016. Effective October 1, 1977, the Secretary of   the Bonneville Power Administration,1 shall be
    Energy shall exercise all authority and discharge all        preserved as separate and distinct organiza-
    responsibility herein delegated to or conferred upon (a)     tional entities within the Department. Each
    the Federal Power Commission, (b) the Energy Re-
    search and Development Administration, and (c) with
                                                                 such entity shall be headed by an Administrator
    respect to electric power, petroleum, gas and solid          appointed by the Secretary. The functions
    fuels, upon the Department of the Interior.’’.               transferred to the Secretary in paragraphs
      SEC. 6. This Order shall be effective as of October 1,     (1)(A), (1)(B), (1)(C), and (1)(D) shall be exercised
    1977, the effective date of the Department of Energy Or-     by the Secretary, acting by and through such
    ganization Act [this chapter] pursuant to the provi-         Administrators. Each such Administrator shall
    sions of section 901 [42 U.S.C. 7341] thereof and Execu-     maintain his principal office at a place located
    tive Order No. 12009 of September 13, 1977 [formerly set     in the region served by his respective Federal
    out as a note under 42 U.S.C. 7341], and all actions
    taken by the Secretary of Energy on or after October
                                                                 power marketing entity.
    1, 1977, which are consistent with the foregoing provi-        (3) The functions transferred in paragraphs
    sions are entitled to full force and effect.                 (1)(E) and (1)(F) 2 of this subsection shall be exer-
                                              JIMMY CARTER.      cised by the Secretary, acting by and through a
                                                                 separate and distinct Administration within the
    § 7151a. Jurisdiction over matters transferred               Department which shall be headed by an Admin-
        from Energy Research and Development Ad-                 istrator appointed by the Secretary. The Admin-
        ministration                                             istrator shall establish and shall maintain such
                                                                 regional offices as necessary to facilitate the
      Notwithstanding any other provision of law,
                                                                 performance of such functions. Neither the
    jurisdiction over matters transferred to the De-
                                                                 transfer of functions effected by paragraph (1)(E)
    partment of Energy from the Energy Research
                                                                 of this subsection nor any changes in cost allo-
    and Development Administration which on the
                                                                 cation or project evaluation standards shall be
    effective date of such transfer were required by
                                                                 deemed to authorize the reallocation of joint
    law, regulation, or administrative order to be
                                                                 costs of multipurpose facilities theretofore allo-
    made on the record after an opportunity for an
                                                                 cated unless and to the extent that such change
    agency hearing may be assigned to the Federal
                                                                 is hereafter approved by Congress.
    Energy Regulatory Commission or retained by
    the Secretary at his discretion.
                                                                 (b), (c) Repealed. Pub. L. 97–100, title II, § 201,
    (Pub. L. 95–238, title I, § 104(a), Feb. 25, 1978, 92            Dec. 23, 1981, 95 Stat. 1407
    Stat. 53.)

                         Editorial Notes                         (d) Functions of Bureau of Mines

                          CODIFICATION
                                                                   There are transferred to, and vested in, the
                                                                 Secretary those functions of the Secretary of
      Section was enacted as part of the Department of En-       the Interior, the Department of the Interior, and
    ergy Act of 1978—Civilian Applications, and not as part      officers and components of that Department
    of the Department of Energy Organization Act which
    comprises this chapter.
                                                                 under the Act of May 15, 1910, and other authori-
                                                                 ties, exercised by the Bureau of Mines, but lim-
    § 7152. Transfers from Department of the Interior            ited to—
                                                                     (1) fuel supply and demand analysis and data
    (a) Functions relating to electric power
                                                                   gathering;
      (1) There are transferred to, and vested in, the               (2) research and development relating to in-
    Secretary all functions of the Secretary of the                creased efficiency of production technology of
    Interior under section 825s of title 16, and all               solid fuel minerals, other than research relat-
    other functions of the Secretary of the Interior,              ing to mine health and safety and research re-
    and officers and components of the Department                  lating to the environmental and leasing con-
    of the Interior, with respect to—                              sequences of solid fuel mining (which shall re-
        (A) the Southeastern Power Administration;                 main in the Department of the Interior); and
        (B) the Southwestern Power Administration;                   (3) coal preparation and analysis.
        (C) the Bonneville Power Administration in-
      cluding but not limited to the authority con-              (Pub. L. 95–91, title III, § 302, Aug. 4, 1977, 91 Stat.
      tained in the Bonneville Project Act of 1937 [16           578; Pub. L. 97–100, title II, § 201, Dec. 23, 1981, 95
      U.S.C. 832 et seq.] and the Federal Columbia               Stat. 1407; Pub. L. 104–58, title I, § 104(h), Nov. 28,
      River Transmission System Act [16 U.S.C. 838               1995, 109 Stat. 560.)
      et seq.];
        (D) the power marketing functions of the                  1 So in original. The comma probably should not appear.

      Bureau of Reclamation, including the con-                   2 See References in Text note below.




                                                           A-14
                                                   USCA Case #23-1175                            Document #2046821                             Filed: 03/26/2024          Page 102 of 108




                                                                        § 380.7                                                                  18 CFR Ch. I (4–1–23 Edition)

                                                                        § 380.7 Format of an environmental                         of the regulations of the Council for
                                                                             impact statement.                                     public involvement in NEPA.
                                                                           In addition to the requirements for                       (2) If an action has effects of pri-
                                                                        an environmental impact statement                          marily local concern, the Commission
                                                                        prescribed in 40 CFR 1502.10 of the regu-                  may give additional notice in a Com-
                                                                        lations of the Council, an environ-                        mission order.
                                                                        mental impact statement prepared by                          (b) The Commission will make envi-
                                                                        the Commission will include a section                      ronmental impact statements, environ-
                                                                        on the literature cited in the environ-                    mental assessments, the comments re-
                                                                        mental impact statement and a staff                        ceived, and any underlaying documents
                                                                        conclusion section. The staff conclu-                      available to the public pursuant to the
                                                                        sion section will include summaries of:                    provisions of the Freedom of Informa-
                                                                           (a) The significant environmental                       tion Act (5 U.S.C. 552 (1982)). The exclu-
                                                                        impacts of the proposed action;                            sion in the Freedom of Information Act
                                                                           (b) Any alternative to the proposed                     for interagency memoranda is not ap-
                                                                        action that would have a less severe                       plicable where such memoranda trans-
                                                                        environmental impact or impacts and                        mit comments of Federal agencies on
                                                                        the action preferred by the staff;                         the environmental impact of the pro-
                                                                           (c) Any mitigation measures pro-                        posed action. Such materials will be
                                                                        posed by the applicant, as well as addi-                   made available to the public at the
                                                                        tional mitigation measures that might                      Commission’s Public Reference Room
                                                                        be more effective;                                         at 888 First Street NE., Room 2A,
                                                                           (d) Any significant environmental                       Washington, DC 20426 at a fee and in
                                                                        impacts of the proposed action that                        the manner described in Part 388 of
                                                                        cannot be mitigated; and                                   this chapter. A copy of an environ-
                                                                           (e) References to any pending, com-                     mental impact statement or environ-
                                                                        pleted, or recommended studies that                        mental assessment for hydroelectric
                                                                        might provide baseline data or addi-                       projects may also be made available for
                                                                        tional data on the proposed action.                        inspection at the Commission’s re-
                                                                                                                                   gional office for the region where the
                                                                        § 380.8 Preparation of environmental
                                                                            documents.                                             proposed action is located.
                                                                           The preparation of environmental                        [Order 486, 52 FR 47910, Dec. 17, 1987, as
                                                                        documents, as defined in § 1508.10 of the                  amended by Order 603–A, 64 FR 54537, Oct. 7,
                                                                        regulations of the Council (40 CFR                         1999]
                                                                        1508.10), on hydroelectric projects, nat-
                                                                                                                                   § 380.10 Participation in Commission
                                                                        ural gas facilities, and electric trans-                       proceedings.
                                                                        mission facilities in national interest
                                                                        electric transmission corridors is the                        (a) Intervention proceedings involving a
                                                                        responsibility of the Commission’s Of-                     party or parties—(1) Motion to intervene.
                                                                        fice of Energy Projects, 888 First Street                  (i) In addition to submitting comments
                                                                        NE., Washington, DC 20426, (202) 502–                      on the NEPA process and NEPA related
                                                                        8700. Persons interested in status re-                     documents, any person may file a mo-
                                                                        ports or information on environmental                      tion to intervene in a Commission pro-
                                                                        impact statements or other elements of                     ceeding dealing with environmental
                                                                        the NEPA process, including the stud-                      issues under the terms of § 385.214 of
                                                                        ies or other information the Commis-                       this chapter. Any person who files a
                                                                        sion may require on these projects, can                    motion to intervene on the basis of a
                                                                        contact this office.                                       draft environmental impact statement
                                                                                                                                   will be deemed to have filed a timely
                                                                        [Order 689, 71 FR 69471, Dec. 1, 2006, as
                                                                                                                                   motion, in accordance with § 385.214, as
                                                                        amended by Order 756, 77 FR 4895, Feb. 1,
                                                                        2012]                                                      long as the motion is filed within the
                                                                                                                                   comment period for the draft environ-
                                                                        § 380.9 Public availability of NEPA                        mental impact statement.
                                                                             documents and public notice of                           (ii) Any person that is granted inter-
                                                                             NEPA related hearings and public                      vention after petitioning becomes a
                                                                             meetings.                                             party to the proceeding and accepts the
sfrattini on LAPCK6H6L3 with DISTILLER




                                                                           (a)(1) The Commission will comply                       record as developed by the parties as of
                                                                        with the requirements of 40 CFR 1506.6                     the time that intervention is granted.

                                                                                                                             1138


                                                                                                                           A-15
                                         VerDate Sep<11>2014   17:13 May 03, 2023   Jkt 259062   PO 00000   Frm 01148   Fmt 8010   Sfmt 8010   Q:\18\18V1.TXT   PC31
                                               USCA Case #23-1175                            Document #2046821                          Filed: 03/26/2024            Page 103 of 108




                                                                     Council on Environmental Quality                                                            § 1502.9

                                                                     avoid duplication and delay. Agencies                     NEPA). The disciplines of the preparers
                                                                     may tier their environmental analyses                     shall be appropriate to the scope and
                                                                     to defer detailed analysis of environ-                    issues identified in the scoping process
                                                                     mental impacts of specific program ele-                   (§ 1501.9 of this chapter).
                                                                     ments until such program elements are
                                                                     ripe for final agency action.                             § 1502.7 Page limits.
                                                                                                                                  The text of final environmental im-
                                                                     § 1502.5 Timing.                                          pact statements (paragraphs (a)(4)
                                                                        An agency should commence prepara-                     through (6) of § 1502.10) shall be 150
                                                                     tion of an environmental impact state-                    pages or fewer and, for proposals of un-
                                                                     ment as close as practicable to the                       usual scope or complexity, shall be 300
                                                                     time the agency is developing or re-                      pages or fewer unless a senior agency
                                                                     ceives a proposal so that preparation                     official of the lead agency approves in
                                                                     can be completed in time for the final                    writing a statement to exceed 300 pages
                                                                     statement to be included in any rec-                      and establishes a new page limit.
                                                                     ommendation or report on the pro-
                                                                     posal. The statement shall be prepared                    § 1502.8 Writing.
                                                                     early enough so that it can serve as an                      Agencies shall write environmental
                                                                     important practical contribution to                       impact statements in plain language
                                                                     the decision-making process and will                      and may use appropriate graphics so
                                                                     not be used to rationalize or justify de-                 that decision makers and the public
                                                                     cisions already made (§§ 1501.2 of this                   can readily understand such state-
                                                                     chapter and 1502.2). For instance:                        ments. Agencies should employ writers
                                                                        (a) For projects directly undertaken                   of clear prose or editors to write, re-
                                                                     by Federal agencies, the agency shall                     view, or edit statements, which shall
                                                                     prepare the environmental impact                          be based upon the analysis and sup-
                                                                     statement at the feasibility analysis                     porting data from the natural and so-
                                                                     (go/no-go) stage and may supplement it                    cial sciences and the environmental de-
                                                                     at a later stage, if necessary.                           sign arts.
                                                                        (b) For applications to the agency re-
                                                                     quiring an environmental impact state-                    § 1502.9 Draft, final, and supplemental
                                                                     ment, the agency shall commence the                            statements.
                                                                     statement as soon as practicable after                       (a) Generally. Except for proposals for
                                                                     receiving the application. Federal                        legislation as provided in § 1506.8 of this
                                                                     agencies should work with potential                       chapter, agencies shall prepare envi-
                                                                     applicants and applicable State, Tribal,                  ronmental impact statements in two
                                                                     and local agencies and governments                        stages and, where necessary, supple-
                                                                     prior to receipt of the application.                      ment them, as provided in paragraph
                                                                        (c) For adjudication, the final envi-                  (d)(1) of this section.
                                                                     ronmental impact statement shall nor-                        (b) Draft environmental impact state-
                                                                     mally precede the final staff rec-                        ments. Agencies shall prepare draft en-
                                                                     ommendation and that portion of the                       vironmental impact statements in ac-
                                                                     public hearing related to the impact                      cordance with the scope decided upon
                                                                     study. In appropriate circumstances,                      in the scoping process (§ 1501.9 of this
                                                                     the statement may follow preliminary                      chapter). The lead agency shall work
                                                                     hearings designed to gather informa-                      with the cooperating agencies and shall
                                                                     tion for use in the statements.                           obtain comments as required in part
                                                                        (d) For informal rulemaking, the                       1503 of this chapter. To the fullest ex-
                                                                     draft environmental impact statement                      tent practicable, the draft statement
                                                                     shall normally accompany the pro-                         must meet the requirements estab-
                                                                     posed rule.                                               lished for final statements in section
                                                                                                                               102(2)(C) of NEPA as interpreted in the
                                                                     § 1502.6 Interdisciplinary preparation.                   regulations in this subchapter. If a
                                                                        Agencies shall prepare environ-                        draft statement is so inadequate as to
                                                                     mental impact statements using an                         preclude meaningful analysis, the
                                                                     interdisciplinary approach that will en-                  agency shall prepare and publish a sup-
pparker on DSK6VXHR33PROD with CFR




                                                                     sure the integrated use of the natural                    plemental draft of the appropriate por-
                                                                     and social sciences and the environ-                      tion. At appropriate points in the draft
                                                                     mental design arts (section 102(2)(A) of                  statement, the agency shall discuss all

                                                                                                                          619



                                     VerDate Sep<11>2014   10:53 Mar 27, 2023   Jkt 256188   PO 00000   Frm 00629
                                                                                                                       A-16
                                                                                                                    Fmt 8010
                                                                                                                          Sfmt 8010 Y:\SGML\256188.XXX 256188
                                               USCA Case #23-1175                            Document #2046821                             Filed: 03/26/2024           Page 104 of 108




                                                                     § 1502.10                                                             40 CFR Ch. V (7–1–22 Edition)

                                                                     major points of view on the environ-                      that there is a more effective format
                                                                     mental impacts of the alternatives in-                    for communication:
                                                                     cluding the proposed action.                                (1) Cover.
                                                                       (c) Final environmental impact state-                     (2) Summary.
                                                                     ments. Final environmental impact                           (3) Table of contents.
                                                                     statements shall address comments as                        (4) Purpose of and need for action.
                                                                     required in part 1503 of this chapter. At
                                                                                                                                 (5) Alternatives including the pro-
                                                                     appropriate points in the final state-
                                                                                                                               posed action (sections 102(2)(C)(iii) and
                                                                     ment, the agency shall discuss any re-
                                                                                                                               102(2)(E) of NEPA).
                                                                     sponsible opposing view that was not
                                                                     adequately discussed in the draft state-                    (6) Affected environment and envi-
                                                                     ment and shall indicate the agency’s                      ronmental consequences (especially
                                                                     response to the issues raised.                            sections 102(2)(C)(i), (ii), (iv), and (v) of
                                                                       (d) Supplemental environmental impact                   NEPA).
                                                                     statements. Agencies:                                       (7) Submitted alternatives, informa-
                                                                       (1) Shall prepare supplements to ei-                    tion, and analyses.
                                                                     ther draft or final environmental im-                       (8) List of preparers.
                                                                     pact statements if a major Federal ac-                      (9) Appendices (if any).
                                                                     tion remains to occur, and:                                 (b) If an agency uses a different for-
                                                                       (i) The agency makes substantial                        mat, it shall include paragraphs (a)(1)
                                                                     changes to the proposed action that are                   through (8) of this section, as further
                                                                     relevant to environmental concerns; or                    described in §§ 1502.11 through 1502.19, in
                                                                       (ii) There are significant new cir-                     any appropriate format.
                                                                     cumstances or information relevant to
                                                                     environmental concerns and bearing on                     § 1502.11   Cover.
                                                                     the proposed action or its impacts.                         The cover shall not exceed one page
                                                                       (2) May also prepare supplements                        and include:
                                                                     when the agency determines that the
                                                                                                                                 (a) A list of the responsible agencies,
                                                                     purposes of the Act will be furthered by
                                                                                                                               including the lead agency and any co-
                                                                     doing so.
                                                                                                                               operating agencies.
                                                                       (3) Shall prepare, publish, and file a
                                                                     supplement to a statement (exclusive                        (b) The title of the proposed action
                                                                     of scoping (§ 1501.9 of this chapter)) as a               that is the subject of the statement
                                                                     draft and final statement, as is appro-                   (and, if appropriate, the titles of re-
                                                                     priate to the stage of the statement in-                  lated cooperating agency actions), to-
                                                                     volved, unless the Council approves al-                   gether with the State(s) and coun-
                                                                     ternative procedures (§ 1506.12 of this                   ty(ies) (or other jurisdiction(s), if ap-
                                                                     chapter).                                                 plicable) where the action is located.
                                                                       (4) May find that changes to the pro-                     (c) The name, address, and telephone
                                                                     posed action or new circumstances or                      number of the person at the agency
                                                                     information relevant to environmental                     who can supply further information.
                                                                     concerns are not significant and there-                     (d) A designation of the statement as
                                                                     fore do not require a supplement. The                     a draft, final, or draft or final supple-
                                                                     agency should document the finding                        ment.
                                                                     consistent with its agency NEPA pro-                        (e) A one-paragraph abstract of the
                                                                     cedures (§ 1507.3 of this chapter), or, if                statement.
                                                                     necessary, in a finding of no significant                   (f) The date by which the agency
                                                                     impact supported by an environmental                      must receive comments (computed in
                                                                     assessment.                                               cooperation with EPA under § 1506.11 of
                                                                                                                               this chapter).
                                                                     § 1502.10 Recommended format.                               (g) For the final environmental im-
                                                                        (a) Agencies shall use a format for                    pact statement, the estimated total
                                                                     environmental impact statements that                      cost to prepare both the draft and final
                                                                     will encourage good analysis and clear                    environmental impact statement, in-
                                                                     presentation of the alternatives includ-                  cluding the costs of agency full-time
                                                                     ing the proposed action. Agencies                         equivalent (FTE) personnel hours, con-
pparker on DSK6VXHR33PROD with CFR




                                                                     should use the following standard for-                    tractor costs, and other direct costs. If
                                                                     mat for environmental impact state-                       practicable and noted where not prac-
                                                                     ments unless the agency determines                        ticable, agencies also should include

                                                                                                                          620



                                     VerDate Sep<11>2014   10:53 Mar 27, 2023   Jkt 256188   PO 00000   Frm 00630
                                                                                                                       A-17
                                                                                                                    Fmt 8010
                                                                                                                          Sfmt 8010 Y:\SGML\256188.XXX 256188
                                               USCA Case #23-1175                            Document #2046821                          Filed: 03/26/2024            Page 105 of 108




                                                                     Council on Environmental Quality                                                          § 1502.16

                                                                     costs incurred by cooperating and par-                    § 1502.15 Affected environment.
                                                                     ticipating agencies, applicants, and                         The environmental impact statement
                                                                     contractors.                                              shall succinctly describe the environ-
                                                                                                                               ment of the area(s) to be affected or
                                                                     § 1502.12     Summary.
                                                                                                                               created by the alternatives under con-
                                                                       Each environmental impact state-                        sideration, including the reasonably
                                                                     ment shall contain a summary that                         foreseeable environmental trends and
                                                                     adequately and accurately summarizes                      planned actions in the area(s). The en-
                                                                     the statement. The summary shall                          vironmental impact statement may
                                                                     stress the major conclusions, areas of                    combine the description with evalua-
                                                                     disputed issues raised by agencies and                    tion    of  the    environmental     con-
                                                                     the public, and the issues to be re-                      sequences (§ 1502.16), and it shall be no
                                                                     solved (including the choice among al-                    longer than is necessary to understand
                                                                     ternatives). The summary normally                         the effects of the alternatives. Data
                                                                     will not exceed 15 pages.                                 and analyses in a statement shall be
                                                                                                                               commensurate with the importance of
                                                                     § 1502.13     Purpose and need.                           the impact, with less important mate-
                                                                                                                               rial summarized, consolidated, or sim-
                                                                       The statement shall briefly specify                     ply referenced. Agencies shall avoid
                                                                     the underlying purpose and need to                        useless bulk in statements and shall
                                                                     which the agency is responding in pro-                    concentrate effort and attention on im-
                                                                     posing the alternatives including the                     portant issues. Verbose descriptions of
                                                                     proposed action.                                          the affected environment are them-
                                                                     [87 FR 23469, Apr. 20, 2022]
                                                                                                                               selves no measure of the adequacy of
                                                                                                                               an environmental impact statement.
                                                                     § 1502.14 Alternatives             including     the      § 1502.16 Environmental consequences.
                                                                         proposed action.
                                                                                                                                  (a) The environmental consequences
                                                                       The alternatives section should                         section forms the scientific and ana-
                                                                     present the environmental impacts of                      lytic basis for the comparisons under
                                                                     the proposed action and the alter-                        § 1502.14. It shall consolidate the discus-
                                                                     natives in comparative form based on                      sions of those elements required by sec-
                                                                     the information and analysis presented                    tions 102(2)(C)(i), (ii), (iv), and (v) of
                                                                     in the sections on the affected environ-                  NEPA that are within the scope of the
                                                                     ment (§ 1502.15) and the environmental                    statement and as much of section
                                                                     consequences (§ 1502.16). In this section,                102(2)(C)(iii) of NEPA as is necessary to
                                                                     agencies shall:                                           support the comparisons. This section
                                                                       (a) Evaluate reasonable alternatives                    should not duplicate discussions in
                                                                     to the proposed action, and, for alter-                   § 1502.14. The discussion shall include:
                                                                     natives that the agency eliminated                           (1) The environmental impacts of the
                                                                     from detailed study, briefly discuss the                  proposed action and reasonable alter-
                                                                     reasons for their elimination.                            natives to the proposed action and the
                                                                       (b) Discuss each alternative consid-                    significance of those impacts. The com-
                                                                     ered in detail, including the proposed                    parison of the proposed action and rea-
                                                                     action, so that reviewers may evaluate                    sonable alternatives shall be based on
                                                                     their comparative merits.                                 this discussion of the impacts.
                                                                                                                                  (2) Any adverse environmental effects
                                                                       (c) Include the no action alternative.
                                                                                                                               that cannot be avoided should the pro-
                                                                       (d) Identify the agency’s preferred al-                 posal be implemented.
                                                                     ternative or alternatives, if one or                         (3) The relationship between short-
                                                                     more exists, in the draft statement and                   term uses of man’s environment and
                                                                     identify such alternative in the final                    the maintenance and enhancement of
                                                                     statement unless another law prohibits                    long-term productivity.
                                                                     the expression of such a preference.                         (4) Any irreversible or irretrievable
                                                                       (e) Include appropriate mitigation                      commitments of resources that would
                                                                     measures not already included in the                      be involved in the proposal should it be
                                                                     proposed action or alternatives.
pparker on DSK6VXHR33PROD with CFR




                                                                                                                               implemented.
                                                                       (f) Limit their consideration to a rea-                    (5) Possible conflicts between the
                                                                     sonable number of alternatives.                           proposed action and the objectives of

                                                                                                                          621



                                     VerDate Sep<11>2014   10:53 Mar 27, 2023   Jkt 256188   PO 00000   Frm 00631
                                                                                                                       A-18
                                                                                                                    Fmt 8010
                                                                                                                          Sfmt 8010 Y:\SGML\256188.XXX 256188
                                               USCA Case #23-1175                            Document #2046821                             Filed: 03/26/2024        Page 106 of 108




                                                                     § 1502.17                                                             40 CFR Ch. V (7–1–22 Edition)

                                                                     Federal, regional, State, Tribal, and                     mation, and analyses in the draft envi-
                                                                     local land use plans, policies and con-                   ronmental impact statement.
                                                                     trols for the area concerned. (§ 1506.2(d)                  (b) The final environmental impact
                                                                     of this chapter)                                          statement shall include a summary
                                                                       (6) Energy requirements and con-                        that identifies all alternatives, infor-
                                                                     servation potential of various alter-                     mation, and analyses submitted by
                                                                     natives and mitigation measures.                          State, Tribal, and local governments
                                                                       (7) Natural or depletable resource re-                  and other public commenters for con-
                                                                     quirements and conservation potential                     sideration by the lead and cooperating
                                                                     of various alternatives and mitigation                    agencies in developing the final envi-
                                                                     measures.
                                                                                                                               ronmental impact statement.
                                                                       (8) Urban quality, historic and cul-
                                                                     tural resources, and the design of the                    § 1502.18   List of preparers.
                                                                     built environment, including the reuse
                                                                     and conservation potential of various                       The environmental impact statement
                                                                     alternatives and mitigation measures.                     shall list the names, together with
                                                                       (9) Means to mitigate adverse envi-                     their qualifications (expertise, experi-
                                                                     ronmental impacts (if not fully covered                   ence, professional disciplines), of the
                                                                     under § 1502.14(e)).                                      persons who were primarily responsible
                                                                       (10) Where applicable, economic and                     for preparing the environmental im-
                                                                     technical considerations, including the                   pact statement or significant back-
                                                                     economic benefits of the proposed ac-                     ground papers, including basic compo-
                                                                     tion.                                                     nents of the statement. Where possible,
                                                                       (b) Economic or social effects by                       the environmental impact statement
                                                                     themselves do not require preparation                     shall identify the persons who are re-
                                                                     of an environmental impact statement.                     sponsible for a particular analysis, in-
                                                                     However, when the agency determines                       cluding analyses in background papers.
                                                                     that economic or social and natural or                    Normally the list will not exceed two
                                                                     physical environmental effects are                        pages.
                                                                     interrelated, the environmental impact
                                                                     statement shall discuss and give appro-                   § 1502.19   Appendix.
                                                                     priate consideration to these effects on
                                                                     the human environment.                                      If an agency prepares an appendix,
                                                                                                                               the agency shall publish it with the en-
                                                                     § 1502.17 Summary of submitted alter-                     vironmental impact statement, and it
                                                                          natives, information, and analyses.                  shall consist of:
                                                                        (a) The draft environmental impact                       (a) Material prepared in connection
                                                                     statement shall include a summary                         with an environmental impact state-
                                                                     that identifies all alternatives, infor-                  ment (as distinct from material that is
                                                                     mation, and analyses submitted by                         not so prepared and is incorporated by
                                                                     State, Tribal, and local governments                      reference (§ 1501.12 of this chapter)).
                                                                     and other public commenters during                          (b) Material substantiating any anal-
                                                                     the scoping process for consideration                     ysis fundamental to the impact state-
                                                                     by the lead and cooperating agencies in                   ment.
                                                                     developing the environmental impact                         (c) Material relevant to the decision
                                                                     statement.                                                to be made.
                                                                        (1) The agency shall append to the
                                                                                                                                 (d) For draft environmental impact
                                                                     draft environmental impact statement
                                                                                                                               statements, all comments (or sum-
                                                                     or otherwise publish all comments (or
                                                                     summaries thereof where the response                      maries thereof where the response has
                                                                     has been exceptionally voluminous) re-                    been exceptionally voluminous) re-
                                                                     ceived during the scoping process that                    ceived during the scoping process that
                                                                     identified alternatives, information,                     identified alternatives, information,
                                                                     and analyses for the agency’s consider-                   and analyses for the agency’s consider-
                                                                     ation.                                                    ation.
                                                                        (2) Consistent with § 1503.1(a)(3) of                    (e) For final environmental impact
pparker on DSK6VXHR33PROD with CFR




                                                                     this chapter, the lead agency shall in-                   statements, the comment summaries
                                                                     vite comment on the summary identi-                       and responses consistent with § 1503.4 of
                                                                     fying all submitted alternatives, infor-                  this chapter.

                                                                                                                          622



                                     VerDate Sep<11>2014   10:53 Mar 27, 2023   Jkt 256188   PO 00000   Frm 00632
                                                                                                                       A-19
                                                                                                                    Fmt 8010
                                                                                                                          Sfmt 8010 Y:\SGML\256188.XXX 256188
                                               USCA Case #23-1175                            Document #2046821                          Filed: 03/26/2024          Page 107 of 108




                                                                     Council on Environmental Quality                                                        § 1502.23

                                                                     § 1502.20 Publication of the environ-                        (3) A summary of existing credible
                                                                         mental impact statement.                              scientific evidence that is relevant to
                                                                       Agencies shall publish the entire                       evaluating the reasonably foreseeable
                                                                     draft and final environmental impact                      significant adverse impacts on the
                                                                     statements and unchanged statements                       human environment; and
                                                                     as provided in § 1503.4(c) of this chapter.                  (4) The agency’s evaluation of such
                                                                     The agency shall transmit the entire                      impacts based upon theoretical ap-
                                                                     statement electronically (or in paper                     proaches or research methods generally
                                                                     copy, if so requested due to economic                     accepted in the scientific community.
                                                                                                                                  (d) For the purposes of this section,
                                                                     or other hardship) to:
                                                                                                                               ‘‘reasonably foreseeable’’ includes im-
                                                                       (a) Any Federal agency that has ju-
                                                                                                                               pacts that have catastrophic con-
                                                                     risdiction by law or special expertise
                                                                                                                               sequences, even if their probability of
                                                                     with respect to any environmental im-
                                                                                                                               occurrence is low, provided that the
                                                                     pact involved and any appropriate Fed-
                                                                                                                               analysis of the impacts is supported by
                                                                     eral, State, Tribal, or local agency au-
                                                                                                                               credible scientific evidence, is not
                                                                     thorized to develop and enforce envi-
                                                                                                                               based on pure conjecture, and is within
                                                                     ronmental standards.
                                                                                                                               the rule of reason.
                                                                       (b) The applicant, if any.
                                                                       (c) Any person, organization, or agen-                  § 1502.22 Cost-benefit analysis.
                                                                     cy requesting the entire environmental                       If the agency is considering a cost-
                                                                     impact statement.                                         benefit analysis for the proposed action
                                                                       (d) In the case of a final environ-                     relevant to the choice among alter-
                                                                     mental impact statement, any person,                      natives with different environmental
                                                                     organization, or agency that submitted                    effects, the agency shall incorporate
                                                                     substantive comments on the draft.                        the cost-benefit analysis by reference
                                                                                                                               or append it to the statement as an aid
                                                                     § 1502.21 Incomplete or unavailable in-
                                                                         formation.                                            in evaluating the environmental con-
                                                                                                                               sequences. In such cases, to assess the
                                                                       (a) When an agency is evaluating rea-                   adequacy of compliance with section
                                                                     sonably foreseeable significant adverse                   102(2)(B) of NEPA (ensuring appro-
                                                                     effects on the human environment in                       priate consideration of unquantified
                                                                     an environmental impact statement,                        environmental amenities and values in
                                                                     and there is incomplete or unavailable                    decision making, along with economi-
                                                                     information, the agency shall make                        cal and technical considerations), the
                                                                     clear that such information is lacking.                   statement shall discuss the relation-
                                                                       (b) If the incomplete but available in-                 ship between that analysis and any
                                                                     formation relevant to reasonably fore-                    analyses of unquantified environ-
                                                                     seeable significant adverse impacts is                    mental impacts, values, and amenities.
                                                                     essential to a reasoned choice among                      For purposes of complying with the
                                                                     alternatives, and the overall costs of                    Act, agencies need not display the
                                                                     obtaining it are not unreasonable, the                    weighing of the merits and drawbacks
                                                                     agency shall include the information in                   of the various alternatives in a mone-
                                                                     the environmental impact statement.                       tary cost-benefit analysis and should
                                                                       (c) If the information relevant to rea-                 not do so when there are important
                                                                     sonably foreseeable significant adverse                   qualitative considerations. However,
                                                                     impacts cannot be obtained because                        an environmental impact statement
                                                                     the overall costs of obtaining it are un-                 should at least indicate those consider-
                                                                     reasonable or the means to obtain it                      ations, including factors not related to
                                                                     are not known, the agency shall in-                       environmental quality, that are likely
                                                                     clude within the environmental impact                     to be relevant and important to a deci-
                                                                     statement:                                                sion.
                                                                       (1) A statement that such informa-
                                                                     tion is incomplete or unavailable;                        § 1502.23 Methodology and scientific
                                                                       (2) A statement of the relevance of                         accuracy.
                                                                     the incomplete or unavailable informa-                       Agencies shall ensure the profes-
pparker on DSK6VXHR33PROD with CFR




                                                                     tion to evaluating reasonably foresee-                    sional integrity, including scientific
                                                                     able significant adverse impacts on the                   integrity, of the discussions and anal-
                                                                     human environment;                                        yses in environmental documents.

                                                                                                                          623



                                     VerDate Sep<11>2014   10:53 Mar 27, 2023   Jkt 256188   PO 00000   Frm 00633
                                                                                                                       A-20
                                                                                                                    Fmt 8010
                                                                                                                          Sfmt 8010 Y:\SGML\256188.XXX 256188
USCA Case #23-1175    Document #2046821        Filed: 03/26/2024   Page 108 of 108



                      CERTIFICATE OF SERVICE

       I hereby certify that, on March 26, 2024, a copy of the foregoing

 was filed electronically. Notice of this filing will be sent to all parties by

 operation of the Court's electronic filing system. Parties may access

 this filing through the Court's system.



                                     Isl Jason T. Perkins
                                     Jason T. Perkins
                                     Attorney
